Case 1:21-cv-05337-SCJ        Document 236-4        Filed 04/18/23     Page 1 of 162




   map exhibits, depicting the Illustrative House Plan and 2021 House Plan at the

   same scale. Higher resolution versions of these side-by-side pairings are also

   included in exhibits in the Exhibit AB, Exhibit AC, Exhibit AD, Exhibit AE, and

   Exhibit AF series, as marked below. The county-level population change data

   discussed below is reflected in Exhibits G-1, G-2, and G-4.

          161. The side-by-side maps are occasionally interspersed with maps

   depicting Illustrative House Plan boundaries in afew counties that are split in the

   process of creating the additional majority Black districts—e.g., Spalding and

   Wilkes—but are not split in the 2021 Plan. These county-level maps reveal that the

   splits are reasonable, especially within the context of Georgia's oftentimes

   irregularly shaped municipal and VTD boundaries. Notably, the Illustrative House

   Plan overall splitsfewer counties than the 2021 Senate Plan, as reported infra.

   B. District-by-District Analysis

                          (1) South Metro Atlanta (Region A)

                       (a) 2021 House District 74 (Exhibit AB-1)

         162. As shown in Figure 28, District 74 in the 2021 House Plan lies in the

   south Metro Atlanta area and combines parts of Fayette, Spalding, and Henry

   Counties. The BVAP of the district as drawn is under 26%.




                                            67
 Case 1:21-cv-05337-SCJ           Document 236-4                       Filed 04/18/23          Page 2 of 162




Figure 28
                       2021 House Plan District 74 and vicinity

                                                                         e     Im          Georgia House
                                                          Ilu                               r1 2021 Plan
                                                                                                Region A
                                                                                                Region B
                                                                                                Region C
                                                                                                Region 0
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                       (b) Illustrative District 74 (Exhibit AB-2)

      163. An additional majority-Black House District can be drawn in this area

by unpacking the Black population in adjacent 2021 House District 78 (which is

anchored in neighboring Clayton County, and is 71.58% BVAP under the 2021

House Plan) and uncracking the Black population in House District 74, which

includes areas in Henry County and Spalding County that have experienced

substantial Black population growth over the past two decades, as shown in the

Exhibit G series and associated discussion supra.


                                                68
Case 1:21-cv-05337-SCJ        Document 236-4       Filed 04/18/23     Page 3 of 162




          164. As shown in Figure 29, unpacking those districts allows amajority-

   Black Illustrative House District 74 to be drawn in Henry, Spalding, and the

   neighboring part of Clayton County.

   Figure 29

                        Illustrative Plan District 74 and vicinity
                              ELAYTO N
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                                                  Wi                        Georgia House
                                                                            E] Illustrative
                                                                                 Region A
                                                                            D    Region B
                                                                                 Region C
                                                                            = Region I)
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                                                                     Green Labels--BVAP Majority




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                       (c) 2021 House District 117 (Exhibit AC-1)

         165. In the same general area, another additional majority-Black House

   district can be drawn around where District 117 in the 2021 House Plan is drawn.

   As shown in zoomed-in Figure 29A, displaying municipal boundaries, House

   District 117 in the 2021 House Plan lies in the south Metro Atlanta area and


                                            69
 Case 1:21-cv-05337-SCJ               Document 236-4        Filed 04/18/23        Page 4 of 162




includes parts of Henry and Spalding Counties. The BVAP of the district as drawn

is just under 37%, and the BVAP of the neighboring district that includes the rest of

Spalding County, District 134, is about 34%.

Figure 29A
                     2021 House Plan District 117 and vicinity

                                                       le

                                            O"€KDALE                  'j     Georgia House
                                                                              E1 2021 plan
                                                                                   Region A
                                                                                   Region B
                                                                                   Region C
                                                                                   Region D

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                                                                     NE            Miles
                                                                     i. Green Labels--BVAP Majority

          IrondI.




FAYETTE




                    SPALDING



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   PIKE                        Hill                         MONROE



                      (d) Illustrative District 117 (Exhibit AC-2)

       166. At least one additional majority-Black House District can be drawn in

the area around 2021 House District 117 by unpacking the Black population in

2021 House District 116 (which includes part of Henry County just to the north,

closer in to the center of the Metro Atlanta area) and uncracking the Black


                                            70
Case 1:21-cv-05337-SCJ         Document 236-4     Filed 04/18/23       Page 5 of 162




   populations in House Districts 117 and 134, bringing more of the growing Black

   populations in Henry and Spalding Counties into majority-Black districts. As

   demonstrated in Figure 29B, unpacking those districts allows for amajority-Black

   Illustrative House District 117 to be drawn in Henry and Spalding Counties.

   Figure 29A
                        2021 House Plan District 117 and vicinity

                                                                                  ngL \J      -.




                                                                    I
                                                                             GeorgIia House
                                                                                   llustrative
                                                                                   Region A
                                                                              D    Region B
                                                                                 Region C
                                                                 NE           C3 Region



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                                                                              Miles      Majo rity
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                    SPALDING




          167. Figures 29B and 29C (Exhibits AC-3 and AC-4) show the broader

   South Metro Region, including House Districts 74 and 117, in both the 2021 House

   Plan and the Illustrative Plan.



                                           71
 Case 1:21-cv-05337-SCJ                                   Document 236-4                  Filed 04/18/23           Page 6 of 162




Figure 29B
                         South Metro Region under the 2021 House Plan

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             oan   /                                       ¼                                                   Georgia House
                                                                                                                   12021 Plan
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 00U0E1061                  058     _r               \ Cnd  - Af
                                                                                                                    Region B
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     MERIWETHER
                                  PIKE                                                        MONROE




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Case 1:21-cv-05337-SCJ                         Document 236-4                           Filed 04/18/23                   Page 7 of 162




   Figure 29C
                   South Metro Region under the Illustrative House Plan
     Lthl   -
                                       Druc H.,       NohD.
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                      06     055
                                                                                                                                 Georgia House
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                                                                                                         Jackson




      MERIWETHER
                                    PIKE                                                               MONROE
 Case 1:21-cv-05337-SCJ            Document 236-4       Filed 04/18/23          Page 8 of 162




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Figure 30
                2021 House Plan District 133 and the eastern Black Belt
  ACKSO                                                                                   L.irCtofl
           12
                                                                            Georgia House
                                                                             r7 2021 Plan
                                                                                 Region A
                                                                                 Region B
                                                                                 Region C
                                                                                 Region 0
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                                                                                I.liles
                                                                   Green Labels—BVAP Majority




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                    (b) Illustrative Plan District 133 (Exhibit AD-2)

          169. As shown in Figure 31, in the 2021 House Plan, the area in and around

Augusta includes five majority-Black districts: Districts 129 and 130 (entirely

within Richmond County), as well as Districts 128, 131, and 132. An additional

majority-Black district can be drawn in the outlying area by unpacking the Black

populations of those five majority-Black districts in the 2021 House Plan.




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Case 1:21-cv-05337-SCJ                                Document 236-4                                   Filed 04/18/23                 Page 9 of 162




   Figure 31
                                   Illustrative House Plan District 133 and vicinity
      JKSO,                                             ELBERT
                                                                                                                                                       L.irCtn
                                      LE THORPE                                                                                             Georgia House
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     1OCONEE                                                                                                                                         Region A
                                                                                                                                                     Region B




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                                                                                 LINCOLN     •'.   .                      Edqfi.Id                   Region C
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               170. Looking at the Augusta region as awhole (Region B, outlined in red,

   plus adjacent counties), asixth majority-Black district (Illustrative District 133) can

   be drawn in an area extending south-to-north from Wilkinson County to Baldwin

   County and on to Wilkes County.

               171. Baldwin County is already split in the 2021 House Plan, but most of the

   Black population in the county lives in Milledgeville and is submerged in majority-

   White 2021 House District 133.




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Case 1:21-cv-05337-SCJ          Document 236-4                  Filed 04/18/23         Page 10 of 162




      172. The map in zoomed-in Figure 31B demonstrates that Baldwin County

can be split in areasonable fashion along VTD and municipal lines to include most

of oddly-shaped Milledgeville in Illustrative District 133. (The municipal boundary

of Milledgeville is shaded in the Figure 31B. As shown below, there are

unincorporated parts of Baldwin County contained within the Milledgeville city

limits, some which are not contiguous or barely contiguous with the rest of the

municipality.)

Figure 31B
                  Illustrative House Plan Baldwin County Detail
      124                                                             H NCK
             'PUTNAM
                                                                                      Georgia House
                                                                                        Illustrative
                                                                                        Region A

                                                                                        Region
                                                                                        Region C
                                                                                        Region D
                                                                                  D GA_2020_VTDs
                                                                                        GA_Places-2020
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                                                                              Green Labels--VAP Majority




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                                                    WILKINSON

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    Case 1:21-cv-05337-SCJ              Document 236-4                Filed 04/18/23   Page 11 of 162




                   173. The map in Figure 31C shows that Wilkes County can be divided

        following county commission and municipal lines in forming Illustrative House

        District 133. A single VTD that is partly in the City of Washington forms the

        remainder of the perimeter. All of the City of Washington is in Illustrative District

        133.

       Figure 31

                                 Illustrative House Plan Wilkes County Detail
                                                       EE1                                        LlNCOLN
                                                                                              Georgia House
                                                                                          E] Illustrative
                    OGIETHORPE                                                            D Region A
                                                                                               Region B
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                                                                                          D County Commission
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                   174. To recap, the Illustrative Plan draws six majority-Black House districts

       in the Eastern Black Belt—House Districts 124, 125, 126, 127, 128, and 133—

       where there are just five in the 2021 Plan.

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 Case 1:21-cv-05337-SCJ                                     Document 236-4                                 Filed 04/18/23                      Page 12 of 162




                                          (3) Western Black Belt (Region C)

                                  (a) 2021 Plan District 171 (Exhibit AE-1)

           175. An additional majority-Black House District can also be drawn in the

area along the historic U.S. Highway 19 corridor between Albany and

Thomasville—unpacking and uncracking the Black population in and around the


two cities. As shown in Figure 32, the 2021 House Plan includes only two

majority-Black House Districts in the same general area as 2021 Senate District 12

in the southwest corner of the state (depicted with black lines as Region Q.

Figure 32
                         2021 Plan: District 151, 153, 171, 173 and Vicinity
                                                                              ont:u                                              \ LAURENS
                       TTOCHE MARION                                                                        Hw
                                                                                                                                 4 georgia House
                                                                                                      PULASKI                                    2021 Plan

                                                                                                    ...
                                                                                                                                           D     Region A
                                                                                                                                                 Region B
                     STEWART      Eich                      Anercus
                                   WEBSTER                                                                                                       Region C
                                                        SUMTiZ                                                                                   Region D
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             thTMAN j                                                                                                             Green Labels--BVAP Majority
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Case 1:21-cv-05337-SCJ       Document 236-4        Filed 04/18/23     Page 13 of 162




          176. The BVAP of 2021 House District 171, which contains Mitchell

    County, is about 40%. In addition, the BVAP of neighboring 2021 House District

    173, which includes Thomas County, is just over 36%. And nearby Dougherty

    County, which contains the majority-Black City of Albany, is split among four

    districts in the 2021 House Plan—including 2021 House District 153, which is

    packed with Black voters (68% BVAP).



                       (b) Illustrative District 171 (Exhibit AE-2)

          177. As shown in Figure 33, an additional majority-Black House District can

   be drawn in southwest Georgia by unpacking the Black population in 2021 House

   District 153 and uncracking the Black populations in 2021 House Districts 171 and

    173. Unpacking those districts allows amajority-Black Illustrative House District

    171 to be drawn in part of Dougherty, Mitchell, and Thomas Counties around

   where majority-Black 2021 Senate District 12 is drawn.




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 Case 1:21-cv-05337-SCJ                                  Document 236-4                          Filed 04/18/23                         Page 14 of 162




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Figure 33
                         Illustrative House Plan District 171 and vicinity
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         178. In addition to creating an additional majority-Black House district in

the western Black Belt, the district unites the areas that comprise the Albany-

Thomasville corridor. This economic, cultural, and historical transportation

corridor runs along the western division of the historic Dixie Highway from




                                                                           80
Case 1:21-cv-05337-SCJ        Document 236-4         Filed 04/18/23      Page 15 of 162




    Albany to Thomasville, and has been recognized by the Southwest Georgia

    Regional Commission. 32

           179. Moreover, the inclusion of Thomas County in majority-Black

    Illustrative House District 171 adds part of asecond majority-Black district to the

   band of Black Belt counties in Southwest Georgia that extend as far east as the City

   of Valdosta and Lowndes County, as depicted in the GBPI map in Figure 4, supra.

   Majority-Black 2021 House District 177 in Valdosta is unchanged in the Illustrative

   Plan.

           180. To recap, the Illustrative House Plan includes athird majority-Black

   district in the same general area as 2021 Senate District 12 in the southwest corner


   of the state, whereas the 2021 House Plan only includes two such districts.

                           (4) Metropolitan Macon (Region D)

                               (a) 2021 Plan (Exhibit AF-1)

           181. An additional majority-Black district can also be drawn in the Macon

   area by unpacking the Black population in the two majority-Black districts-2021

   House District 142 (59.5% BVAP) and 2021 House District 143 (60.79% BVAP).




   32 Southwest Georgia Regional Commission, Corridor Management Plan (2014),

   http://www.dot.ga.gov/DriveSmart/Travel/ScenicByways/HistoricDixieHwy/HDH-
   CorridorManagementPlan.pdf

                                              81
 Case 1:21-cv-05337-SCJ                Document 236-4          Filed 04/18/23                             Page 16 of 162




      182. As illustrated in Figure 34, under the 2021 House Plan, House District

145 includes parts of five different counties (Houston, Peach, Macon-Bibb,

Crawford, and Monroe). The BVAP of 2021 House District 145 is 35.67%. Under

the 2021 House Plan, there are two majority-Black districts in counties comprising

the combined Macon-Bibb Warner Robins MSAs, even though the Black

population there is more than sufficient to support athird.

Figure 34
                   2021 House Plan Districts 142,143, 145 and vicinity
             SPALOING                      Bui.s                                                      — HAN COCK_

                                                                                            -       Georgia House
                                                                                                      [1 2021 Plan
                                                                                                           Region
                                                                                                           Region B
                                                                                  BALC                C3Region C
                                                                                  -,                       Reg ion D
                                                        ot              133                     0          7.5         15
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     Case 1:21-cv-05337-SCJ                  Document 236-4                  Filed 04/18/23               Page 17 of 162




fl
                             (b) Illustrative House District 145 (Exhibit AF-2)

                  183. Under the Illustrative Plan, majority-Black House District 145 (50.2%

        BVAP) is anchored in Macon and combined with the southern part of Monroe

        County, which is also split in the same general area in the 2021 House Plan.

        Figure 35
                                   Illustrative House District 145 and Vicinity
                       SFAIDING                                                      PUINAM                          HANCOCK
                                                                JASPER                                          • Georgia House
                                                                                                                  [1 Illustrative
                                                                                    (1                                 Region A




                                             111•
                                                                                                                       Region B


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                                  LAM AR                                                           BAIL           C3 Region C
                                                                                                                       Region 0
                                                                                                            0          7.5          15
                                                      MONROE
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        C. Supplemental Plan Information

                                                 (1) Population Equality

                  184. As demonstrated by the district-by-district population statistics in

        Exhibits AA-1 and Z-1, the Illustrative House Plan matches the 2021 Senate Plan

                                                               83
 Case 1:21-cv-05337-SCJ               Document 236-4            Filed 04/18/23     Page 18 of 162




by staying within astringent 1.5% population deviation limit for each district (i.e.,

no district is more than 1.5% away from ideal population size).

                                      (2) Compactness

      185. Compactness scores for the Illustrative House Plan are within the norm.

Exhibit AG-1 contains compactness scores generated by Maptitude for all districts


in the Illustrative House Plan, alongside scores for the 2015 Benchmark House Plan

(Exhibit AG-2) and the 2021 House Plan (Exhibit AG-3).

       186. The table in Figure 37 (condensed from the Exhibit AG series) reports

Reock and Polsby-Popper scores for the Illustrative House Plan, alongside scores

for the 2015 Benchmark House Plan and the 2021 House Plan.



Figure 36
                                Compactness Scores
                           Illustrative House Plan versus
                       2015 Benchmark and 2021 House Plans

                                                  Reock                Poisby-Popper

                                            Mean        Low            Mean      Low

            Illustrative House Plan               .39     .16             .27     .11
            2015 Benchmark House Plan             .39     .13             .27     .09
            2021 House Plan                       .39     .12             .28     .10


       187. On balance, the Illustrative House Plan and 2021 House Plan score

about the same on the widely referenced Reock and Polsby-Popper measures. If

anything, the Illustrative Plan scores better inasmuch as its least compact district by

Reock scores .16, compared to .12 for the 2021 House Plan.



                                             84
Case 1:21-cv-05337-SCJ                Document 236-4       Filed 04/18/23      Page 19 of 162




                                          (3) Jurisdictional Splits

           188. The Exhibit All series contains Maptitude-generated reports for splits

    of key geographic areas in Georgia—from VTDs to regional commissions—under

    the Illustrative House Plan, the 2015 Benchmark Plan, and the 2021 House Plan.

           189. The table in Figure 38 summarizes split counts for counties, 2020

    VTDs, and municipalities. On balance, the Illustrative House Plan and the 2021

    House Plan score about the same on county and VTD splits. The 2021 House Plan

   has aslight edge on municipal splits (although the Illustrative House Plan keeps

   more single-county municipalities whole).


   Figure 37

                        County and VTD splits/Whole Municipalities
                               Illustrative House Plan versus
                           2015 Benchmark and 2021 House Plans

                                                                              Single and
                                                                  Single-        Multi
                                                                 County         County      Total
                                           Total      2020        Whole       Whole City!    City!
                             Split        County      VTD       City/Towns      Towns        Town
                        Counties          Split s*   Split s*     (478)#        (538)#      Split s*
   Illustrative House                68        209        179           393          402       361
   2015 Benchmark                    73        215        268           381          402       378
   2021 House                        69        209        179           384          412       344
   *pop ulat edsplits on y
   #Higher is better


          190. Exhibit All-i contains acounty and VTD split report generated by

   Maptitude for all districts in the Illustrative House Plan. Exhibit AH-2 reports for




                                                     85
 Case 1:21-cv-05337-SCJ              Document 236-4        Filed 04/18/23       Page 20 of 162




the 2015 Benchmark House Plan and Exhibit AH-3 reports for the 2021 House
                                                                                                 (
Plan.

        191. Exhibit AH-4 contains asplit report for all 531 municipalities,

including the 43 cities and towns that spill over into another county. See also

Exhibit AH-5 reports for the 2015 Benchmark House Plan and Exhibit AH-6

reports for the 2021 House Plan.

                                     (4) Regional Splits

        192. The table in Figure 39 shows summaries of Maptitude-generated

regional splits, defined by the 12 state-designated regional commissions and the 39

federally-designated ("CBSAs"), which include MSAs and micropolitan areas.


Figure 38
                       Split Regional Commissions and CBSAs                                      (
                             Illustrative House Plan versus
                       2014 Benchmark and 2021 House Plans


                                            Regional
                                           Commission      Whole       CBSA
                                              Splits       CBSAs       Splits
           Illustrative House Plan                 223          10          218
           2014 Benchmark House Plan               220             8        217

           2021 House Plan                         225          10          214


        193. On balance, the Illustrative House Plan and 2021 Plan score about the

same across the three regional categories.




                                             86
Case 1:21-cv-05337-SCJ       Document 236-4         Filed 04/18/23     Page 21 of 162




                                      (5) Incumbents

          194. The Illustrative House Plan modifies about half (92) of the districts as

    drawn in the 2021 House Plan.

          195. Based on January 2022 incumbent address information given to

    Plaintiffs' attorneys by the Defendants in the form of ageocoded shapefile, the

    following seven districts in the Illustrative House Plan may have incumbent

    conflicts: 106, 134, 154, 155, 167, 172, and 176. Based on the preliminary analysis

    of incumbent address information following the November 2022 general election

   pursuant to the 2021 House Plan, eight districts in the Illustrative House Plan may

   have incumbent conflicts: 65, 118, 134, 147, 155, 167, 171, 172.

   E. Comparative Socioeconomic Analysis

          196. This section of my report briefly highlights charts and tables that I

   prepared from the 2015-2019 American Community Survey found on Exhibit CD

   or via: http://www.fairdata2000.com/ACS -2015 - 19/Georgia/.

          197. The datasets available in these ACS-based documents facilitate

   comparisons by race/ethnicity across counties and communities under the

   Illustrative House Plan and the 2021 House Plan, which can help identify

   commonalities and communities of interest in the relevant areas.

          198. For example, Illustrative House District 74 includes parts of Henry,

   Spalding, and Clayton Counties and Illustrative House District 117 includes parts of


                                            87
 Case 1:21-cv-05337-SCJ             Document 236-4            Filed 04/18/23         Page 22 of 162




Henry and Spalding Counties. The counties within Illustrative House Districts 74

and 117 share socioeconomic characteristics that make them similar to one another.

As one example, and as noted supra with respect to Illustrative Senate District 28, a

similar proportion of Black residents in Henry, Spalding, and Clayton counties are

in the labor force (71.0%, 58.2%, and 69.5% respectively).             (See Exhibit CD

Reports for Henry, Spalding, and Clayton Counties at pp. 5355.)33


       199. In addition to being part of the eastern Black Belt region as discussed

supra, counties within Illustrative House District 133 share socioeconomic

characteristics that make them similar to one another. For example, acomparatively

low proportion of Black residents in Illustrative District 133 counties have received

abachelor's degree or higher (ranging from 5.7% to 12.7% of the Black population
                                                                                                      (
ages 25 and over). (See Exhibit CD Reports for relevant counties at pp. 21-22.)

      200. Illustrative House District 171 includes parts of Dougherty and Thomas

Counties, and all of Mitchell County. Poverty rates are comparatively high for the

Black population in all three counties. (See Exhibit CD Reports for Dougherty,


Thomas, and Mitchell Counties at pp. 25-29.)




   33 Page references to Exhibit CD in this section refer to the county-specific or place-specific
documents in Exhibit CD entitled "Single-Race African Americans and Latinos vis-a-vis Non-
Hispanic Whites Selected Socio-Economic Data," which are based on the 2015-2019 ACS 5-
                -




Year Estimates. See supra ¶J 68-69.

                                                88
Case 1:21-cv-05337-SCJ       Document 236-4        Filed 04/18/23     Page 23 of 162




          201. Illustrative House District 145 is in Macon-Bibb County and Monroe

    County. About 91% of all persons and 96% of Black persons in Illustrative House

    District 145 are Macon-Bibb residents. With the creation of athird Macon-centric

    district, Black voters in the consolidated city would potentially have astronger

    voice in the State House to address shared socio-economic issues. For example,

    one-third of the Black population and nearly half (47.5%) of Black children in

    Macon-Bibb live in poverty. By contrast, 11.6% of the White population in

    Macon-Bibb and 14.1% of White children in live in poverty. (See Exhibit CD

    Report for Macon-Bibb County at pp. 25-29.)

    E. Online Interactive Maps

          202. The Illustrative House Plan can also be viewed online in detail on the

   Dave's Redistricting Application (DRA) website via the link below.

   https ://davesredistricting. org/maps#viewmap: :b9272e3 7-d7 18-49e8-b079-

   41f'8331c9fa7.

          203. For comparison, the 2021 House Plan can be viewed via this link.

   https:Hdavesredistn*cting.org/join/4Oc422df-Oel 3-4933 -b3bb-5 c66 1a9fc5 65




   Ireserve the right to continue to supplement my declaration in light of additional

   facts, testimony and/or materials that may come to light.


                                            89
 Case 1:21-cv-05337-SCJ          Document 236-4        Filed 04/18/23     Page 24 of 162




Pursuant to 28 U.S.C. §1746, Ideclare under penalty of perjury of the laws of the

United States that the foregoing is true and correct according to the best of my

knowledge, information and belief.




Executed on December 5, 2022.




                                               WILLIAM S. COOPER




                                          90
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 25 of 162




                   EXHIBIT A
Case 1:21-cv-05337-SCJ            Document 236-4          Filed 04/18/23      Page 26 of 162

                                                                                   November 30, 2022

   William S. Cooper
   P.O. Box 16066
   Bristol, VA 24209
   276-669-8567
   bcooper@msn.com


Summary of Redistricting Work


        I have a B.A. in Economics from Davidson College in Davidson, North Carolina.

        Since 1986, I have prepared proposed redistricting maps of approximately 750

jurisdictions for Section 2 litigation, Section 5 comment letters, and for use in other efforts

to promote compliance with the Voting Rights Act of 1965. I have analyzed and prepared

election plans in over 100 of these jurisdictions for two or more of the decennial censuses –

either as part of concurrent legislative reapportionments or, retrospectively, in relation to

litigation involving many of the cases listed below.

        From 1986 to 2022, I have prepared election plans for Section 2 litigation in

Alabama, Connecticut, Florida, Georgia, Louisiana, Maryland, Mississippi, Missouri,

Montana, Nebraska, New Jersey, New York, North Carolina, Ohio, Pennsylvania, South

Carolina, South Dakota, Tennessee, Texas, Utah, Virginia, Washington, and Wyoming.

Post-2020 Redistricting Experience

        Since the release of the 2020 Census, three county commission-level plans I

developed as a private consultant have been adopted by local governments in San Juan

County, Utah, Bolivar County, Miss., and Washington County, Miss. In addition, a

school board plan I developed was adopted by the Jefferson County, Alabama Board of

Education (Stout v. Jefferson County).

        In 2022, I have testified at trial in seven Sec. 2 lawsuits: Alabama (Congress),

Arkansas (Supreme and Appellate Courts), Florida (voter suppression), Georgia (State
                                                1
Case 1:21-cv-05337-SCJ           Document 236-4         Filed 04/18/23      Page 27 of 162

                                                                                 November 30, 2022

House, State Senate, and Congress), Louisiana (Congress) and Maryland (Baltimore County

Commission).

2010s Redistricting Experience

        I developed statewide legislative plans on behalf of clients in nine states (Alabama,

Connecticut, Florida, Georgia, Kentucky, Mississippi, South Carolina, Texas, and Virginia),

as well as over 150 local redistricting plans in approximately 30 states – primarily for groups

working to protect minority voting rights. In addition, I have prepared congressional plans

for clients in eight states (Alabama, Florida, Georgia, Louisiana, Maryland, Ohio,

Pennsylvania, South Carolina, and Virginia).

        In March 2011, I was retained by the Sussex County, Virginia Board of

Supervisors and the Bolivar County, Mississippi Board of Supervisors to draft new

district plans based on the 2010 Census. In the summer of 2011, both counties received

Section 5 preclearance from the U.S. Department of Justice (DOJ).

       Also in 2011, I was retained by way of a subcontract with Olmedillo X5 LLC to

assist with redistricting for the Miami-Dade County, Florida Board of Commissioners and

the Miami-Dade, Florida School Board. Final plans were adopted in late 2011 following

public hearings.

       In the fall of 2011, I was retained by the City of Grenada, Mississippi to provide

redistricting services. The ward plan I developed received DOJ preclearance in March 2012.

       In 2012 and 2013, I served as a redistricting consultant to the Tunica County,

Mississippi Board of Supervisors and the Claiborne County, Mississippi Board of

Supervisors.

       In Montes v. City of Yakima (E.D. Wash. Feb. 17, 2015) the court adopted, as a

remedy for the Voting Rights Act Section 2 violation, a seven single-member district plan
                                               2
Case 1:21-cv-05337-SCJ            Document 236-4          Filed 04/18/23        Page 28 of 162

                                                                                    November 30, 2022

that I developed for the Latino plaintiffs. I served as the expert for the Plaintiffs in the

liability and remedy phases of the case.

        In Pope v. Albany County (N.D.N.Y. Mar. 24, 2015), the court approved, as a

remedy for a Section 2 violation, a plan drawn by the defendants, creating a new Black-

majority district. I served as the expert for the Plaintiffs in the liability and remedy phases

of the case.

        In 2016, two redistricting plans that I developed on behalf of the plaintiffs for

consent decrees in Section 2 lawsuits in Georgia were adopted (NAACP v. Fayette County,

Georgia and NAACP v. Emanuel County, Georgia).

        In 2016, two federal courts granted summary judgment to the plaintiffs based in part

on my Gingles 1 testimony: Navajo Nation v. San Juan County, Utah (C.D. Utah 2016) and

NAACP v. Ferguson-Florissant School District, Missouri (E. D. Mo. August 22, 2016).

        Also in 2016, based in part on my analysis, the City of Pasco, Washington admitted

to a Section 2 violation. As a result, in Glatt v. City of Pasco (E.D. Wash. Jan. 27, 2017), the

court ordered a plan that created three Latino majority single-member districts in a 6 district,

1 at-large plan.

        In 2018, I served as the redistricting consultant to the Governor Wolf interveners at

the remedial stage of League of Women Voters, et al. v. Commonwealth of Pennsylvania.

        In August 2018, the Wenatchee City Council adopted a hybrid election plan that I

developed – five single-member districts with two members at-large. The Wenatchee

election plan is the first plan adopted under the Washington Voting Rights Acts of 2018.

        In February 2019, a federal court ruled in favor of the plaintiffs in a Section 2 case

regarding Senate District 22 in Mississippi, based in part on my Gingles 1 testimony in

Thomas v. Bryant (S.D. Ms. Feb 16, 2019).
                                                3
Case 1:21-cv-05337-SCJ           Document 236-4          Filed 04/18/23      Page 29 of 162

                                                                                  November 30, 2022

       In the summer of 2019, I developed redistricting plans for the Grand County (Utah)

Change of Form of Government Study Committee.

       In the fall of 2019, a redistricting plan I developed for a consent decree involving

the Jefferson County, Alabama Board of Education was adopted Traci Jones, et al. v.

Jefferson County Board of Education, et al.

       In May 2020, a federal court ruled in favor of the plaintiffs in a Section 2 case in

NAACP et al. v. East Ramapo Central School District, NY, based in part on my Gingles 1

testimony. In October 2020, the federal court adopted a consent decree plan I developed

for elections to be held in February 2021.

       In May and June of 2020, I served as a consultant to the City of Quincy, Florida –

the Defendant in a Section 2 lawsuit filed by two Anglo voters (Baroody v. City of

Quincy). The federal court for the Northern District of Florida ruled in favor of the

Defendants. The Plaintiffs voluntarily dismissed the case.

       In the summer of 2020, I provided technical redistricting assistance to the City of

Chestertown, Maryland.

       I am currently a redistricting consultant and expert for the plaintiffs in Jayla Allen v.

Waller County, Texas. I testified remotely at trial in October 2020.

       Since 2011, I have served as a redistricting and demographic consultant to the

Massachusetts-based Prison Policy Initiative for a nationwide project to end prison-based

gerrymandering. I have analyzed proposed and adopted election plans in about 25 states as

part of my work.

       In 2018 (Utah) and again in 2020 (Arizona), I have provided technical assistance to

the Rural Utah Project for voter registration efforts on the Navajo Nation Reservation.

Post-2010 Demographics Experience
                                               4
Case 1:21-cv-05337-SCJ          Document 236-4         Filed 04/18/23      Page 30 of 162

                                                                               November 30, 2022

       My trial testimony in Section 2 lawsuits usually includes presentations of U.S.

Census data with charts, tables, and/or maps to demonstrate socioeconomic disparities

between non-Hispanic Whites and racial or ethnic minorities.

       I served as a demographic expert for plaintiffs in four state-level voting cases

related to the Covid-19 pandemic (South Carolina, Alabama, and Louisiana) and state

court in North Carolina.

       I have also served as an expert witness on demographics in non-voting trials. For

example, in an April 2017 opinion in Stout v. Jefferson County Board of Education (Case

no.2:65-cv-00396-MHH), a school desegregation case involving the City of Gardendale,

Ala., the court made extensive reference to my testimony.

       I provide technical demographic and mapping assistance to the Food Research

and Action Center (FRAC) in Washington D.C and their constituent organizations around

the country. Most of my work with FRAC involves the Summer Food Program and Child

and Adult Care Food Program. Both programs provide nutritional assistance to school-

age children who are eligible for free and reduced price meals. As part of this project, I

developed an online interactive map to determine site eligibility for the two programs that

has been in continuous use by community organizations and school districts around the

country since 2003. The map is updated annually with new data from a Special

Tabulation of the American Community Survey prepared by the U.S. Census Bureau for

the Food and Nutrition Service of the U.S. Department of Agriculture.



Historical Redistricting Experience

       In the 1980s and 1990s, I developed voting plans in about 400 state and local

jurisdictions – primarily in the South and Rocky Mountain West. During the 2000s and
                                             5
Case 1:21-cv-05337-SCJ            Document 236-4          Filed 04/18/23       Page 31 of 162

                                                                                   November 30, 2022

2010s, I prepared draft election plans involving about 350 state and local jurisdictions in 25

states. Most of these plans were prepared at the request of local citizens’ groups, national

organizations such as the NAACP, tribal governments, and for Section 2 or Section 5

litigation.

        Election plans I developed for governments in two counties – Sussex County,

Virginia and Webster County, Mississippi – were adopted and precleared in 2002 by the

U.S. Department of Justice. A ward plan I prepared for the City of Grenada, Mississippi was

precleared in August 2005. A county supervisors’ plan I produced for Bolivar County,

Mississippi was precleared in January 2006.

        In August 2005, a federal court ordered the State of South Dakota to remedy a

Section 2 voting rights violation and adopt a state legislative plan I developed (Bone Shirt v.

Hazeltine).

         A county council plan I developed for Native American plaintiffs in a Section 2

lawsuit (Blackmoon v. Charles Mix County) was adopted by Charles Mix County, South

Dakota in November 2005. A plan I drafted for Latino plaintiffs in Bethlehem, Pennsylvania

(Pennsylvania Statewide Latino Coalition v. Bethlehem Area School District) was adopted

in March 2009. Plans I developed for minority plaintiffs in Columbus County, North

Carolina and Montezuma- Cortez School District in Colorado were adopted in 2009.

        Since 1986, I have testified at trial as an expert witness on redistricting and

demographics in federal courts in the following voting rights cases (approximate most

recent testimony dates are in parentheses). I also filed declarations and was deposed in

most of these cases.

Alabama
Caster v. Merrill (2022)
Chestnut v Merrill (2019)
                                                6
Case 1:21-cv-05337-SCJ        Document 236-4        Filed 04/18/23   Page 32 of 162

                                                                        November 30, 2022

Alabama State Conference of the NAACP v. Alabama (2018)
Alabama Legislative Black Caucus et al. v. Alabama et al. (2013)

Arkansas
The Christian Ministerial Alliance v. Hutchinson (2022)

Colorado
Cuthair v. Montezuma-Cortez School Board (1997)

Florida
NAACP v. Lee (2022)
Baroody v. City of Quincy (2020)

Georgia
Pendergrass v. Raffensperger (2022)
Alpha Phi Alpha v. Raffensperger (2022)
Cofield v. City of LaGrange (1996)
Love v. Deal (1995)
Askew v. City of Rome (1995)
Woodard v. Lumber City (1989)

Louisiana
Galmon v. Ardoin (2022)
Terrebonne Parish NAACP v. Jindal, et al. (2017)
Wilson v. Town of St. Francisville (1996)
Reno v. Bossier Parish (1995)
Knight v. McKeithen (1994)

Maryland
NAACP v. Baltimore County (2022)
Cane v. Worcester County (1994)

Mississippi
Thomas v. Bryant (2019)
Fairley v. Hattiesburg (2014)
Boddie v. Cleveland School District (2010)
Fairley v. Hattiesburg (2008)
Boddie v. Cleveland (2003)
Jamison v. City of Tupelo (2006)
Smith v. Clark (2002)
NAACP v. Fordice (1999)
Addy v Newton County (1995)
Ewing v. Monroe County (1995)
Gunn v. Chickasaw County (1995)
Nichols v. Okolona (1995)


                                             7
Case 1:21-cv-05337-SCJ             Document 236-4       Filed 04/18/23      Page 33 of 162

                                                                                November 30, 2022

Montana
Old Person v. Brown (on remand) (2001)
Old Person v. Cooney (1998)

Missouri
Missouri NAACP v. Ferguson-Florissant School District (2016)

Nebraska
Stabler v. Thurston County (1995)

New York
NAACP v. East Ramapo Central School District (2020)
Pope v. County of Albany (2015)
Arbor Hills Concerned Citizens v. Albany County (2003)

Ohio
A. Philip Randolph Institute, et al. v. Ryan (2019)

South Carolina
Smith v. Beasley (1996)

South Dakota
Bone Shirt v. Hazeltine (2004)
Cottier v. City of Martin (2004)

Tennessee
Cousins v. McWherter (1994)
Rural West Tennessee African American Affairs Council v. McWherter (1993)

Texas
Jayla Allen v. Waller County, Texas

Utah
Navajo Nation v. San Juan County (2017),brief testimony –11 declarations, 2 depositions

Virginia
Smith v. Brunswick County (1991)
Henderson v. Richmond County (1988)
McDaniel v. Mehfoud (1988)
White v. Daniel (1989)

Wyoming
Large v. Fremont County (2007)
         In addition, I have filed expert declarations or been deposed in the following

cases that did not require trial testimony. The dates listed indicate the deposition date or


                                              8
Case 1:21-cv-05337-SCJ          Document 236-4          Filed 04/18/23   Page 34 of 162

                                                                            November 30, 2022

date of last declaration or supplemental declaration:


Alabama
People First of Alabama v. Merrill (2020), Covid-19 demographics only
Alabama State NAACP v. City of Pleasant Grove (2019)
James v. Jefferson County Board of Education (2019)
Voketz v. City of Decatur (2018)

Arkansas
Mays v. Thurston (2020)-- Covid-19 demographics only)

Connecticut
NAACP v. Merrill (2020)

Florida
Florida State Conference of the NAACP v. Lee, et al., (2021)
Calvin v. Jefferson County (2016)
Thompson v. Glades County (2001)
Johnson v. DeSoto County (1999)
Burton v. City of Belle Glade (1997)

Georgia
Dwight v. Kemp (2018)
Georgia NAACP et al. v. Gwinnett County, GA (2018
Georgia State Conference NAACP et al v. Georgia (2018)
Georgia State Conference NAACP, et al. v. Fayette County (2015)
Knighton v. Dougherty County (2002)
Johnson v. Miller (1998)
Jones v. Cook County (1993)

Kentucky
Herbert v. Kentucky State Board of Elections (2013)

Louisiana
Power Coalition for Equity and Justice v. Edwards (2020), Covid-19 demographics only
Johnson v. Ardoin (2019
NAACP v. St. Landry Parish Council (2005)
Prejean v. Foster (1998)
Rodney v. McKeithen (1993)

Maryland
Baltimore County NAACP v. Baltimore County (2022)
Benisek v. Lamone (2017)
Fletcher v. Lamone (2011)

Mississippi
Partee v. Coahoma County (2015)
                                             9
Case 1:21-cv-05337-SCJ           Document 236-4   Filed 04/18/23   Page 35 of 162

                                                                      November 30, 2022

Figgs v. Quitman County (2015)
West v. Natchez (2015)
Williams v. Bolivar County (2005)
Houston v. Lafayette County (2002)
Clark v. Calhoun County (on remand)(1993)
Teague v. Attala County (on remand)(1993)
Wilson v. Clarksdale (1992)
Stanfield v. Lee County(1991)

Montana
Alden v. Rosebud County (2000)

North Carolina
Lewis v. Alamance County (1991)
Gause v. Brunswick County (1992)
Webster v. Person County (1992)

Rhode Island
Davidson v. City of Cranston (2015)

South Carolina
Thomas v. Andino (2020), Covid-19 demographics only
Vander Linden v. Campbell (1996

South Dakota
Kirkie v. Buffalo County (2004
Emery v. Hunt (1999)

Tennessee
NAACP v. Frost, et al. (2003)

Virginia
Moon v. Beyer (1990)

Washington
Glatt v. City of Pasco (2016)
Montes v. City of Yakima (2014
                                      ###




                                            10
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 36 of 162




                   EXHIBIT AA
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 37 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 38 of 162




                  EXHIBIT AA-1
                       Case 1:21-cv-05337-SCJ              Document 236-4            Filed 04/18/23          Page 39 of 162
                                                        Population Summary Report
                                              Georgia State House -- Illustrative Plan
                                                                                         2016-20           2016-   NH     2016-20 NH DOJ
                         % 2020               18+ AP    % 18+ AP   18+_NH     % 18+ NH     NH    2016-20 2020 NH B+L+NHA NH White Black
District   2020 Pop.    Deviation   18+ Pop    Black      Black     White      White     BCVAP* LCVAP* ACVAP*     CVAP    CVAP* CVAP**

  001          59666        0.26%     46801      1966      4.20%     41,853     89.43%     3.82%    1.86%    0.53%    6.21%   92.30%    4.25%
  002          59405       -0.18%     46192      1468      3.18%     40,367     87.39%     3.13%    3.54%    0.90%    7.57%   91.06%    3.56%
  003          60199        1.16%     46716      1565      3.35%     41,325     88.46%     2.36%    1.86%    1.14%    5.36%   92.30%    3.26%
  004          60125        1.03%     43552      2315      5.32%     21,687     49.80%     4.76%   27.68%    0.65%   33.09%   65.42%    4.90%
  005          58961       -0.92%     44577      1949      4.37%     34,939     78.38%     3.95%    6.96%    0.88%   11.80%   86.81%    4.57%
  006          58644       -1.46%     44254       753      1.70%     35,234     79.62%     1.95%    8.02%    0.31%   10.28%   88.85%    2.07%
  007          58807       -1.18%     48877       640      1.31%     44,140     90.31%     1.16%    2.45%    0.48%    4.10%   94.24%    1.41%
  008          58972       -0.91%     49682       482      0.97%     45,518     91.62%     1.13%    2.26%    0.23%    3.62%   95.08%    1.15%
  009          59260       -0.42%     47767       423      0.89%     42,162     88.27%     0.48%    4.27%    0.50%    5.25%   92.84%    0.84%
  010          59732        0.37%     47119      1788      3.79%     39,290     83.38%     3.62%    5.33%    1.28%   10.23%   88.10%    4.05%
  011          59186       -0.55%     46842      1591      3.40%     40,389     86.22%     2.12%    3.63%    0.53%    6.28%   88.06%    2.37%
  012          58838       -1.13%     45900      5240     11.42%     37,197     81.04%    11.17%    1.37%    0.39%   12.94%   85.22%   11.77%
  013          59869        0.60%     45920      7930     17.27%     30,277     65.93%    17.18%    7.06%    1.00%   25.24%   73.66%   17.72%
  014          59369       -0.24%     45710      3124      6.83%     37,954     83.03%     6.11%    4.00%    0.45%   10.56%   87.27%    6.48%
  015          58979       -0.89%     45592      6493     14.24%     32,755     71.84%    13.36%    5.88%    0.64%   19.88%   78.23%   14.53%
  016          59713        0.34%     44594      5338     11.97%     34,073     76.41%     9.90%    4.31%    0.51%   14.72%   83.80%   10.18%
  017          58677       -1.40%     43750     12615     28.83%     26,503     60.58%    23.34%    4.33%    0.51%   28.18%   69.15%   24.12%
  018          58881       -1.06%     44887      3374      7.52%     38,919     86.70%     7.44%    1.82%    0.84%   10.09%   88.46%    7.74%
  019          59050       -0.77%     42592      7817     18.35%     30,049     70.55%    15.45%    5.99%    1.16%   22.59%   75.36%   16.27%
  020          60107        1.00%     45725      4230      9.25%     34,934     76.40%     9.84%    6.66%    0.96%   17.46%   81.61%   10.11%
  021          58907       -1.01%     44459      2373      5.34%     36,177     81.37%     3.88%    4.60%    0.61%    9.09%   90.11%    4.24%
  022          59460       -0.09%     45815      6918     15.10%     30,057     65.61%    14.31%    5.97%    3.89%   24.17%   73.77%   14.96%
  023          59771        0.44%     43778      1993      4.55%     34,585     79.00%     3.10%    5.04%    0.66%    8.79%   89.83%    3.17%
  024          59554        0.07%     42107      3022      7.18%     26,430     62.77%     5.78%    6.86%    8.25%   20.90%   75.38%    6.53%
  025          59414       -0.16%     42520      2507      5.90%     23,862     56.12%     6.10%    4.87%   16.96%   27.92%   70.69%    6.22%
  026          59002       -0.86%     43874      1723      3.93%     29,248     66.66%     3.58%    5.89%    6.99%   16.45%   80.77%    4.42%
  027          58710       -1.35%     44978      2351      5.23%     32,023     71.20%     6.05%   12.81%    1.00%   19.86%   78.68%    6.26%
  028          59012       -0.84%     43942      1733      3.94%     35,056     79.78%     1.80%    4.68%    0.60%    7.08%   91.57%    2.25%
  029          59015       -0.83%     43133      5778     13.40%     18,570     43.05%    16.25%   20.54%    2.70%   39.49%   58.88%   16.56%
  030          59266       -0.41%     45414      3678      8.10%     32,016     70.50%     8.57%    9.30%    1.82%   19.69%   78.88%    8.99%
  031          59753        0.41%     43769      3325      7.60%     33,702     77.00%     7.47%    6.15%    2.28%   15.90%   82.86%    7.65%
  032          59466       -0.08%     46220      3348      7.24%     38,455     83.20%     6.70%    3.49%    0.70%   10.89%   87.69%    6.91%
  033          59187       -0.54%     46498      5207     11.20%     38,246     82.25%    12.33%    2.54%    0.57%   15.44%   83.43%   12.47%
  034          59875        0.61%     45758      7169     15.67%     31,678     69.23%    12.82%    5.50%    4.91%   23.23%   75.59%   13.19%
  035          60031        0.87%     48436     13735     28.36%     25,993     53.66%    25.80%    7.93%    4.00%   37.74%   60.25%   26.11%
  036          59852        0.57%     44787      7613     17.00%     31,699     70.78%    15.96%    5.48%    1.37%   22.82%   76.20%   15.96%
  037          59176       -0.56%     46223     13027     28.18%     21,382     46.26%    32.71%    6.45%    2.70%   41.86%   55.07%   34.72%
  038          59317       -0.33%     44839     24318     54.23%     13,498     30.10%    53.28%    7.92%    1.52%   62.73%   36.10%   53.81%
  039          59381       -0.22%     44436     24569     55.29%     10,429     23.47%    55.71%    8.79%    1.56%   66.07%   31.86%   56.75%
  040          59044       -0.78%     47976     15821     32.98%     24,534     51.14%    29.52%    5.05%    5.36%   39.93%   56.64%   30.90%
  041          60122        1.03%     45271     17816     39.35%     12,502     27.62%    47.30%   13.69%    3.49%   64.47%   33.68%   47.54%
  042          59620        0.18%     48525     16353     33.70%     18,923     39.00%    37.85%   10.13%    5.18%   53.16%   43.70%   39.50%
  043          59464       -0.08%     47033     12476     26.53%     21,781     46.31%    25.51%    6.79%    4.44%   36.74%   61.07%   26.21%
  044          60002        0.83%     46773      5635     12.05%     31,659     67.69%    11.38%    7.47%    5.60%   24.46%   73.85%   11.77%
  045          59738        0.38%     44023      2324      5.28%     32,991     74.94%     3.84%    3.70%    5.95%   13.49%   84.99%    4.15%
  046          59108       -0.68%     44132      3560      8.07%     33,016     74.81%     7.43%    5.92%    5.05%   18.40%   79.65%    7.89%
  047          59056       -0.76%     43893      4708     10.73%     28,036     63.87%    14.53%    5.76%    5.24%   25.52%   73.60%   14.76%
  048          59003       -0.85%     44779      5279     11.79%     27,658     61.77%    12.18%    8.56%    8.68%   29.42%   68.24%   13.06%
  049          59153       -0.60%     45263      3813      8.42%     32,354     71.48%     9.22%    3.25%   11.22%   23.68%   73.92%    9.61%
  050          59523        0.02%     43940      5450     12.40%     19,496     44.37%    10.12%    5.05%   21.82%   36.99%   61.25%   10.47%
  051          58952       -0.94%     47262     11193     23.68%     25,679     54.33%    22.77%    5.80%    3.63%   32.20%   65.28%   23.65%
  052          59811        0.50%     48525      7758     15.99%     26,755     55.14%    16.95%    5.82%    6.19%   28.96%   69.29%   17.44%
  053          59953        0.74%     46944      6819     14.53%     33,426     71.20%    11.33%    4.98%    2.54%   18.85%   79.92%   12.01%
  054          60083        0.96%     50338      7789     15.47%     31,705     62.98%    14.29%    4.88%    5.97%   25.14%   73.66%   14.84%
  055          59971        0.77%     49255     27279     55.38%     17,490     35.51%    57.30%    3.27%    1.68%   62.25%   35.48%   57.69%
  056          58929       -0.98%     52757     23993     45.48%     19,509     36.98%    52.42%    4.01%    5.78%   62.21%   35.64%   52.99%
  057          59969        0.77%     52097      9411     18.06%     33,156     63.64%    15.38%    4.72%    4.91%   25.00%   72.27%   16.23%
  058          59057       -0.76%     50514     31845     63.04%     13,923     27.56%    64.01%    2.74%    3.59%   70.34%   26.98%   65.00%
  059          59434       -0.13%     49179     34470     70.09%     10,840     22.04%    69.52%    3.12%    1.89%   74.54%   22.39%   70.60%
  060          59709        0.33%     45490     29061     63.88%     12,778     28.09%    66.10%    2.15%    1.13%   69.38%   28.31%   66.75%
  061          59302       -0.35%     45447     33762     74.29%      7,613     16.75%    74.78%    4.43%    0.86%   80.07%   18.83%   75.05%
  062          59450       -0.10%     46426     33548     72.26%      8,852     19.07%    72.74%    3.30%    1.31%   77.35%   21.51%   73.31%
  063          59381       -0.22%     45043     31229     69.33%      8,658     19.22%    69.88%    4.53%    1.74%   76.15%   22.41%   70.46%
  064          59902        0.66%     44888     13640     30.39%     26,150     58.26%    30.01%    4.28%    1.02%   35.31%   62.03%   30.26%
  065          59464       -0.08%     44386     27511     61.98%     13,963     31.46%    60.40%    4.79%    0.43%   65.62%   33.50%   60.73%
  066          59047       -0.78%     44278     23647     53.41%     15,022     33.93%    46.43%    3.85%    1.55%   51.83%   45.93%   47.10%
                   Case 1:21-cv-05337-SCJ              Document 236-4        Filed 04/18/23      Page 40 of 162
                                                   Population Summary Report
                                            Georgia State House -- Illustrative Plan
                                                                               2016-20           2016-   NH     2016-20 NH DOJ
                        % 2020              18+ AP % 18+ AP 18+_NH   % 18+ NH    NH    2016-20 2020 NH B+L+NHA NH White Black
District   2020 Pop.   Deviation 18+ Pop     Black   Black   White    White    BCVAP* LCVAP* ACVAP*     CVAP    CVAP* CVAP**
  067          59135      -0.63%    44299      26099  58.92%  13,670    30.86% 56.13%   4.48%     0.66%  61.26%  37.69% 56.73%
  068          59477      -0.06%    44835      24994  55.75%  15,216    33.94% 52.97%   4.36%     2.23%  59.55%  37.96% 53.68%
  069          60397       1.49%    46496      25560  54.97%  16,489    35.46% 52.68%   2.93%     2.17%  57.77%  40.94% 53.09%
  070          59121      -0.66%    45249      12591  27.83%  27,007    59.69% 25.79%   5.91%     1.23%  32.93%  64.31% 26.72%
  071          59415      -0.16%    44604       8329  18.67%  31,956    71.64% 18.64%   2.87%     0.39%  21.90%  76.62% 19.09%
  072          59358      -0.26%    45913      10275  22.38%  30,689    66.84% 23.20%   2.81%     1.35%  27.36%  71.12% 23.47%
  073          60189       1.14%    45784       5167  11.29%  33,700    73.61%   9.77%  5.13%     2.25%  17.16%  81.11% 10.30%
  074          59976       0.78%    44239      27203  61.49%  12,519    28.30% 59.83%   4.51%     1.65%  66.00%  32.31% 60.49%
  075          60164       1.10%    44354      32528  73.34%   4,141     9.34% 77.71%   6.82%     2.62%  87.15%  10.89% 78.43%
  076          58905      -1.02%    43809      30710  70.10%   4,323     9.87% 71.31%   8.06%     6.57%  85.94%  11.57% 71.95%
  077          58742      -1.29%    44799      29682  66.26%  10,475    23.38% 64.80%   3.66%     2.47%  70.94%  27.14% 65.38%
  078          59188      -0.54%    44901      29428  65.54%   8,472    18.87% 65.37%   5.48%     4.87%  75.73%  22.24% 66.12%
  079          58624      -1.49%    42548      27466  64.55%   3,999     9.40% 71.60%   7.31%     5.96%  84.87%  12.47% 73.36%
  080          59461      -0.08%    44784       6350  14.18%  21,330    47.63% 16.00%   8.35%     9.74%  34.09%  63.45% 16.25%
  081          59007      -0.85%    46259      10099  21.83%  21,746    47.01% 25.55%   6.92%     8.75%  41.22%  56.40% 25.93%
  082          59724       0.36%    50238       8455  16.83%  31,380    62.46% 14.53%   4.26%     7.16%  25.95%  71.58% 15.15%
  083          59416      -0.16%    46581       7044  15.12%  22,311    47.90% 17.32%   7.65%     4.64%  29.61%  67.68% 18.26%
  084          59862       0.59%    47350      34877  73.66%  10,081    21.29% 74.43%   1.59%     0.75%  76.77%  20.16% 76.37%
  085          59373      -0.23%    46308      29041  62.71%   9,022    19.48% 71.18%   2.62%     3.85%  77.66%  18.90% 72.95%
  086          59205      -0.51%    44614      33485  75.05%   5,391    12.08% 76.94%   1.63%     2.94%  81.50%  16.19% 77.79%
  087          59709       0.33%    45615      33336  73.08%   6,159    13.50% 78.33%   2.01%     2.85%  83.19%  14.92% 79.09%
  088          59689       0.30%    46073      29187  63.35%   8,432    18.30% 67.64%   3.90%     4.31%  75.85%  22.94% 67.95%
  089          59866       0.60%    46198      28890  62.54%  14,355    31.07% 60.92%   3.06%     1.91%  65.89%  32.64% 61.65%
  090          59812       0.51%    48015      28082  58.49%  16,315    33.98% 59.36%   3.00%     1.52%  63.88%  33.68% 59.85%
  091          58901      -1.03%    45650      30589  67.01%  12,277    26.89% 62.42%   2.55%     1.10%  66.06%  32.45% 63.47%
  092          60273       1.28%    46551      32022  68.79%  11,196    24.05% 64.39%   2.14%     1.81%  68.34%  30.22% 64.95%
  093          60118       1.02%    44734      29239  65.36%  10,247    22.91% 64.13%   6.04%     1.30%  71.47%  27.40% 64.49%
  094          59211      -0.50%    44809      30935  69.04%   8,255    18.42% 72.49%   3.02%     2.83%  78.34%  20.36% 72.62%
  095          60030       0.87%    44948      30183  67.15%   9,814    21.83% 66.96%   4.57%     1.49%  73.03%  24.07% 67.89%
  096          59515       0.01%    44671      10273  23.00%   9,078    20.32% 28.64% 19.51% 15.20%      63.35%  34.52% 28.98%
  097          59072      -0.74%    46339      12405  26.77%  16,887    36.44% 31.95% 10.05% 10.70%      52.70%  45.43% 32.61%
  098          59998       0.82%    42734       9934  23.25%   4,981    11.66% 31.92% 29.49% 16.42%      77.83%  19.98% 32.92%
  099          59850       0.57%    45004       6622  14.71%  18,948    42.10% 15.19%   5.29% 21.25%     41.73%  55.84% 15.63%
  100          58851      -1.11%    42038       4237  10.08%  25,680    61.09% 10.04%   6.22%     7.76%  24.01%  74.30% 10.76%
  101          59938       0.72%    46584      11269  24.19%  18,698    40.14% 22.36% 11.95% 11.90%      46.20%  51.06% 23.16%
  102          58959      -0.93%    42968      16164  37.62%  13,169    30.65% 40.55%   9.68%     9.54%  59.77%  36.76% 41.72%
  103          60197       1.15%    44399       7454  16.79%  23,273    52.42% 18.26%   8.77%     8.74%  35.77%  63.47% 18.53%
  104          59362      -0.25%    43306       7373  17.03%  27,265    62.96% 12.83%   7.55%     3.85%  24.23%  74.20% 13.40%
  105          59344      -0.28%    43474      12628  29.05%  18,145    41.74% 28.83% 13.29%      7.54%  49.66%  48.74% 29.22%
  106          59112      -0.67%    43890      15918  36.27%  18,090    41.22% 31.23%   8.46%     7.46%  47.15%  49.84% 32.02%
  107          59702       0.32%    44509      13186  29.63%   9,775    21.96% 35.58% 16.13% 13.03%      64.74%  33.86% 35.80%
  108          59577       0.11%    44308       8132  18.35%  19,214    43.36% 17.26%   9.30% 14.04%     40.60%  58.56% 17.56%
  109          59630       0.20%    44140      14352  32.51%   6,816    15.44% 43.22% 20.13% 13.99%      77.33%  20.91% 43.82%
  110          59951       0.74%    43226      20400  47.19%  15,812    36.58% 45.72%   6.47%     3.15%  55.34%  42.80% 46.17%
  111          60009       0.84%    44096       9828  22.29%  28,221    64.00% 14.97%   5.40%     2.20%  22.58%  76.81% 15.05%
  112          59349      -0.27%    45120       8667  19.21%  33,268    73.73% 20.52%   2.37%     0.84%  23.73%  75.29% 20.64%
  113          60053       0.91%    44538      26515  59.53%  14,162    31.80% 57.48%   3.80%     1.02%  62.30%  35.43% 57.85%
  114          59867       0.60%    45872      11347  24.74%  31,580    68.84% 23.24%   1.48%     0.13%  24.85%  73.90% 23.59%
  115          59473      -0.06%    43983      23843  54.21%  15,445    35.12% 46.24%   5.64%     3.04%  54.91%  41.03% 47.95%
  116          59096      -0.70%    45079      24496  54.34%  13,789    30.59% 51.52%   5.42%     4.33%  61.28%  37.17% 52.02%
  117          58692      -1.38%    43907      23992  54.64%  16,005    36.45% 50.55%   6.02%     1.00%  57.58%  40.96% 51.03%
  118          60253       1.25%    45523      11170  24.54%  31,092    68.30% 22.78%   2.90%     0.50%  26.18%  72.17% 23.55%
  119          59260      -0.42%    44346       6186  13.95%  30,984    69.87% 13.56%   7.06%     2.38%  23.01%  75.47% 14.03%
  120          59554       0.07%    47777       8255  17.28%  31,970    66.92% 19.23%   4.69%     1.38%  25.30%  73.37% 19.65%
  121          59588       0.13%    45167       4646  10.29%  34,338    76.02% 10.67%   3.21%     2.50%  16.38%  81.94% 10.99%
  122          59628       0.20%    50232      11764  23.42%  30,717    61.15% 26.80%   5.35%     3.24%  35.38%  62.50% 27.34%
  123          59712       0.34%    46836       9822  20.97%  33,359    71.23% 22.93%   2.46%     0.47%  25.87%  72.89% 23.48%
  124          58822      -1.16%    47338      11983  25.31%  31,127    65.75% 27.91%   2.85%     0.45%  31.22%  68.48% 28.12%
  125          59922       0.69%    44330      13371  30.16%  26,468    59.71% 30.61%   4.49%     1.06%  36.15%  61.41% 31.03%
  126          59977       0.78%    45639      24550  53.79%  18,596    40.75% 54.84%   3.22%     1.00%  59.06%  39.17% 55.31%
  127          60294       1.32%    46735       7335  15.69%  32,460    69.46% 12.04%   4.20%     4.31%  20.55%  77.31% 12.68%
  128          59983       0.79%    46454      24405  52.54%  20,463    44.05% 52.10%   1.62%     0.11%  53.83%  45.50% 52.34%
  129          59891       0.64%    47950      24526  51.15%  19,698    41.08% 51.45%   2.88%     1.95%  56.29%  42.40% 51.77%
  130          60057       0.92%    45227      24946  55.16%  17,409    38.49% 53.45%   3.00%     0.61%  57.05%  40.92% 54.46%
  131          59096      -0.70%    41901       8399  20.04%  27,377    65.34% 17.21%   6.37%     2.95%  26.53%  70.19% 18.31%
  132          58652      -1.44%    46127      24292  52.66%  15,589    33.80% 55.33%   5.58%     1.99%  62.90%  34.28% 56.35%
  133          58720      -1.33%    47497      24683  51.97%  20,874    43.95% 52.85%   0.96%     0.27%  54.08%  44.96% 53.18%
                     Case 1:21-cv-05337-SCJ                     Document 236-4                 Filed 04/18/23            Page 41 of 162
                                                           Population Summary Report
                                               Georgia State House -- Illustrative Plan
                                                                                    2016-20           2016-   NH     2016-20 NH DOJ
                         % 2020                 18+ AP % 18+ AP 18+_NH    % 18+ NH    NH    2016-20 2020 NH B+L+NHA NH White Black
District   2020 Pop.    Deviation 18+ Pop        Black   Black    White    White    BCVAP* LCVAP* ACVAP*     CVAP    CVAP* CVAP**
  134          58622       -1.49%    45621          6094  13.36%   37,015    81.14% 13.95%   1.40%     0.77%  16.13%  82.86% 14.12%
  135          59567        0.09%    46463         11107  23.91%   32,881    70.77% 25.20%   1.72%     0.31%  27.23%  71.51% 25.28%
  136          59795        0.48%    45771         13127  28.68%   29,247    63.90% 30.14%   1.99%     0.51%  32.64%  66.16% 30.24%
  137          59054       -0.77%    44954         23525  52.33%   18,260    40.62% 53.18%   3.23%     0.99%  57.40%  40.69% 53.64%
  138          58912       -1.01%    45684          8824  19.32%   33,050    72.34% 19.18%   3.68%     1.40%  24.26%  74.57% 19.26%
  139          59010       -0.84%    45522          9227  20.27%   30,132    66.19% 15.91%   6.30%     2.12%  24.33%  72.97% 16.39%
  140          59294       -0.36%    44411         25596  57.63%   14,080    31.70% 56.92%   5.30%     1.18%  63.40%  34.11% 57.54%
  141          59019       -0.83%    44677         25672  57.46%   14,194    31.77% 58.56%   5.11%     1.55%  65.22%  32.58% 59.13%
  142          58637       -1.47%    43221         22695  52.51%   16,545    38.28% 49.66%   4.84%     0.96%  55.46%  42.49% 49.88%
  143          58771       -1.24%    46323         26976  58.23%   16,568    35.77% 57.11%   1.38%     0.95%  59.44%  39.03% 57.37%
  144          60114        1.01%    47312         11819  24.98%   32,444    68.57% 25.43%   2.25%     2.15%  29.83%  68.94% 25.96%
  145          60214        1.18%    46318         23252  50.20%   20,022    43.23% 51.84%   1.80%     1.45%  55.08%  43.43% 52.65%
  146          58683       -1.39%    43280         11405  26.35%   27,704    64.01% 22.79%   4.28%     1.72%  28.79%  69.23% 23.03%
  147          58678       -1.40%    44905         12680  28.24%   27,997    62.35% 28.61%   2.01%     2.60%  33.22%  65.11% 28.79%
  148          58934       -0.97%    46271         17297  37.38%   26,485    57.24% 38.44%   1.88%     0.24%  40.56%  58.89% 38.59%
  149          58639       -1.47%    45086         14902  33.05%   24,376    54.07% 31.83%   4.47%     1.73%  38.03%  58.82% 33.28%
  150          59276       -0.39%    47050         25202  53.56%   18,026    38.31% 54.79%   2.75%     0.25%  57.79%  41.52% 55.03%
  151          59241       -0.45%    45061         13774  30.57%   27,033    59.99% 32.93%   4.65%     1.34%  38.92%  58.59% 33.27%
  152          60076        0.95%    46011         11286  24.53%   30,075    65.36% 24.91%   4.49%     0.68%  30.09%  68.86% 25.18%
  153          59038       -0.79%    46641         26724  57.30%   16,674    35.75% 58.54%   1.46%     0.99%  60.99%  37.98% 59.02%
  154          59504       -0.01%    46571         28233  60.62%   16,982    36.46% 60.79%   0.96%     0.19%  61.94%  37.20% 61.04%
  155          60014        0.85%    46698         11806  25.28%   32,639    69.89% 26.55%   2.22%     0.67%  29.45%  70.06% 26.62%
  156          59003       -0.85%    46088         14006  30.39%   27,293    59.22% 32.23%   3.87%     0.21%  36.31%  62.99% 32.39%
  157          60358        1.42%    45789         10441  22.80%   30,374    66.33% 24.05%   5.27%     0.30%  29.62%  69.25% 24.22%
  158          59859        0.58%    46261         14880  32.17%   28,359    61.30% 31.99%   1.84%     0.28%  34.11%  64.22% 32.64%
  159          60346        1.40%    45259         10408  23.00%   32,028    70.77% 23.21%   1.85%     0.53%  25.59%  72.02% 23.48%
  160          59935        0.71%    48057         10859  22.60%   32,909    68.48% 23.44%   2.47%     0.49%  26.40%  71.24% 24.80%
  161          60097        0.98%    44371         12042  27.14%   26,692    60.16% 24.00%   3.83%     1.40%  29.23%  69.16% 24.16%
  162          60308        1.34%    46733         20435  43.73%   18,984    40.62% 45.77%   7.40%     2.10%  55.26%  41.80% 46.91%
  163          60123        1.03%    48461         22045  45.49%   20,317    41.92% 50.64%   3.71%     1.66%  56.01%  43.00% 51.04%
  164          60245        1.23%    45964         10760  23.41%   27,905    60.71% 22.13%   6.17%     2.76%  31.06%  67.40% 22.71%
  165          59978        0.78%    48247         24282  50.33%   18,901    39.18% 60.67%   2.61%     0.65%  63.94%  34.13% 61.32%
  166          60098        0.99%    47467          2698    5.68%  40,194    84.68%   4.83%  2.85%     2.31%   9.99%  88.10%   5.17%
  167          60184        1.13%    45971         11624  25.29%   29,723    64.66% 26.98%   5.21%     0.76%  32.94%  65.40% 27.41%
  168          60280        1.29%    43768         19424  44.38%   17,209    39.32% 41.41% 11.59%      1.52%  54.52%  40.87% 42.98%
  169          59999        0.82%    45936         12991  28.28%   28,312    61.63% 29.93%   4.98%     0.58%  35.49%  63.58% 30.08%
  170          59885        0.63%    44632         12245  27.44%   27,626    61.90% 28.48%   4.33%     0.55%  33.37%  65.61% 28.74%
  171          60331        1.38%    46121         26778  58.06%   17,101    37.08% 59.31%   1.86%     0.19%  61.37%  36.55% 60.02%
  172          59572        0.10%    45500          9643  21.19%   30,447    66.92% 22.37%   4.62%     0.57%  27.56%  71.11% 22.50%
  173          60035        0.88%    46091         16392  35.56%   25,753    55.87% 35.84%   2.21%     0.90%  38.95%  59.95% 35.96%
  174          59852        0.57%    45760          7950  17.37%   33,060    72.25% 17.90%   3.68%     0.37%  21.95%  76.19% 17.97%
  175          59993        0.81%    44704         10805  24.17%   29,725    66.49% 20.63%   4.99%     1.08%  26.70%  71.46% 20.70%
  176          59470       -0.07%    44991         10206  22.68%   29,763    66.15% 22.45%   4.93%     0.42%  27.80%  70.66% 22.56%
  177          59992        0.81%    46014         24793  53.88%   17,082    37.12% 53.25%   3.40%     0.61%  57.26%  41.35% 53.80%
  178          59297       -0.36%    44956          7120  15.84%   34,529    76.81% 15.97%   3.47%     0.13%  19.57%  79.27% 16.24%
  179          59974        0.78%    47627         12783  26.84%   30,406    63.84% 27.71%   2.28%     1.21%  31.21%  67.07% 27.91%
  180          59412       -0.17%    45362          8261  18.21%   32,283    71.17% 17.81%   4.56%     1.37%  23.74%  73.63% 18.32%


Total      10,711,908       2.98% 8,220,274 2,607,986           31.73% 4,342,333         52.82%
Majority Districts                                              54        100                        53                              67         111   53

CVAP Source:
* 2016-20 ACS Special Tabulation                https://redistrictingdatahub.org/dataset/georgia-cvap-data-disaggregated-to-the-block-level-2020/
Note: Citizen Voting Age Population (CVAP) percentages are disaggreagated from block-gorup level ACS estimates (survey midpoint of July 2018)
* Single race NH Black CVAP, Single Race NH Asian CVAP; **NH DOJ Black= SR NH Black CVAP+SR NH Black/White CVAP
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 42 of 162




                  EXHIBIT AA-2
    Case 1:21-cv-05337-SCJ      Document 236-4    Filed 04/18/23   Page 43 of 162

      User:
Plan Name: Illustrative_House
 Plan Type:


Plan Components with Population Detail
Friday, November 18, 2022                                                       4:11 PM
                                          Total     NH_Wht         AP_Blk      [Hispanic
                                     Population                                  Origin]

District 001
 County: Dade GA
           Total:                        16,251       14,786          228             364
                                                     90.99%        1.40%           2.24%
          Voting Age                     12,987       11,925          140             243
                                                     91.82%        1.08%           1.87%
 County: Walker GA
         Total:                          43,415       37,650        2,806           1,180
                                                     86.72%        6.46%           2.72%
          Voting Age                     33,814       29,928        1,826             746
                                                     88.51%        5.40%           2.21%
District 001 Total
           Total:                        59,666       52,436        3,034           1,544
                                                     87.88%        5.08%           2.59%
          Voting Age                     46,801       41,853        1,966             989
                                                     89.43%        4.20%           2.11%
District 002
 County: Catoosa GA
           Total:                         7,673        6,969          179             171
                                                     90.82%        2.33%           2.23%
          Voting Age                      5,732        5,253          119             111
                                                     91.64%        2.08%           1.94%
 County: Floyd GA
         Total:                           4,842        4,327          173             123
                                                     89.36%        3.57%           2.54%
          Voting Age                      3,891        3,499          129              98
                                                     89.93%        3.32%           2.52%
 County: Walker GA
         Total:                          24,239       22,004          858             505
                                                     90.78%        3.54%           2.08%
          Voting Age                     18,980       17,364          628             320
                                                     91.49%        3.31%           1.69%
 County: Whitfield GA
         Total:                          22,651       17,706          905          2,929
                                                     78.17%        4.00%         12.93%
          Voting Age                     17,589       14,251          592          1,900
                                                     81.02%        3.37%         10.80%
District 002 Total
           Total:                        59,405       51,006        2,115           3,728
                                                     85.86%        3.56%           6.28%
          Voting Age                     46,192       40,367        1,468           2,429
                                                     87.39%        3.18%           5.26%
District 003



                                                                            Page 1 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 44 of 162

Plan Components with Population Detail                                   Illustrative_House

                                       Total     NH_Wht         AP_Blk          [Hispanic
                                  Population                                      Origin]

District 003
 County: Catoosa GA
           Total:                     60,199       52,311        2,463               2,170
                                                  86.90%        4.09%               3.60%
          Voting Age                  46,716       41,325        1,565               1,381
                                                  88.46%        3.35%               2.96%
District 003 Total
           Total:                     60,199       52,311        2,463               2,170
                                                  86.90%        4.09%               3.60%
          Voting Age                  46,716       41,325        1,565               1,381
                                                  88.46%        3.35%               2.96%
District 004
 County: Whitfield GA
           Total:                     60,125       26,469        3,386             28,751
                                                  44.02%        5.63%             47.82%
          Voting Age                  43,552       21,687        2,315             18,326
                                                  49.80%        5.32%             42.08%
District 004 Total
           Total:                     60,125       26,469        3,386             28,751
                                                  44.02%        5.63%             47.82%
          Voting Age                  43,552       21,687        2,315             18,326
                                                  49.80%        5.32%             42.08%
District 005
 County: Gordon GA
           Total:                     57,544       43,317        2,919              8,957
                                                  75.28%        5.07%             15.57%
          Voting Age                  43,500       34,084        1,939              5,592
                                                  78.35%        4.46%             12.86%
 County: Whitfield GA
         Total:                        1,417        1,077           28                263
                                                  76.01%        1.98%             18.56%
          Voting Age                   1,077          855           10                172
                                                  79.39%        0.93%             15.97%
District 005 Total
           Total:                     58,961       44,394        2,947              9,220
                                                  75.29%        5.00%             15.64%
          Voting Age                  44,577       34,939        1,949              5,764
                                                  78.38%        4.37%             12.93%
District 006
 County: Murray GA
           Total:                     39,973       32,164          556              5,914
                                                  80.46%        1.39%             14.79%
          Voting Age                  30,210       25,146          321              3,696
                                                  83.24%        1.06%             12.23%




                                                                             Page 2 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 45 of 162

Plan Components with Population Detail                                   Illustrative_House

                                       Total     NH_Wht         AP_Blk          [Hispanic
                                  Population                                      Origin]

District 006
 County: Whitfield GA
           Total:                     18,671       12,623          600              4,973
                                                  67.61%        3.21%             26.63%
          Voting Age                  14,044       10,088          432              3,155
                                                  71.83%        3.08%             22.47%
District 006 Total
           Total:                     58,644       44,787        1,156             10,887
                                                  76.37%        1.97%             18.56%
          Voting Age                  44,254       35,234          753              6,851
                                                  79.62%        1.70%             15.48%
District 007
 County: Fannin GA
           Total:                     25,319       23,351          199                 753
                                                  92.23%        0.79%               2.97%
          Voting Age                  21,188       19,721          133                 505
                                                  93.08%        0.63%               2.38%
 County: Lumpkin GA
         Total:                       33,488       29,241          685               1,790
                                                  87.32%        2.05%               5.35%
          Voting Age                  27,689       24,419          507               1,345
                                                  88.19%        1.83%               4.86%
District 007 Total
           Total:                     58,807       52,592          884               2,543
                                                  89.43%        1.50%               4.32%
          Voting Age                  48,877       44,140          640               1,850
                                                  90.31%        1.31%               3.79%
District 008
 County: Habersham GA
           Total:                      4,964        4,512           98                 161
                                                  90.89%        1.97%               3.24%
          Voting Age                   4,184        3,831           69                 122
                                                  91.56%        1.65%               2.92%
 County: Rabun GA
         Total:                       16,883       14,625          210               1,452
                                                  86.63%        1.24%               8.60%
          Voting Age                  13,767       12,236          129                 928
                                                  88.88%        0.94%               6.74%
 County: Towns GA
         Total:                       12,493       11,469          168                 415
                                                  91.80%        1.34%               3.32%
          Voting Age                  10,923       10,100          137                 338
                                                  92.47%        1.25%               3.09%
 County: Union GA
         Total:                       24,632       22,646          228                 816
                                                  91.94%        0.93%               3.31%
          Voting Age                  20,808       19,351          147                 563
                                                  93.00%        0.71%               2.71%



                                                                             Page 3 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 46 of 162

Plan Components with Population Detail                                   Illustrative_House

                                       Total     NH_Wht         AP_Blk          [Hispanic
                                  Population                                      Origin]

District 008
District 008 Total
           Total:                     58,972       53,252          704               2,844
                                                  90.30%        1.19%               4.82%
          Voting Age                  49,682       45,518          482               1,951
                                                  91.62%        0.97%               3.93%
District 009
 County: Dawson GA
           Total:                     26,798       23,544          392               1,605
                                                  87.86%        1.46%               5.99%
          Voting Age                  21,441       19,183          249               1,047
                                                  89.47%        1.16%               4.88%
 County: Gilmer GA
         Total:                       31,353       26,365          296              3,599
                                                  84.09%        0.94%             11.48%
          Voting Age                  25,417       22,187          161              2,158
                                                  87.29%        0.63%              8.49%
 County: Hall GA
         Total:                        1,109          957           24                  69
                                                  86.29%        2.16%               6.22%
          Voting Age                    909           792           13                  58
                                                  87.13%        1.43%               6.38%
District 009 Total
           Total:                     59,260       50,866          712               5,273
                                                  85.84%        1.20%               8.90%
          Voting Age                  47,767       42,162          423               3,263
                                                  88.27%        0.89%               6.83%
District 010
 County: Habersham GA
           Total:                     31,729       23,233        1,632              5,345
                                                  73.22%        5.14%             16.85%
          Voting Age                  24,637       18,972        1,304              3,175
                                                  77.01%        5.29%             12.89%
 County: White GA
         Total:                       28,003       24,959          721                 913
                                                  89.13%        2.57%               3.26%
          Voting Age                  22,482       20,318          484                 605
                                                  90.37%        2.15%               2.69%
District 010 Total
           Total:                     59,732       48,192        2,353              6,258
                                                  80.68%        3.94%             10.48%
          Voting Age                  47,119       39,290        1,788              3,780
                                                  83.38%        3.79%              8.02%
District 011




                                                                             Page 4 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 47 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 011
 County: Cherokee GA
           Total:                     25,970       19,319         1,863              3,849
                                                  74.39%         7.17%             14.82%
          Voting Age                  20,043       15,763         1,272              2,303
                                                  78.65%         6.35%             11.49%
 County: Pickens GA
         Total:                       33,216       30,122           512               1,198
                                                  90.69%         1.54%               3.61%
          Voting Age                  26,799       24,626           319                 755
                                                  91.89%         1.19%               2.82%
District 011 Total
           Total:                     59,186       49,441         2,375               5,047
                                                  83.53%         4.01%               8.53%
          Voting Age                  46,842       40,389         1,591               3,058
                                                  86.22%         3.40%               6.53%
District 012
 County: Chattooga GA
           Total:                     24,965       20,079         2,865               1,297
                                                  80.43%        11.48%               5.20%
          Voting Age                  19,416       15,885         2,235                 733
                                                  81.81%        11.51%               3.78%
 County: Floyd GA
         Total:                       33,873       26,530         4,251               1,827
                                                  78.32%        12.55%               5.39%
          Voting Age                  26,484       21,312         3,005               1,165
                                                  80.47%        11.35%               4.40%
District 012 Total
           Total:                     58,838       46,609         7,116               3,124
                                                  79.22%        12.09%               5.31%
          Voting Age                  45,900       37,197         5,240               1,898
                                                  81.04%        11.42%               4.14%
District 013
 County: Floyd GA
           Total:                     59,869       36,890        11,182              9,516
                                                  61.62%        18.68%             15.89%
          Voting Age                  45,920       30,277         7,930              5,904
                                                  65.93%        17.27%             12.86%
District 013 Total
           Total:                     59,869       36,890        11,182              9,516
                                                  61.62%        18.68%             15.89%
          Voting Age                  45,920       30,277         7,930              5,904
                                                  65.93%        17.27%             12.86%
District 014




                                                                              Page 5 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 48 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 014
 County: Bartow GA
           Total:                     49,922       39,862         4,057               3,817
                                                  79.85%         8.13%               7.65%
          Voting Age                  37,978       31,004         2,884               2,404
                                                  81.64%         7.59%               6.33%
 County: Cherokee GA
         Total:                        9,447        8,455           295                 361
                                                  89.50%         3.12%               3.82%
          Voting Age                   7,732        6,950           240                 284
                                                  89.89%         3.10%               3.67%
District 014 Total
           Total:                     59,369       48,317         4,352               4,178
                                                  81.38%         7.33%               7.04%
          Voting Age                  45,710       37,954         3,124               2,688
                                                  83.03%         6.83%               5.88%
District 015
 County: Bartow GA
           Total:                     58,979       40,297         9,338              6,934
                                                  68.32%        15.83%             11.76%
          Voting Age                  45,592       32,755         6,493              4,413
                                                  71.84%        14.24%              9.68%
District 015 Total
           Total:                     58,979       40,297         9,338              6,934
                                                  68.32%        15.83%             11.76%
          Voting Age                  45,592       32,755         6,493              4,413
                                                  71.84%        14.24%              9.68%
District 016
 County: Paulding GA
           Total:                     16,860       13,352         1,972                 914
                                                  79.19%        11.70%               5.42%
          Voting Age                  12,356       10,024         1,347                 540
                                                  81.13%        10.90%               4.37%
 County: Polk GA
         Total:                       42,853       30,161         5,816              5,585
                                                  70.38%        13.57%             13.03%
          Voting Age                  32,238       24,049         3,991              3,252
                                                  74.60%        12.38%             10.09%
District 016 Total
           Total:                     59,713       43,513         7,788              6,499
                                                  72.87%        13.04%             10.88%
          Voting Age                  44,594       34,073         5,338              3,792
                                                  76.41%        11.97%              8.50%
District 017




                                                                              Page 6 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 49 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 017
 County: Paulding GA
           Total:                     58,677       33,331        18,507               4,919
                                                  56.80%        31.54%               8.38%
          Voting Age                  43,750       26,503        12,615               3,159
                                                  60.58%        28.83%               7.22%
District 017 Total
           Total:                     58,677       33,331        18,507               4,919
                                                  56.80%        31.54%               8.38%
          Voting Age                  43,750       26,503        12,615               3,159
                                                  60.58%        28.83%               7.22%
District 018
 County: Carroll GA
           Total:                     19,214       15,595         2,233                 716
                                                  81.16%        11.62%               3.73%
          Voting Age                  14,761       12,251         1,577                 438
                                                  83.00%        10.68%               2.97%
 County: Haralson GA
         Total:                       29,919       26,825         1,541                 497
                                                  89.66%         5.15%               1.66%
          Voting Age                  22,854       20,617         1,106                 323
                                                  90.21%         4.84%               1.41%
 County: Paulding GA
         Total:                        9,748        7,932         1,023                 379
                                                  81.37%        10.49%               3.89%
          Voting Age                   7,272        6,051           691                 234
                                                  83.21%         9.50%               3.22%
District 018 Total
           Total:                     58,881       50,352         4,797               1,592
                                                  85.51%         8.15%               2.70%
          Voting Age                  44,887       38,919         3,374                 995
                                                  86.70%         7.52%               2.22%
District 019
 County: Paulding GA
           Total:                     59,050       40,334        11,738               4,399
                                                  68.30%        19.88%               7.45%
          Voting Age                  42,592       30,049         7,817               2,821
                                                  70.55%        18.35%               6.62%
District 019 Total
           Total:                     59,050       40,334        11,738               4,399
                                                  68.30%        19.88%               7.45%
          Voting Age                  42,592       30,049         7,817               2,821
                                                  70.55%        18.35%               6.62%
District 020




                                                                              Page 7 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 50 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 020
 County: Cherokee GA
           Total:                     60,107       44,437         5,973              6,372
                                                  73.93%         9.94%             10.60%
          Voting Age                  45,725       34,934         4,230              4,197
                                                  76.40%         9.25%              9.18%
District 020 Total
           Total:                     60,107       44,437         5,973              6,372
                                                  73.93%         9.94%             10.60%
          Voting Age                  45,725       34,934         4,230              4,197
                                                  76.40%         9.25%              9.18%
District 021
 County: Cherokee GA
           Total:                     58,907       46,729         3,463               5,300
                                                  79.33%         5.88%               9.00%
          Voting Age                  44,459       36,177         2,373               3,490
                                                  81.37%         5.34%               7.85%
District 021 Total
           Total:                     58,907       46,729         3,463               5,300
                                                  79.33%         5.88%               9.00%
          Voting Age                  44,459       36,177         2,373               3,490
                                                  81.37%         5.34%               7.85%
District 022
 County: Cherokee GA
           Total:                     30,874       20,493         3,488              4,630
                                                  66.38%        11.30%             15.00%
          Voting Age                  23,465       16,360         2,341              3,036
                                                  69.72%         9.98%             12.94%
 County: Cobb GA
         Total:                       28,586       16,687         6,402              3,253
                                                  58.37%        22.40%             11.38%
          Voting Age                  22,350       13,697         4,577              2,265
                                                  61.28%        20.48%             10.13%
District 022 Total
           Total:                     59,460       37,180         9,890              7,883
                                                  62.53%        16.63%             13.26%
          Voting Age                  45,815       30,057         6,918              5,301
                                                  65.61%        15.10%             11.57%
District 023
 County: Cherokee GA
           Total:                     40,327       29,764         2,397              6,375
                                                  73.81%         5.94%             15.81%
          Voting Age                  29,726       22,869         1,572              4,023
                                                  76.93%         5.29%             13.53%




                                                                              Page 8 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 51 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 023
 County: Forsyth GA
           Total:                     19,444       15,729           702               1,812
                                                  80.89%         3.61%               9.32%
          Voting Age                  14,052       11,716           421               1,096
                                                  83.38%         3.00%               7.80%
District 023 Total
           Total:                     59,771       45,493         3,099              8,187
                                                  76.11%         5.18%             13.70%
          Voting Age                  43,778       34,585         1,993              5,119
                                                  79.00%         4.55%             11.69%
District 024
 County: Forsyth GA
           Total:                     59,554       35,351         4,456              6,510
                                                  59.36%         7.48%             10.93%
          Voting Age                  42,107       26,430         3,022              4,198
                                                  62.77%         7.18%              9.97%
District 024 Total
           Total:                     59,554       35,351         4,456              6,510
                                                  59.36%         7.48%             10.93%
          Voting Age                  42,107       26,430         3,022              4,198
                                                  62.77%         7.18%              9.97%
District 025
 County: Forsyth GA
           Total:                     46,134       23,971         2,200               2,342
                                                  51.96%         4.77%               5.08%
          Voting Age                  32,692       18,446         1,482               1,539
                                                  56.42%         4.53%               4.71%
 County: Fulton GA
         Total:                       13,280        6,918         1,406                 876
                                                  52.09%        10.59%               6.60%
          Voting Age                   9,828        5,416         1,025                 625
                                                  55.11%        10.43%               6.36%
District 025 Total
           Total:                     59,414       30,889         3,606               3,218
                                                  51.99%         6.07%               5.42%
          Voting Age                  42,520       23,862         2,507               2,164
                                                  56.12%         5.90%               5.09%
District 026
 County: Forsyth GA
           Total:                     59,002       36,426         2,579              7,437
                                                  61.74%         4.37%             12.60%
          Voting Age                  43,874       29,248         1,723              4,953
                                                  66.66%         3.93%             11.29%




                                                                              Page 9 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 52 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 026
District 026 Total
           Total:                     59,002       36,426         2,579              7,437
                                                  61.74%         4.37%             12.60%
          Voting Age                  43,874       29,248         1,723              4,953
                                                  66.66%         3.93%             11.29%
District 027
 County: Hall GA
           Total:                     58,710       39,189         3,372             14,014
                                                  66.75%         5.74%             23.87%
          Voting Age                  44,978       32,023         2,351              8,906
                                                  71.20%         5.23%             19.80%
District 027 Total
           Total:                     58,710       39,189         3,372             14,014
                                                  66.75%         5.74%             23.87%
          Voting Age                  44,978       32,023         2,351              8,906
                                                  71.20%         5.23%             19.80%
District 028
 County: Forsyth GA
           Total:                     51,321       39,436         2,442              6,328
                                                  76.84%         4.76%             12.33%
          Voting Age                  37,731       29,995         1,571              3,915
                                                  79.50%         4.16%             10.38%
 County: Hall GA
         Total:                        7,691        6,041           233              1,096
                                                  78.55%         3.03%             14.25%
          Voting Age                   6,211        5,061           162                727
                                                  81.48%         2.61%             11.71%
District 028 Total
           Total:                     59,012       45,477         2,675              7,424
                                                  77.06%         4.53%             12.58%
          Voting Age                  43,942       35,056         1,733              4,642
                                                  79.78%         3.94%             10.56%
District 029
 County: Hall GA
           Total:                     59,015       21,511         8,074             27,153
                                                  36.45%        13.68%             46.01%
          Voting Age                  43,133       18,570         5,778             16,961
                                                  43.05%        13.40%             39.32%
District 029 Total
           Total:                     59,015       21,511         8,074             27,153
                                                  36.45%        13.68%             46.01%
          Voting Age                  43,133       18,570         5,778             16,961
                                                  43.05%        13.40%             39.32%
District 030




                                                                             Page 10 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 53 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 030
 County: Gwinnett GA
           Total:                      8,620        5,402         1,529                 866
                                                  62.67%        17.74%              10.05%
          Voting Age                   6,301        4,152           998                 595
                                                  65.89%        15.84%               9.44%
 County: Hall GA
         Total:                       50,646       34,325         3,657              10,262
                                                  67.77%         7.22%              20.26%
          Voting Age                  39,113       27,864         2,680               6,732
                                                  71.24%         6.85%              17.21%
District 030 Total
           Total:                     59,266       39,727         5,186              11,128
                                                  67.03%         8.75%              18.78%
          Voting Age                  45,414       32,016         3,678               7,327
                                                  70.50%         8.10%              16.13%
District 031
 County: Hall GA
           Total:                      4,331        2,141           276               1,820
                                                  49.43%         6.37%              42.02%
          Voting Age                   3,100        1,733           199               1,091
                                                  55.90%         6.42%              35.19%
 County: Jackson GA
         Total:                       55,422       42,553         4,567                5,156
                                                  76.78%         8.24%                9.30%
          Voting Age                  40,669       31,969         3,126                3,317
                                                  78.61%         7.69%                8.16%
District 031 Total
           Total:                     59,753       44,694         4,843               6,976
                                                  74.80%         8.11%              11.67%
          Voting Age                  43,769       33,702         3,325               4,408
                                                  77.00%         7.60%              10.07%
District 032
 County: Banks GA
           Total:                     18,035       15,578           589                1,164
                                                  86.38%         3.27%                6.45%
          Voting Age                  13,900       12,278           365                  721
                                                  88.33%         2.63%                5.19%
 County: Habersham GA
         Total:                        9,338        6,949           435               1,374
                                                  74.42%         4.66%              14.71%
          Voting Age                   7,057        5,496           302                 818
                                                  77.88%         4.28%              11.59%
 County: Hall GA
         Total:                        5,309        4,229           320                 533
                                                  79.66%         6.03%              10.04%
          Voting Age                   4,100        3,371           214                 339
                                                  82.22%         5.22%               8.27%



                                                                              Page 11 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 54 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 032
 County: Stephens GA
           Total:                     26,784       21,323         3,527                 857
                                                  79.61%        13.17%               3.20%
          Voting Age                  21,163       17,310         2,467                 578
                                                  81.79%        11.66%               2.73%
District 032 Total
           Total:                     59,466       48,079         4,871               3,928
                                                  80.85%         8.19%               6.61%
          Voting Age                  46,220       38,455         3,348               2,456
                                                  83.20%         7.24%               5.31%
District 033
 County: Franklin GA
           Total:                     23,424       19,262         2,207               1,121
                                                  82.23%         9.42%               4.79%
          Voting Age                  18,307       15,466         1,523                 678
                                                  84.48%         8.32%               3.70%
 County: Hart GA
         Total:                       25,828       19,250         4,732                 931
                                                  74.53%        18.32%               3.60%
          Voting Age                  20,436       15,761         3,447                 578
                                                  77.12%        16.87%               2.83%
 County: Madison GA
         Total:                        9,935        8,802           383                 363
                                                  88.60%         3.86%               3.65%
          Voting Age                   7,755        7,019           237                 201
                                                  90.51%         3.06%               2.59%
District 033 Total
           Total:                     59,187       47,314         7,322               2,415
                                                  79.94%        12.37%               4.08%
          Voting Age                  46,498       38,246         5,207               1,457
                                                  82.25%        11.20%               3.13%
District 034
 County: Cobb GA
           Total:                     59,875       39,871        10,102               5,427
                                                  66.59%        16.87%               9.06%
          Voting Age                  45,758       31,678         7,169               3,590
                                                  69.23%        15.67%               7.85%
District 034 Total
           Total:                     59,875       39,871        10,102               5,427
                                                  66.59%        16.87%               9.06%
          Voting Age                  45,758       31,678         7,169               3,590
                                                  69.23%        15.67%               7.85%
District 035




                                                                             Page 12 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 55 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 035
 County: Cobb GA
           Total:                     60,031       30,113        18,226              7,631
                                                  50.16%        30.36%             12.71%
          Voting Age                  48,436       25,993        13,735              5,406
                                                  53.66%        28.36%             11.16%
District 035 Total
           Total:                     60,031       30,113        18,226              7,631
                                                  50.16%        30.36%             12.71%
          Voting Age                  48,436       25,993        13,735              5,406
                                                  53.66%        28.36%             11.16%
District 036
 County: Cobb GA
           Total:                     59,852       40,707        11,039               4,453
                                                  68.01%        18.44%               7.44%
          Voting Age                  44,787       31,699         7,613               2,905
                                                  70.78%        17.00%               6.49%
District 036 Total
           Total:                     59,852       40,707        11,039               4,453
                                                  68.01%        18.44%               7.44%
          Voting Age                  44,787       31,699         7,613               2,905
                                                  70.78%        17.00%               6.49%
District 037
 County: Cobb GA
           Total:                     59,176       24,970        17,171             12,993
                                                  42.20%        29.02%             21.96%
          Voting Age                  46,223       21,382        13,027              8,618
                                                  46.26%        28.18%             18.64%
District 037 Total
           Total:                     59,176       24,970        17,171             12,993
                                                  42.20%        29.02%             21.96%
          Voting Age                  46,223       21,382        13,027              8,618
                                                  46.26%        28.18%             18.64%
District 038
 County: Cobb GA
           Total:                     59,317       15,382        33,760              8,730
                                                  25.93%        56.91%             14.72%
          Voting Age                  44,839       13,498        24,318              5,657
                                                  30.10%        54.23%             12.62%
District 038 Total
           Total:                     59,317       15,382        33,760              8,730
                                                  25.93%        56.91%             14.72%
          Voting Age                  44,839       13,498        24,318              5,657
                                                  30.10%        54.23%             12.62%
District 039




                                                                             Page 13 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 56 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 039
 County: Cobb GA
           Total:                     59,381       12,233        33,016             12,942
                                                  20.60%        55.60%             21.79%
          Voting Age                  44,436       10,429        24,569              8,292
                                                  23.47%        55.29%             18.66%
District 039 Total
           Total:                     59,381       12,233        33,016             12,942
                                                  20.60%        55.60%             21.79%
          Voting Age                  44,436       10,429        24,569              8,292
                                                  23.47%        55.29%             18.66%
District 040
 County: Cobb GA
           Total:                     59,044       28,894        20,179               3,795
                                                  48.94%        34.18%               6.43%
          Voting Age                  47,976       24,534        15,821               2,842
                                                  51.14%        32.98%               5.92%
District 040 Total
           Total:                     59,044       28,894        20,179               3,795
                                                  48.94%        34.18%               6.43%
          Voting Age                  47,976       24,534        15,821               2,842
                                                  51.14%        32.98%               5.92%
District 041
 County: Cobb GA
           Total:                     60,122       14,079        23,846             19,971
                                                  23.42%        39.66%             33.22%
          Voting Age                  45,271       12,502        17,816             12,927
                                                  27.62%        39.35%             28.55%
District 041 Total
           Total:                     60,122       14,079        23,846             19,971
                                                  23.42%        39.66%             33.22%
          Voting Age                  45,271       12,502        17,816             12,927
                                                  27.62%        39.35%             28.55%
District 042
 County: Cobb GA
           Total:                     59,620       21,149        20,726             12,217
                                                  35.47%        34.76%             20.49%
          Voting Age                  48,525       18,923        16,353              8,436
                                                  39.00%        33.70%             17.38%
District 042 Total
           Total:                     59,620       21,149        20,726             12,217
                                                  35.47%        34.76%             20.49%
          Voting Age                  48,525       18,923        16,353              8,436
                                                  39.00%        33.70%             17.38%
District 043




                                                                             Page 14 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 57 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 043
 County: Cobb GA
           Total:                     59,464       25,759        16,346              9,424
                                                  43.32%        27.49%             15.85%
          Voting Age                  47,033       21,781        12,476              6,653
                                                  46.31%        26.53%             14.15%
District 043 Total
           Total:                     59,464       25,759        16,346              9,424
                                                  43.32%        27.49%             15.85%
          Voting Age                  47,033       21,781        12,476              6,653
                                                  46.31%        26.53%             14.15%
District 044
 County: Cherokee GA
           Total:                     21,989       14,792         2,616              3,087
                                                  67.27%        11.90%             14.04%
          Voting Age                  17,142       12,047         1,838              2,121
                                                  70.28%        10.72%             12.37%
 County: Cobb GA
         Total:                       38,013       24,033         5,374              4,110
                                                  63.22%        14.14%             10.81%
          Voting Age                  29,631       19,612         3,797              2,804
                                                  66.19%        12.81%              9.46%
District 044 Total
           Total:                     60,002       38,825         7,990              7,197
                                                  64.71%        13.32%             11.99%
          Voting Age                  46,773       31,659         5,635              4,925
                                                  67.69%        12.05%             10.53%
District 045
 County: Cobb GA
           Total:                     59,738       43,186         3,303               3,283
                                                  72.29%         5.53%               5.50%
          Voting Age                  44,023       32,991         2,324               2,136
                                                  74.94%         5.28%               4.85%
District 045 Total
           Total:                     59,738       43,186         3,303               3,283
                                                  72.29%         5.53%               5.50%
          Voting Age                  44,023       32,991         2,324               2,136
                                                  74.94%         5.28%               4.85%
District 046
 County: Cherokee GA
           Total:                     15,178       10,695         1,451              1,858
                                                  70.46%         9.56%             12.24%
          Voting Age                  11,572        8,435         1,014              1,283
                                                  72.89%         8.76%             11.09%




                                                                             Page 15 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 58 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 046
 County: Cobb GA
           Total:                     43,930       32,119         3,626               3,011
                                                  73.11%         8.25%               6.85%
          Voting Age                  32,560       24,581         2,546               1,974
                                                  75.49%         7.82%               6.06%
District 046 Total
           Total:                     59,108       42,814         5,077               4,869
                                                  72.43%         8.59%               8.24%
          Voting Age                  44,132       33,016         3,560               3,257
                                                  74.81%         8.07%               7.38%
District 047
 County: Cherokee GA
           Total:                      3,821        3,183           141                 279
                                                  83.30%         3.69%               7.30%
          Voting Age                   3,064        2,620            96                 178
                                                  85.51%         3.13%               5.81%
 County: Fulton GA
         Total:                       55,235       33,250         6,444               4,332
                                                  60.20%        11.67%               7.84%
          Voting Age                  40,829       25,416         4,612               3,047
                                                  62.25%        11.30%               7.46%
District 047 Total
           Total:                     59,056       36,433         6,585               4,611
                                                  61.69%        11.15%               7.81%
          Voting Age                  43,893       28,036         4,708               3,225
                                                  63.87%        10.73%               7.35%
District 048
 County: Fulton GA
           Total:                     43,976       24,311         5,589              7,163
                                                  55.28%        12.71%             16.29%
          Voting Age                  33,385       19,485         4,110              4,800
                                                  58.36%        12.31%             14.38%
 County: Gwinnett GA
         Total:                       15,027       10,532         1,627               1,154
                                                  70.09%        10.83%               7.68%
          Voting Age                  11,394        8,173         1,169                 756
                                                  71.73%        10.26%               6.64%
District 048 Total
           Total:                     59,003       34,843         7,216              8,317
                                                  59.05%        12.23%             14.10%
          Voting Age                  44,779       27,658         5,279              5,556
                                                  61.77%        11.79%             12.41%
District 049




                                                                             Page 16 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 59 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 049
 County: Fulton GA
           Total:                     59,153       40,782         5,234               4,473
                                                  68.94%         8.85%               7.56%
          Voting Age                  45,263       32,354         3,813               3,031
                                                  71.48%         8.42%               6.70%
District 049 Total
           Total:                     59,153       40,782         5,234               4,473
                                                  68.94%         8.85%               7.56%
          Voting Age                  45,263       32,354         3,813               3,031
                                                  71.48%         8.42%               6.70%
District 050
 County: Fulton GA
           Total:                     59,523       24,729         7,763               4,202
                                                  41.55%        13.04%               7.06%
          Voting Age                  43,940       19,496         5,450               2,796
                                                  44.37%        12.40%               6.36%
District 050 Total
           Total:                     59,523       24,729         7,763               4,202
                                                  41.55%        13.04%               7.06%
          Voting Age                  43,940       19,496         5,450               2,796
                                                  44.37%        12.40%               6.36%
District 051
 County: Fulton GA
           Total:                     58,952       30,076        14,766              9,119
                                                  51.02%        25.05%             15.47%
          Voting Age                  47,262       25,679        11,193              6,291
                                                  54.33%        23.68%             13.31%
District 051 Total
           Total:                     58,952       30,076        14,766              9,119
                                                  51.02%        25.05%             15.47%
          Voting Age                  47,262       25,679        11,193              6,291
                                                  54.33%        23.68%             13.31%
District 052
 County: DeKalb GA
           Total:                     28,300       15,671         3,815               1,890
                                                  55.37%        13.48%               6.68%
          Voting Age                  21,991       12,400         3,074               1,394
                                                  56.39%        13.98%               6.34%
 County: Fulton GA
         Total:                       31,511       16,511         5,646               2,883
                                                  52.40%        17.92%               9.15%
          Voting Age                  26,534       14,355         4,684               2,204
                                                  54.10%        17.65%               8.31%




                                                                             Page 17 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 60 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 052
District 052 Total
           Total:                     59,811       32,182         9,461               4,773
                                                  53.81%        15.82%               7.98%
          Voting Age                  48,525       26,755         7,758               3,598
                                                  55.14%        15.99%               7.41%
District 053
 County: Fulton GA
           Total:                     59,953       42,146         8,685               4,919
                                                  70.30%        14.49%               8.20%
          Voting Age                  46,944       33,426         6,819               3,494
                                                  71.20%        14.53%               7.44%
District 053 Total
           Total:                     59,953       42,146         8,685               4,919
                                                  70.30%        14.49%               8.20%
          Voting Age                  46,944       33,426         6,819               3,494
                                                  71.20%        14.53%               7.44%
District 054
 County: Fulton GA
           Total:                     60,083       36,671         9,048              9,115
                                                  61.03%        15.06%             15.17%
          Voting Age                  50,338       31,705         7,789              6,436
                                                  62.98%        15.47%             12.79%
District 054 Total
           Total:                     60,083       36,671         9,048              9,115
                                                  61.03%        15.06%             15.17%
          Voting Age                  50,338       31,705         7,789              6,436
                                                  62.98%        15.47%             12.79%
District 055
 County: Fulton GA
           Total:                     59,971       20,257        34,374               3,080
                                                  33.78%        57.32%               5.14%
          Voting Age                  49,255       17,490        27,279               2,450
                                                  35.51%        55.38%               4.97%
District 055 Total
           Total:                     59,971       20,257        34,374               3,080
                                                  33.78%        57.32%               5.14%
          Voting Age                  49,255       17,490        27,279               2,450
                                                  35.51%        55.38%               4.97%
District 056
 County: Fulton GA
           Total:                     58,929       20,055        29,016               3,425
                                                  34.03%        49.24%               5.81%
          Voting Age                  52,757       19,509        23,993               3,082
                                                  36.98%        45.48%               5.84%




                                                                             Page 18 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 61 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 056
District 056 Total
           Total:                     58,929       20,055        29,016               3,425
                                                  34.03%        49.24%               5.81%
          Voting Age                  52,757       19,509        23,993               3,082
                                                  36.98%        45.48%               5.84%
District 057
 County: Fulton GA
           Total:                     59,969       37,712        10,691               5,294
                                                  62.89%        17.83%               8.83%
          Voting Age                  52,097       33,156         9,411               4,143
                                                  63.64%        18.06%               7.95%
District 057 Total
           Total:                     59,969       37,712        10,691               5,294
                                                  62.89%        17.83%               8.83%
          Voting Age                  52,097       33,156         9,411               4,143
                                                  63.64%        18.06%               7.95%
District 058
 County: Fulton GA
           Total:                     59,057       14,752        39,036               2,973
                                                  24.98%        66.10%               5.03%
          Voting Age                  50,514       13,923        31,845               2,562
                                                  27.56%        63.04%               5.07%
District 058 Total
           Total:                     59,057       14,752        39,036               2,973
                                                  24.98%        66.10%               5.03%
          Voting Age                  50,514       13,923        31,845               2,562
                                                  27.56%        63.04%               5.07%
District 059
 County: Fulton GA
           Total:                     59,434       11,510        43,468               2,647
                                                  19.37%        73.14%               4.45%
          Voting Age                  49,179       10,840        34,470               2,177
                                                  22.04%        70.09%               4.43%
District 059 Total
           Total:                     59,434       11,510        43,468               2,647
                                                  19.37%        73.14%               4.45%
          Voting Age                  49,179       10,840        34,470               2,177
                                                  22.04%        70.09%               4.43%
District 060
 County: Fulton GA
           Total:                     59,709       15,952        38,562               3,504
                                                  26.72%        64.58%               5.87%
          Voting Age                  45,490       12,778        29,061               2,324
                                                  28.09%        63.88%               5.11%




                                                                             Page 19 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 62 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 060
District 060 Total
           Total:                     59,709       15,952        38,562               3,504
                                                  26.72%        64.58%               5.87%
          Voting Age                  45,490       12,778        29,061               2,324
                                                  28.09%        63.88%               5.11%
District 061
 County: Douglas GA
           Total:                     30,206        8,274        16,654              4,662
                                                  27.39%        55.13%             15.43%
          Voting Age                  23,160        7,154        12,498              2,923
                                                  30.89%        53.96%             12.62%
 County: Fulton GA
         Total:                       29,096          496        27,881                 732
                                                   1.70%        95.82%               2.52%
          Voting Age                  22,287          459        21,264                 535
                                                   2.06%        95.41%               2.40%
District 061 Total
           Total:                     59,302        8,770        44,535               5,394
                                                  14.79%        75.10%               9.10%
          Voting Age                  45,447        7,613        33,762               3,458
                                                  16.75%        74.29%               7.61%
District 062
 County: Fulton GA
           Total:                     59,450       10,210        43,732               4,522
                                                  17.17%        73.56%               7.61%
          Voting Age                  46,426        8,852        33,548               3,172
                                                  19.07%        72.26%               6.83%
District 062 Total
           Total:                     59,450       10,210        43,732               4,522
                                                  17.17%        73.56%               7.61%
          Voting Age                  46,426        8,852        33,548               3,172
                                                  19.07%        72.26%               6.83%
District 063
 County: Fulton GA
           Total:                     59,381        9,942        42,146              6,185
                                                  16.74%        70.98%             10.42%
          Voting Age                  45,043        8,658        31,229              4,173
                                                  19.22%        69.33%              9.26%
District 063 Total
           Total:                     59,381        9,942        42,146              6,185
                                                  16.74%        70.98%             10.42%
          Voting Age                  45,043        8,658        31,229              4,173
                                                  19.22%        69.33%              9.26%
District 064




                                                                             Page 20 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 63 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 064
 County: Douglas GA
           Total:                     35,576       19,569        11,235               3,286
                                                  55.01%        31.58%               9.24%
          Voting Age                  26,860       15,711         7,946               2,080
                                                  58.49%        29.58%               7.74%
 County: Paulding GA
         Total:                       24,326       13,495         8,056               1,953
                                                  55.48%        33.12%               8.03%
          Voting Age                  18,028       10,439         5,694               1,220
                                                  57.90%        31.58%               6.77%
District 064 Total
           Total:                     59,902       33,064        19,291               5,239
                                                  55.20%        32.20%               8.75%
          Voting Age                  44,888       26,150        13,640               3,300
                                                  58.26%        30.39%               7.35%
District 065
 County: Coweta GA
           Total:                     13,008       10,020         1,621                 703
                                                  77.03%        12.46%               5.40%
          Voting Age                   9,714        7,597         1,190                 432
                                                  78.21%        12.25%               4.45%
 County: Douglas GA
         Total:                       19,408        4,333        13,161               1,561
                                                  22.33%        67.81%               8.04%
          Voting Age                  14,130        3,529         9,286               1,006
                                                  24.98%        65.72%               7.12%
 County: Fulton GA
         Total:                       27,048        3,217        22,920                 843
                                                  11.89%        84.74%               3.12%
          Voting Age                  20,542        2,837        17,035                 573
                                                  13.81%        82.93%               2.79%
District 065 Total
           Total:                     59,464       17,570        37,702               3,107
                                                  29.55%        63.40%               5.23%
          Voting Age                  44,386       13,963        27,511               2,011
                                                  31.46%        61.98%               4.53%
District 066
 County: Douglas GA
           Total:                     59,047       17,701        33,210              6,526
                                                  29.98%        56.24%             11.05%
          Voting Age                  44,278       15,022        23,647              4,203
                                                  33.93%        53.41%              9.49%
District 066 Total
           Total:                     59,047       17,701        33,210              6,526
                                                  29.98%        56.24%             11.05%
          Voting Age                  44,278       15,022        23,647              4,203
                                                  33.93%        53.41%              9.49%



                                                                             Page 21 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 64 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 067
 County: Coweta GA
           Total:                     17,272       13,678         1,374               1,195
                                                  79.19%         7.96%               6.92%
          Voting Age                  13,061       10,535           996                 802
                                                  80.66%         7.63%               6.14%
 County: Fulton GA
         Total:                       41,863        3,525        34,064               3,958
                                                   8.42%        81.37%               9.45%
          Voting Age                  31,238        3,135        25,103               2,633
                                                  10.04%        80.36%               8.43%
District 067 Total
           Total:                     59,135       17,203        35,438               5,153
                                                  29.09%        59.93%               8.71%
          Voting Age                  44,299       13,670        26,099               3,435
                                                  30.86%        58.92%               7.75%
District 068
 County: Fayette GA
           Total:                     29,719       17,169         7,094              3,128
                                                  57.77%        23.87%             10.53%
          Voting Age                  22,798       13,983         5,151              2,005
                                                  61.33%        22.59%              8.79%
 County: Fulton GA
         Total:                       29,758        1,357        27,095               1,211
                                                   4.56%        91.05%               4.07%
          Voting Age                  22,037        1,233        19,843                 832
                                                   5.60%        90.04%               3.78%
District 068 Total
           Total:                     59,477       18,526        34,189               4,339
                                                  31.15%        57.48%               7.30%
          Voting Age                  44,835       15,216        24,994               2,837
                                                  33.94%        55.75%               6.33%
District 069
 County: Fayette GA
           Total:                     39,018       19,586        13,922               2,818
                                                  50.20%        35.68%               7.22%
          Voting Age                  30,502       16,150        10,501               1,836
                                                  52.95%        34.43%               6.02%
 County: Fulton GA
         Total:                       21,379          414        20,058                 846
                                                   1.94%        93.82%               3.96%
          Voting Age                  15,994          339        15,059                 534
                                                   2.12%        94.15%               3.34%
District 069 Total
           Total:                     60,397       20,000        33,980               3,664
                                                  33.11%        56.26%               6.07%
          Voting Age                  46,496       16,489        25,560               2,370
                                                  35.46%        54.97%               5.10%



                                                                             Page 22 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 65 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 070
 County: Carroll GA
           Total:                      2,854        2,523           148                  62
                                                  88.40%         5.19%               2.17%
          Voting Age                   2,259        2,008           106                  45
                                                  88.89%         4.69%               1.99%
 County: Coweta GA
         Total:                       56,267       30,887        17,602               5,306
                                                  54.89%        31.28%               9.43%
          Voting Age                  42,990       24,999        12,485               3,556
                                                  58.15%        29.04%               8.27%
District 070 Total
           Total:                     59,121       33,410        17,750               5,368
                                                  56.51%        30.02%               9.08%
          Voting Age                  45,249       27,007        12,591               3,601
                                                  59.69%        27.83%               7.96%
District 071
 County: Carroll GA
           Total:                     59,415       41,147        11,929               4,047
                                                  69.25%        20.08%               6.81%
          Voting Age                  44,604       31,956         8,329               2,541
                                                  71.64%        18.67%               5.70%
District 071 Total
           Total:                     59,415       41,147        11,929               4,047
                                                  69.25%        20.08%               6.81%
          Voting Age                  44,604       31,956         8,329               2,541
                                                  71.64%        18.67%               5.70%
District 072
 County: Carroll GA
           Total:                     37,665       21,460        10,308              4,761
                                                  56.98%        27.37%             12.64%
          Voting Age                  29,372       17,588         7,815              3,105
                                                  59.88%        26.61%             10.57%
 County: Heard GA
         Total:                       11,412        9,589         1,142                 253
                                                  84.03%        10.01%               2.22%
          Voting Age                   8,698        7,407           832                 153
                                                  85.16%         9.57%               1.76%
 County: Troup GA
         Total:                       10,281        7,225         2,312                 359
                                                  70.28%        22.49%               3.49%
          Voting Age                   7,843        5,694         1,628                 235
                                                  72.60%        20.76%               3.00%
District 072 Total
           Total:                     59,358       38,274        13,762               5,373
                                                  64.48%        23.18%               9.05%
          Voting Age                  45,913       30,689        10,275               3,493
                                                  66.84%        22.38%               7.61%



                                                                             Page 23 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 66 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 073
 County: Coweta GA
           Total:                     31,608       22,361         4,579               2,547
                                                  70.74%        14.49%               8.06%
          Voting Age                  24,269       17,718         3,242               1,753
                                                  73.01%        13.36%               7.22%
 County: Fayette GA
         Total:                       28,581       20,434         2,807               2,063
                                                  71.50%         9.82%               7.22%
          Voting Age                  21,515       15,982         1,925               1,371
                                                  74.28%         8.95%               6.37%
District 073 Total
           Total:                     60,189       42,795         7,386               4,610
                                                  71.10%        12.27%               7.66%
          Voting Age                  45,784       33,700         5,167               3,124
                                                  73.61%        11.29%               6.82%
District 074
 County: Clayton GA
           Total:                     34,646        3,046        27,920               3,336
                                                   8.79%        80.59%               9.63%
          Voting Age                  25,346        2,679        20,094               2,158
                                                  10.57%        79.28%               8.51%
 County: Henry GA
         Total:                       18,397        7,178         9,234               1,580
                                                  39.02%        50.19%               8.59%
          Voting Age                  13,441        5,750         6,374                 953
                                                  42.78%        47.42%               7.09%
 County: Spalding GA
         Total:                        6,933        5,040         1,037                 613
                                                  72.70%        14.96%               8.84%
          Voting Age                   5,452        4,090           735                 417
                                                  75.02%        13.48%               7.65%
District 074 Total
           Total:                     59,976       15,264        38,191               5,529
                                                  25.45%        63.68%               9.22%
          Voting Age                  44,239       12,519        27,203               3,528
                                                  28.30%        61.49%               7.97%
District 075
 County: Clayton GA
           Total:                     60,164        4,575        44,430              8,925
                                                   7.60%        73.85%             14.83%
          Voting Age                  44,354        4,141        32,528              5,753
                                                   9.34%        73.34%             12.97%
District 075 Total
           Total:                     60,164        4,575        44,430              8,925
                                                   7.60%        73.85%             14.83%
          Voting Age                  44,354        4,141        32,528              5,753
                                                   9.34%        73.34%             12.97%



                                                                             Page 24 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 67 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 076
 County: Clayton GA
           Total:                     58,905        4,784        41,669              7,754
                                                   8.12%        70.74%             13.16%
          Voting Age                  43,809        4,323        30,710              4,888
                                                   9.87%        70.10%             11.16%
District 076 Total
           Total:                     58,905        4,784        41,669              7,754
                                                   8.12%        70.74%             13.16%
          Voting Age                  43,809        4,323        30,710              4,888
                                                   9.87%        70.10%             11.16%
District 077
 County: Clayton GA
           Total:                     36,866        1,640        31,151               3,394
                                                   4.45%        84.50%               9.21%
          Voting Age                  27,816        1,488        23,531               2,204
                                                   5.35%        84.60%               7.92%
 County: Fayette GA
         Total:                       21,876       10,955         8,253               1,471
                                                  50.08%        37.73%               6.72%
          Voting Age                  16,983        8,987         6,151                 956
                                                  52.92%        36.22%               5.63%
District 077 Total
           Total:                     58,742       12,595        39,404               4,865
                                                  21.44%        67.08%               8.28%
          Voting Age                  44,799       10,475        29,682               3,160
                                                  23.38%        66.26%               7.05%
District 078
 County: Clayton GA
           Total:                     45,741        6,668        31,794              5,732
                                                  14.58%        69.51%             12.53%
          Voting Age                  34,457        6,017        23,339              3,756
                                                  17.46%        67.73%             10.90%
 County: Henry GA
         Total:                       13,447        2,734         8,212                 908
                                                  20.33%        61.07%               6.75%
          Voting Age                  10,444        2,455         6,089                 653
                                                  23.51%        58.30%               6.25%
District 078 Total
           Total:                     59,188        9,402        40,006              6,640
                                                  15.88%        67.59%             11.22%
          Voting Age                  44,901        8,472        29,428              4,409
                                                  18.87%        65.54%              9.82%
District 079




                                                                             Page 25 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 68 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 079
 County: Clayton GA
           Total:                     58,624        4,416        37,939             13,002
                                                   7.53%        64.72%             22.18%
          Voting Age                  42,548        3,999        27,466              8,333
                                                   9.40%        64.55%             19.58%
District 079 Total
           Total:                     58,624        4,416        37,939             13,002
                                                   7.53%        64.72%             22.18%
          Voting Age                  42,548        3,999        27,466              8,333
                                                   9.40%        64.55%             19.58%
District 080
 County: DeKalb GA
           Total:                     59,461       26,769         8,128             15,559
                                                  45.02%        13.67%             26.17%
          Voting Age                  44,784       21,330         6,350             10,356
                                                  47.63%        14.18%             23.12%
District 080 Total
           Total:                     59,461       26,769         8,128             15,559
                                                  45.02%        13.67%             26.17%
          Voting Age                  44,784       21,330         6,350             10,356
                                                  47.63%        14.18%             23.12%
District 081
 County: DeKalb GA
           Total:                     59,007       26,127        12,487             14,504
                                                  44.28%        21.16%             24.58%
          Voting Age                  46,259       21,746        10,099              9,676
                                                  47.01%        21.83%             20.92%
District 081 Total
           Total:                     59,007       26,127        12,487             14,504
                                                  44.28%        21.16%             24.58%
          Voting Age                  46,259       21,746        10,099              9,676
                                                  47.01%        21.83%             20.92%
District 082
 County: DeKalb GA
           Total:                     59,724       36,945         9,763               4,494
                                                  61.86%        16.35%               7.52%
          Voting Age                  50,238       31,380         8,455               3,410
                                                  62.46%        16.83%               6.79%
District 082 Total
           Total:                     59,724       36,945         9,763               4,494
                                                  61.86%        16.35%               7.52%
          Voting Age                  50,238       31,380         8,455               3,410
                                                  62.46%        16.83%               6.79%
District 083




                                                                             Page 26 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 69 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 083
 County: DeKalb GA
           Total:                     59,416       26,221         8,327             20,050
                                                  44.13%        14.01%             33.75%
          Voting Age                  46,581       22,311         7,044             13,260
                                                  47.90%        15.12%             28.47%
District 083 Total
           Total:                     59,416       26,221         8,327             20,050
                                                  44.13%        14.01%             33.75%
          Voting Age                  46,581       22,311         7,044             13,260
                                                  47.90%        15.12%             28.47%
District 084
 County: DeKalb GA
           Total:                     59,862       12,637        43,909               2,034
                                                  21.11%        73.35%               3.40%
          Voting Age                  47,350       10,081        34,877               1,400
                                                  21.29%        73.66%               2.96%
District 084 Total
           Total:                     59,862       12,637        43,909               2,034
                                                  21.11%        73.35%               3.40%
          Voting Age                  47,350       10,081        34,877               1,400
                                                  21.29%        73.66%               2.96%
District 085
 County: DeKalb GA
           Total:                     59,373       10,143        37,650               3,558
                                                  17.08%        63.41%               5.99%
          Voting Age                  46,308        9,022        29,041               2,742
                                                  19.48%        62.71%               5.92%
District 085 Total
           Total:                     59,373       10,143        37,650               3,558
                                                  17.08%        63.41%               5.99%
          Voting Age                  46,308        9,022        29,041               2,742
                                                  19.48%        62.71%               5.92%
District 086
 County: DeKalb GA
           Total:                     59,205        6,276        44,458               2,750
                                                  10.60%        75.09%               4.64%
          Voting Age                  44,614        5,391        33,485               1,912
                                                  12.08%        75.05%               4.29%
District 086 Total
           Total:                     59,205        6,276        44,458               2,750
                                                  10.60%        75.09%               4.64%
          Voting Age                  44,614        5,391        33,485               1,912
                                                  12.08%        75.05%               4.29%
District 087




                                                                             Page 27 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 70 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 087
 County: DeKalb GA
           Total:                     59,709        6,857        44,195               4,613
                                                  11.48%        74.02%               7.73%
          Voting Age                  45,615        6,159        33,336               3,051
                                                  13.50%        73.08%               6.69%
District 087 Total
           Total:                     59,709        6,857        44,195               4,613
                                                  11.48%        74.02%               7.73%
          Voting Age                  45,615        6,159        33,336               3,051
                                                  13.50%        73.08%               6.69%
District 088
 County: DeKalb GA
           Total:                     47,844        7,972        34,877               3,532
                                                  16.66%        72.90%               7.38%
          Voting Age                  37,310        7,078        26,554               2,420
                                                  18.97%        71.17%               6.49%
 County: Gwinnett GA
         Total:                       11,845        1,569         3,638              3,307
                                                  13.25%        30.71%             27.92%
          Voting Age                   8,763        1,354         2,633              2,175
                                                  15.45%        30.05%             24.82%
District 088 Total
           Total:                     59,689        9,541        38,515              6,839
                                                  15.98%        64.53%             11.46%
          Voting Age                  46,073        8,432        29,187              4,595
                                                  18.30%        63.35%              9.97%
District 089
 County: DeKalb GA
           Total:                     59,866       18,189        37,494               2,275
                                                  30.38%        62.63%               3.80%
          Voting Age                  46,198       14,355        28,890               1,581
                                                  31.07%        62.54%               3.42%
District 089 Total
           Total:                     59,866       18,189        37,494               2,275
                                                  30.38%        62.63%               3.80%
          Voting Age                  46,198       14,355        28,890               1,581
                                                  31.07%        62.54%               3.42%
District 090
 County: DeKalb GA
           Total:                     59,812       19,190        35,965               2,784
                                                  32.08%        60.13%               4.65%
          Voting Age                  48,015       16,315        28,082               2,045
                                                  33.98%        58.49%               4.26%




                                                                             Page 28 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 71 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 090
District 090 Total
           Total:                     59,812       19,190        35,965               2,784
                                                  32.08%        60.13%               4.65%
          Voting Age                  48,015       16,315        28,082               2,045
                                                  33.98%        58.49%               4.26%
District 091
 County: DeKalb GA
           Total:                     19,700          398        18,867                 485
                                                   2.02%        95.77%               2.46%
          Voting Age                  14,941          337        14,323                 304
                                                   2.26%        95.86%               2.03%
 County: Henry GA
         Total:                       34,420       12,020        19,135               2,339
                                                  34.92%        55.59%               6.80%
          Voting Age                  26,892       10,238        14,387               1,456
                                                  38.07%        53.50%               5.41%
 County: Rockdale GA
         Total:                        4,781        1,991         2,458                 199
                                                  41.64%        51.41%               4.16%
          Voting Age                   3,817        1,702         1,879                 125
                                                  44.59%        49.23%               3.27%
District 091 Total
           Total:                     58,901       14,409        40,460               3,023
                                                  24.46%        68.69%               5.13%
          Voting Age                  45,650       12,277        30,589               1,885
                                                  26.89%        67.01%               4.13%
District 092
 County: DeKalb GA
           Total:                     15,607          559        14,612                 402
                                                   3.58%        93.62%               2.58%
          Voting Age                  11,794          508        10,979                 298
                                                   4.31%        93.09%               2.53%
 County: Rockdale GA
         Total:                       44,666       12,086        28,366               2,904
                                                  27.06%        63.51%               6.50%
          Voting Age                  34,757       10,688        21,043               1,879
                                                  30.75%        60.54%               5.41%
District 092 Total
           Total:                     60,273       12,645        42,978               3,306
                                                  20.98%        71.31%               5.49%
          Voting Age                  46,551       11,196        32,022               2,177
                                                  24.05%        68.79%               4.68%
District 093




                                                                             Page 29 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 72 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 093
 County: DeKalb GA
           Total:                     11,690          393        10,625                 683
                                                   3.36%        90.89%               5.84%
          Voting Age                   8,476          359         7,662                 438
                                                   4.24%        90.40%               5.17%
 County: Newton GA
         Total:                       15,515        6,010         8,194                 726
                                                  38.74%        52.81%               4.68%
          Voting Age                  12,080        4,987         6,153                 464
                                                  41.28%        50.94%               3.84%
 County: Rockdale GA
         Total:                       32,913        5,584        21,430              5,348
                                                  16.97%        65.11%             16.25%
          Voting Age                  24,178        4,901        15,424              3,382
                                                  20.27%        63.79%             13.99%
District 093 Total
           Total:                     60,118       11,987        40,249              6,757
                                                  19.94%        66.95%             11.24%
          Voting Age                  44,734       10,247        29,239              4,284
                                                  22.91%        65.36%              9.58%
District 094
 County: DeKalb GA
           Total:                     31,207          893        29,080               1,218
                                                   2.86%        93.18%               3.90%
          Voting Age                  23,817          797        22,124                 807
                                                   3.35%        92.89%               3.39%
 County: Gwinnett GA
         Total:                       28,004        8,807        12,317              3,944
                                                  31.45%        43.98%             14.08%
          Voting Age                  20,992        7,458         8,811              2,460
                                                  35.53%        41.97%             11.72%
District 094 Total
           Total:                     59,211        9,700        41,397               5,162
                                                  16.38%        69.91%               8.72%
          Voting Age                  44,809        8,255        30,935               3,267
                                                  18.42%        69.04%               7.29%
District 095
 County: DeKalb GA
           Total:                     14,599          655        13,199                 640
                                                   4.49%        90.41%               4.38%
          Voting Age                  10,985          592         9,855                 412
                                                   5.39%        89.71%               3.75%
 County: Gwinnett GA
         Total:                       34,221        5,787        23,533              3,868
                                                  16.91%        68.77%             11.30%
          Voting Age                  25,212        5,056        16,739              2,452
                                                  20.05%        66.39%              9.73%



                                                                             Page 30 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 73 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 095
 County: Rockdale GA
           Total:                     11,210        4,839         4,950               1,089
                                                  43.17%        44.16%               9.71%
          Voting Age                   8,751        4,166         3,589                 703
                                                  47.61%        41.01%               8.03%
District 095 Total
           Total:                     60,030       11,281        41,682               5,597
                                                  18.79%        69.44%               9.32%
          Voting Age                  44,948        9,814        30,183               3,567
                                                  21.83%        67.15%               7.94%
District 096
 County: Gwinnett GA
           Total:                     59,515       10,398        13,970             24,097
                                                  17.47%        23.47%             40.49%
          Voting Age                  44,671        9,078        10,273             16,093
                                                  20.32%        23.00%             36.03%
District 096 Total
           Total:                     59,515       10,398        13,970             24,097
                                                  17.47%        23.47%             40.49%
          Voting Age                  44,671        9,078        10,273             16,093
                                                  20.32%        23.00%             36.03%
District 097
 County: Gwinnett GA
           Total:                     59,072       19,604        16,869             12,911
                                                  33.19%        28.56%             21.86%
          Voting Age                  46,339       16,887        12,405              8,910
                                                  36.44%        26.77%             19.23%
District 097 Total
           Total:                     59,072       19,604        16,869             12,911
                                                  33.19%        28.56%             21.86%
          Voting Age                  46,339       16,887        12,405              8,910
                                                  36.44%        26.77%             19.23%
District 098
 County: Gwinnett GA
           Total:                     59,998        5,813        13,286             34,450
                                                   9.69%        22.14%             57.42%
          Voting Age                  42,734        4,981         9,934             22,549
                                                  11.66%        23.25%             52.77%
District 098 Total
           Total:                     59,998        5,813        13,286             34,450
                                                   9.69%        22.14%             57.42%
          Voting Age                  42,734        4,981         9,934             22,549
                                                  11.66%        23.25%             52.77%
District 099




                                                                             Page 31 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 74 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 099
 County: Gwinnett GA
           Total:                     59,850       23,802         9,514               5,695
                                                  39.77%        15.90%               9.52%
          Voting Age                  45,004       18,948         6,622               3,901
                                                  42.10%        14.71%               8.67%
District 099 Total
           Total:                     59,850       23,802         9,514               5,695
                                                  39.77%        15.90%               9.52%
          Voting Age                  45,004       18,948         6,622               3,901
                                                  42.10%        14.71%               8.67%
District 100
 County: Forsyth GA
           Total:                     15,828        8,494           843                 797
                                                  53.66%         5.33%               5.04%
          Voting Age                  10,737        6,182           532                 503
                                                  57.58%         4.95%               4.68%
 County: Gwinnett GA
         Total:                       35,204       20,214         4,889              4,511
                                                  57.42%        13.89%             12.81%
          Voting Age                  25,378       15,152         3,318              2,971
                                                  59.71%        13.07%             11.71%
 County: Hall GA
         Total:                        7,819        5,459           623              1,148
                                                  69.82%         7.97%             14.68%
          Voting Age                   5,923        4,346           387                736
                                                  73.37%         6.53%             12.43%
District 100 Total
           Total:                     58,851       34,167         6,355              6,456
                                                  58.06%        10.80%             10.97%
          Voting Age                  42,038       25,680         4,237              4,210
                                                  61.09%        10.08%             10.01%
District 101
 County: Gwinnett GA
           Total:                     59,938       22,390        15,380             12,091
                                                  37.36%        25.66%             20.17%
          Voting Age                  46,584       18,698        11,269              8,499
                                                  40.14%        24.19%             18.24%
District 101 Total
           Total:                     59,938       22,390        15,380             12,091
                                                  37.36%        25.66%             20.17%
          Voting Age                  46,584       18,698        11,269              8,499
                                                  40.14%        24.19%             18.24%
District 102




                                                                             Page 32 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 75 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 102
 County: Gwinnett GA
           Total:                     58,959       15,798        23,702             13,823
                                                  26.79%        40.20%             23.45%
          Voting Age                  42,968       13,169        16,164              9,170
                                                  30.65%        37.62%             21.34%
District 102 Total
           Total:                     58,959       15,798        23,702             13,823
                                                  26.79%        40.20%             23.45%
          Voting Age                  42,968       13,169        16,164              9,170
                                                  30.65%        37.62%             21.34%
District 103
 County: Gwinnett GA
           Total:                     51,691       23,238        10,201             10,560
                                                  44.96%        19.73%             20.43%
          Voting Age                  38,022       18,233         7,144              6,903
                                                  47.95%        18.79%             18.16%
 County: Hall GA
         Total:                        8,506        6,566           427                915
                                                  77.19%         5.02%             10.76%
          Voting Age                   6,377        5,040           310                596
                                                  79.03%         4.86%              9.35%
District 103 Total
           Total:                     60,197       29,804        10,628             11,475
                                                  49.51%        17.66%             19.06%
          Voting Age                  44,399       23,273         7,454              7,499
                                                  52.42%        16.79%             16.89%
District 104
 County: Barrow GA
           Total:                     24,245       15,916         3,059              3,572
                                                  65.65%        12.62%             14.73%
          Voting Age                  17,849       12,257         2,036              2,284
                                                  68.67%        11.41%             12.80%
 County: Gwinnett GA
         Total:                       35,117       19,961         7,684              3,929
                                                  56.84%        21.88%             11.19%
          Voting Age                  25,457       15,008         5,337              2,542
                                                  58.95%        20.96%              9.99%
District 104 Total
           Total:                     59,362       35,877        10,743              7,501
                                                  60.44%        18.10%             12.64%
          Voting Age                  43,306       27,265         7,373              4,826
                                                  62.96%        17.03%             11.14%
District 105




                                                                             Page 33 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 76 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 105
 County: Gwinnett GA
           Total:                     59,344       23,076        18,444             10,743
                                                  38.89%        31.08%             18.10%
          Voting Age                  43,474       18,145        12,628              7,286
                                                  41.74%        29.05%             16.76%
District 105 Total
           Total:                     59,344       23,076        18,444             10,743
                                                  38.89%        31.08%             18.10%
          Voting Age                  43,474       18,145        12,628              7,286
                                                  41.74%        29.05%             16.76%
District 106
 County: Gwinnett GA
           Total:                     59,112       21,673        23,221              7,483
                                                  36.66%        39.28%             12.66%
          Voting Age                  43,890       18,090        15,918              4,890
                                                  41.22%        36.27%             11.14%
District 106 Total
           Total:                     59,112       21,673        23,221              7,483
                                                  36.66%        39.28%             12.66%
          Voting Age                  43,890       18,090        15,918              4,890
                                                  41.22%        36.27%             11.14%
District 107
 County: Gwinnett GA
           Total:                     59,702       11,360        18,372             20,594
                                                  19.03%        30.77%             34.49%
          Voting Age                  44,509        9,775        13,186             13,838
                                                  21.96%        29.63%             31.09%
District 107 Total
           Total:                     59,702       11,360        18,372             20,594
                                                  19.03%        30.77%             34.49%
          Voting Age                  44,509        9,775        13,186             13,838
                                                  21.96%        29.63%             31.09%
District 108
 County: Gwinnett GA
           Total:                     59,577       23,214        11,946             12,498
                                                  38.96%        20.05%             20.98%
          Voting Age                  44,308       19,214         8,132              8,047
                                                  43.36%        18.35%             18.16%
District 108 Total
           Total:                     59,577       23,214        11,946             12,498
                                                  38.96%        20.05%             20.98%
          Voting Age                  44,308       19,214         8,132              8,047
                                                  43.36%        18.35%             18.16%
District 109




                                                                             Page 34 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 77 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 109
 County: Gwinnett GA
           Total:                     59,630        8,049        19,592             23,446
                                                  13.50%        32.86%             39.32%
          Voting Age                  44,140        6,816        14,352             15,943
                                                  15.44%        32.51%             36.12%
District 109 Total
           Total:                     59,630        8,049        19,592             23,446
                                                  13.50%        32.86%             39.32%
          Voting Age                  44,140        6,816        14,352             15,943
                                                  15.44%        32.51%             36.12%
District 110
 County: Gwinnett GA
           Total:                     59,951       19,606        30,042              7,119
                                                  32.70%        50.11%             11.87%
          Voting Age                  43,226       15,812        20,400              4,535
                                                  36.58%        47.19%             10.49%
District 110 Total
           Total:                     59,951       19,606        30,042              7,119
                                                  32.70%        50.11%             11.87%
          Voting Age                  43,226       15,812        20,400              4,535
                                                  36.58%        47.19%             10.49%
District 111
 County: Gwinnett GA
           Total:                     22,685       10,290         7,931              3,371
                                                  45.36%        34.96%             14.86%
          Voting Age                  16,118        7,842         5,330              2,144
                                                  48.65%        33.07%             13.30%
 County: Walton GA
         Total:                       37,324       26,036         6,641               2,853
                                                  69.76%        17.79%               7.64%
          Voting Age                  27,978       20,379         4,498               1,755
                                                  72.84%        16.08%               6.27%
District 111 Total
           Total:                     60,009       36,326        14,572              6,224
                                                  60.53%        24.28%             10.37%
          Voting Age                  44,096       28,221         9,828              3,899
                                                  64.00%        22.29%              8.84%
District 112
 County: Walton GA
           Total:                     59,349       42,463        12,163               2,375
                                                  71.55%        20.49%               4.00%
          Voting Age                  45,120       33,268         8,667               1,481
                                                  73.73%        19.21%               3.28%




                                                                             Page 35 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 78 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 112
District 112 Total
           Total:                     59,349       42,463        12,163               2,375
                                                  71.55%        20.49%               4.00%
          Voting Age                  45,120       33,268         8,667               1,481
                                                  73.73%        19.21%               3.28%
District 113
 County: Newton GA
           Total:                     60,053       17,306        37,002               4,671
                                                  28.82%        61.62%               7.78%
          Voting Age                  44,538       14,162        26,515               2,962
                                                  31.80%        59.53%               6.65%
District 113 Total
           Total:                     60,053       17,306        37,002               4,671
                                                  28.82%        61.62%               7.78%
          Voting Age                  44,538       14,162        26,515               2,962
                                                  31.80%        59.53%               6.65%
District 114
 County: Jasper GA
           Total:                      2,855        2,132           394                 231
                                                  74.68%        13.80%               8.09%
          Voting Age                   2,168        1,646           302                 143
                                                  75.92%        13.93%               6.60%
 County: Morgan GA
         Total:                       20,097       14,487         4,339                 712
                                                  72.09%        21.59%               3.54%
          Voting Age                  15,574       11,452         3,280                 434
                                                  73.53%        21.06%               2.79%
 County: Newton GA
         Total:                       36,915       23,430        10,705               1,767
                                                  63.47%        29.00%               4.79%
          Voting Age                  28,130       18,482         7,765               1,135
                                                  65.70%        27.60%               4.03%
District 114 Total
           Total:                     59,867       40,049        15,438               2,710
                                                  66.90%        25.79%               4.53%
          Voting Age                  45,872       31,580        11,347               1,712
                                                  68.84%        24.74%               3.73%
District 115
 County: Henry GA
           Total:                     59,473       18,899        33,970               4,512
                                                  31.78%        57.12%               7.59%
          Voting Age                  43,983       15,445        23,843               3,007
                                                  35.12%        54.21%               6.84%




                                                                             Page 36 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 79 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 115
District 115 Total
           Total:                     59,473       18,899        33,970               4,512
                                                  31.78%        57.12%               7.59%
          Voting Age                  43,983       15,445        23,843               3,007
                                                  35.12%        54.21%               6.84%
District 116
 County: Clayton GA
           Total:                      2,649          773         1,448                403
                                                  29.18%        54.66%             15.21%
          Voting Age                   2,248          749         1,186                286
                                                  33.32%        52.76%             12.72%
 County: Henry GA
         Total:                       56,447       15,293        32,132               5,252
                                                  27.09%        56.92%               9.30%
          Voting Age                  42,831       13,040        23,310               3,515
                                                  30.45%        54.42%               8.21%
District 116 Total
           Total:                     59,096       16,066        33,580               5,655
                                                  27.19%        56.82%               9.57%
          Voting Age                  45,079       13,789        24,496               3,801
                                                  30.59%        54.34%               8.43%
District 117
 County: Henry GA
           Total:                     23,709        6,603        14,540               1,886
                                                  27.85%        61.33%               7.95%
          Voting Age                  17,219        5,234        10,144               1,276
                                                  30.40%        58.91%               7.41%
 County: Spalding GA
         Total:                       34,983       12,638        19,417               2,020
                                                  36.13%        55.50%               5.77%
          Voting Age                  26,688       10,771        13,848               1,308
                                                  40.36%        51.89%               4.90%
District 117 Total
           Total:                     58,692       19,241        33,957               3,906
                                                  32.78%        57.86%               6.66%
          Voting Age                  43,907       16,005        23,992               2,584
                                                  36.45%        54.64%               5.89%
District 118
 County: Butts GA
           Total:                     25,434       16,628         7,212                 803
                                                  65.38%        28.36%               3.16%
          Voting Age                  20,360       13,510         5,660                 559
                                                  66.36%        27.80%               2.75%




                                                                             Page 37 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 80 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 118
 County: Henry GA
           Total:                     34,819       23,570         7,988               1,960
                                                  67.69%        22.94%               5.63%
          Voting Age                  25,163       17,582         5,510               1,170
                                                  69.87%        21.90%               4.65%
District 118 Total
           Total:                     60,253       40,198        15,200               2,763
                                                  66.72%        25.23%               4.59%
          Voting Age                  45,523       31,092        11,170               1,729
                                                  68.30%        24.54%               3.80%
District 119
 County: Barrow GA
           Total:                     59,260       39,666         8,848              6,988
                                                  66.94%        14.93%             11.79%
          Voting Age                  44,346       30,984         6,186              4,442
                                                  69.87%        13.95%             10.02%
District 119 Total
           Total:                     59,260       39,666         8,848              6,988
                                                  66.94%        14.93%             11.79%
          Voting Age                  44,346       30,984         6,186              4,442
                                                  69.87%        13.95%             10.02%
District 120
 County: Clarke GA
           Total:                     39,069       21,927         9,280              4,992
                                                  56.12%        23.75%             12.78%
          Voting Age                  31,995       18,924         7,113              3,472
                                                  59.15%        22.23%             10.85%
 County: Jackson GA
         Total:                       20,485       16,511         1,581               1,556
                                                  80.60%         7.72%               7.60%
          Voting Age                  15,782       13,046         1,142                 944
                                                  82.66%         7.24%               5.98%
District 120 Total
           Total:                     59,554       38,438        10,861              6,548
                                                  64.54%        18.24%             11.00%
          Voting Age                  47,777       31,970         8,255              4,416
                                                  66.92%        17.28%              9.24%
District 121
 County: Clarke GA
           Total:                     17,789       10,444         4,125               1,724
                                                  58.71%        23.19%               9.69%
          Voting Age                  14,946        9,396         2,986               1,294
                                                  62.87%        19.98%               8.66%




                                                                             Page 38 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 81 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 121
 County: Oconee GA
           Total:                     41,799       33,886         2,280               2,347
                                                  81.07%         5.45%               5.61%
          Voting Age                  30,221       24,942         1,660               1,405
                                                  82.53%         5.49%               4.65%
District 121 Total
           Total:                     59,588       44,330         6,405               4,071
                                                  74.39%        10.75%               6.83%
          Voting Age                  45,167       34,338         4,646               2,699
                                                  76.02%        10.29%               5.98%
District 122
 County: Clarke GA
           Total:                     59,628       33,390        16,328              6,312
                                                  56.00%        27.38%             10.59%
          Voting Age                  50,232       30,717        11,764              4,591
                                                  61.15%        23.42%              9.14%
District 122 Total
           Total:                     59,628       33,390        16,328              6,312
                                                  56.00%        27.38%             10.59%
          Voting Age                  50,232       30,717        11,764              4,591
                                                  61.15%        23.42%              9.14%
District 123
 County: Columbia GA
           Total:                      2,205        1,550           478                  78
                                                  70.29%        21.68%               3.54%
          Voting Age                   1,801        1,279           398                  53
                                                  71.02%        22.10%               2.94%
 County: Elbert GA
         Total:                       19,637       12,610         5,520                 996
                                                  64.22%        28.11%               5.07%
          Voting Age                  15,493       10,322         4,122                 660
                                                  66.62%        26.61%               4.26%
 County: Lincoln GA
         Total:                        7,690        5,196         2,212                  92
                                                  67.57%        28.76%               1.20%
          Voting Age                   6,270        4,316         1,728                  54
                                                  68.84%        27.56%               0.86%
 County: Madison GA
         Total:                       20,185       14,747         2,813               1,593
                                                  73.06%        13.94%               7.89%
          Voting Age                  15,357       11,624         1,988                 997
                                                  75.69%        12.95%               6.49%
 County: Oglethorpe GA
         Total:                        6,839        5,090         1,172                 271
                                                  74.43%        17.14%               3.96%
          Voting Age                   5,354        4,047           909                 166
                                                  75.59%        16.98%               3.10%



                                                                             Page 39 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 82 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 123
 County: Wilkes GA
           Total:                      3,156        2,129           851                  95
                                                  67.46%        26.96%               3.01%
          Voting Age                   2,561        1,771           677                  48
                                                  69.15%        26.43%               1.87%
District 123 Total
           Total:                     59,712       41,322        13,046               3,125
                                                  69.20%        21.85%               5.23%
          Voting Age                  46,836       33,359         9,822               1,978
                                                  71.23%        20.97%               4.22%
District 124
 County: Clarke GA
           Total:                     12,185        6,440         3,939              1,308
                                                  52.85%        32.33%             10.73%
          Voting Age                   9,657        5,494         2,913                856
                                                  56.89%        30.16%              8.86%
 County: Greene GA
         Total:                       18,915       11,126         6,027               1,289
                                                  58.82%        31.86%               6.81%
          Voting Age                  15,358        9,675         4,470                 826
                                                  63.00%        29.11%               5.38%
 County: Oglethorpe GA
         Total:                        7,986        5,813         1,296                 598
                                                  72.79%        16.23%               7.49%
          Voting Age                   6,285        4,752           944                 365
                                                  75.61%        15.02%               5.81%
 County: Putnam GA
         Total:                       19,736       13,068         4,986               1,258
                                                  66.21%        25.26%               6.37%
          Voting Age                  16,038       11,206         3,656                 837
                                                  69.87%        22.80%               5.22%
District 124 Total
           Total:                     58,822       36,447        16,248               4,453
                                                  61.96%        27.62%               7.57%
          Voting Age                  47,338       31,127        11,983               2,884
                                                  65.75%        25.31%               6.09%
District 125
 County: Columbia GA
           Total:                     38,290       22,398        10,352               3,689
                                                  58.50%        27.04%               9.63%
          Voting Age                  27,715       17,109         6,946               2,295
                                                  61.73%        25.06%               8.28%
 County: McDuffie GA
         Total:                       21,632       11,417         9,045                 790
                                                  52.78%        41.81%               3.65%
          Voting Age                  16,615        9,359         6,425                 536
                                                  56.33%        38.67%               3.23%



                                                                             Page 40 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 83 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 125
District 125 Total
           Total:                     59,922       33,815        19,397               4,479
                                                  56.43%        32.37%               7.47%
          Voting Age                  44,330       26,468        13,371               2,831
                                                  59.71%        30.16%               6.39%
District 126
 County: Burke GA
           Total:                     22,561       11,141        10,306                 681
                                                  49.38%        45.68%               3.02%
          Voting Age                  17,177        8,937         7,466                 436
                                                  52.03%        43.47%               2.54%
 County: Glascock GA
         Total:                        2,884        2,573           226                  52
                                                  89.22%         7.84%               1.80%
          Voting Age                   2,236        2,003           167                  31
                                                  89.58%         7.47%               1.39%
 County: Jefferson GA
         Total:                        7,087        3,821         2,930                 223
                                                  53.92%        41.34%               3.15%
          Voting Age                   5,499        3,052         2,229                 127
                                                  55.50%        40.53%               2.31%
 County: Richmond GA
         Total:                       24,132        4,322        18,112               1,103
                                                  17.91%        75.05%               4.57%
          Voting Age                  18,266        3,552        13,361                 796
                                                  19.45%        73.15%               4.36%
 County: Screven GA
         Total:                        3,313        1,374         1,803                  55
                                                  41.47%        54.42%               1.66%
          Voting Age                   2,461        1,052         1,327                  39
                                                  42.75%        53.92%               1.58%
District 126 Total
           Total:                     59,977       23,231        33,377               2,114
                                                  38.73%        55.65%               3.52%
          Voting Age                  45,639       18,596        24,550               1,429
                                                  40.75%        53.79%               3.13%
District 127
 County: Columbia GA
           Total:                     56,419       37,866         9,307               3,618
                                                  67.12%        16.50%               6.41%
          Voting Age                  43,406       30,305         6,530               2,300
                                                  69.82%        15.04%               5.30%
 County: Richmond GA
         Total:                        3,875        2,431         1,011                 183
                                                  62.74%        26.09%               4.72%
          Voting Age                   3,329        2,155           805                 150
                                                  64.73%        24.18%               4.51%



                                                                             Page 41 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 84 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 127
District 127 Total
           Total:                     60,294       40,297        10,318               3,801
                                                  66.83%        17.11%               6.30%
          Voting Age                  46,735       32,460         7,335               2,450
                                                  69.46%        15.69%               5.24%
District 128
 County: Burke GA
           Total:                      2,035          800         1,124                  96
                                                  39.31%        55.23%               4.72%
          Voting Age                   1,601          629           896                  58
                                                  39.29%        55.97%               3.62%
 County: Jefferson GA
         Total:                        8,622        3,013         5,278                 239
                                                  34.95%        61.22%               2.77%
          Voting Age                   6,802        2,484         4,095                 153
                                                  36.52%        60.20%               2.25%
 County: Johnson GA
         Total:                        7,274        4,080         3,005                  81
                                                  56.09%        41.31%               1.11%
          Voting Age                   5,984        3,424         2,431                  63
                                                  57.22%        40.63%               1.05%
 County: Laurens GA
         Total:                       22,064        8,659        12,375                 711
                                                  39.24%        56.09%               3.22%
          Voting Age                  16,358        6,982         8,650                 460
                                                  42.68%        52.88%               2.81%
 County: Washington GA
         Total:                       19,988        8,412        10,969                 334
                                                  42.09%        54.88%               1.67%
          Voting Age                  15,709        6,944         8,333                 235
                                                  44.20%        53.05%               1.50%
District 128 Total
           Total:                     59,983       24,964        32,751               1,461
                                                  41.62%        54.60%               2.44%
          Voting Age                  46,454       20,463        24,405                 969
                                                  44.05%        52.54%               2.09%
District 129
 County: Richmond GA
           Total:                     59,891       22,663        32,634               2,512
                                                  37.84%        54.49%               4.19%
          Voting Age                  47,950       19,698        24,526               1,848
                                                  41.08%        51.15%               3.85%
District 129 Total
           Total:                     59,891       22,663        32,634               2,512
                                                  37.84%        54.49%               4.19%
          Voting Age                  47,950       19,698        24,526               1,848
                                                  41.08%        51.15%               3.85%



                                                                             Page 42 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 85 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 130
 County: Richmond GA
           Total:                     60,057       20,980        35,214               2,492
                                                  34.93%        58.63%               4.15%
          Voting Age                  45,227       17,409        24,946               1,638
                                                  38.49%        55.16%               3.62%
District 130 Total
           Total:                     60,057       20,980        35,214               2,492
                                                  34.93%        58.63%               4.15%
          Voting Age                  45,227       17,409        24,946               1,638
                                                  38.49%        55.16%               3.62%
District 131
 County: Columbia GA
           Total:                     59,096       37,297        12,379               4,473
                                                  63.11%        20.95%               7.57%
          Voting Age                  41,901       27,377         8,399               2,707
                                                  65.34%        20.04%               6.46%
District 131 Total
           Total:                     59,096       37,297        12,379               4,473
                                                  63.11%        20.95%               7.57%
          Voting Age                  41,901       27,377         8,399               2,707
                                                  65.34%        20.04%               6.46%
District 132
 County: Richmond GA
           Total:                     58,652       18,001        32,999               5,159
                                                  30.69%        56.26%               8.80%
          Voting Age                  46,127       15,589        24,292               4,013
                                                  33.80%        52.66%               8.70%
District 132 Total
           Total:                     58,652       18,001        32,999               5,159
                                                  30.69%        56.26%               8.80%
          Voting Age                  46,127       15,589        24,292               4,013
                                                  33.80%        52.66%               8.70%
District 133
 County: Baldwin GA
           Total:                     27,925       11,481        15,111                 645
                                                  41.11%        54.11%               2.31%
          Voting Age                  22,446        9,884        11,550                 465
                                                  44.03%        51.46%               2.07%
 County: Hancock GA
         Total:                        8,735        2,413         6,131                  63
                                                  27.62%        70.19%               0.72%
          Voting Age                   7,487        2,220         5,108                  47
                                                  29.65%        68.22%               0.63%




                                                                             Page 43 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 86 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 133
 County: Taliaferro GA
           Total:                      1,559          591           876                  69
                                                  37.91%        56.19%               4.43%
          Voting Age                   1,289          506           722                  46
                                                  39.26%        56.01%               3.57%
 County: Warren GA
         Total:                        5,215        1,974         3,128                  53
                                                  37.85%        59.98%               1.02%
          Voting Age                   4,159        1,716         2,360                  46
                                                  41.26%        56.74%               1.11%
 County: Wilkes GA
         Total:                        6,409        2,823         3,138                 304
                                                  44.05%        48.96%               4.74%
          Voting Age                   5,090        2,383         2,394                 195
                                                  46.82%        47.03%               3.83%
 County: Wilkinson GA
         Total:                        8,877        5,110         3,330                 239
                                                  57.56%        37.51%               2.69%
          Voting Age                   7,026        4,165         2,549                 152
                                                  59.28%        36.28%               2.16%
District 133 Total
           Total:                     58,720       24,392        31,714               1,373
                                                  41.54%        54.01%               2.34%
          Voting Age                  47,497       20,874        24,683                 951
                                                  43.95%        51.97%               2.00%
District 134
 County: Pike GA
           Total:                     18,889       16,313         1,613                 348
                                                  86.36%         8.54%               1.84%
          Voting Age                  14,337       12,422         1,254                 207
                                                  86.64%         8.75%               1.44%
 County: Spalding GA
         Total:                       25,390       19,427         4,068               1,033
                                                  76.51%        16.02%               4.07%
          Voting Age                  19,983       15,751         2,928                 652
                                                  78.82%        14.65%               3.26%
 County: Upson GA
         Total:                       14,343       10,952         2,612                 288
                                                  76.36%        18.21%               2.01%
          Voting Age                  11,301        8,842         1,912                 183
                                                  78.24%        16.92%               1.62%
District 134 Total
           Total:                     58,622       46,692         8,293               1,669
                                                  79.65%        14.15%               2.85%
          Voting Age                  45,621       37,015         6,094               1,042
                                                  81.14%        13.36%               2.28%
District 135



                                                                             Page 44 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 87 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 135
 County: Jasper GA
           Total:                     11,733        8,639         2,282                 453
                                                  73.63%        19.45%               3.86%
          Voting Age                   8,950        6,754         1,664                 259
                                                  75.46%        18.59%               2.89%
 County: Lamar GA
         Total:                       18,500       12,344         5,220                 475
                                                  66.72%        28.22%               2.57%
          Voting Age                  14,541        9,852         4,017                 323
                                                  67.75%        27.63%               2.22%
 County: Monroe GA
         Total:                       27,023       19,333         6,188                 696
                                                  71.54%        22.90%               2.58%
          Voting Age                  21,163       15,272         4,853                 457
                                                  72.16%        22.93%               2.16%
 County: Putnam GA
         Total:                        2,311        1,248           715                299
                                                  54.00%        30.94%             12.94%
          Voting Age                   1,809        1,003           573                194
                                                  55.44%        31.67%             10.72%
District 135 Total
           Total:                     59,567       41,564        14,405               1,923
                                                  69.78%        24.18%               3.23%
          Voting Age                  46,463       32,881        11,107               1,233
                                                  70.77%        23.91%               2.65%
District 136
 County: Coweta GA
           Total:                     28,003       22,475         3,113               1,302
                                                  80.26%        11.12%               4.65%
          Voting Age                  21,121       17,224         2,283                 841
                                                  81.55%        10.81%               3.98%
 County: Meriwether GA
         Total:                       13,382        7,859         4,842                 351
                                                  58.73%        36.18%               2.62%
          Voting Age                  10,832        6,517         3,828                 225
                                                  60.16%        35.34%               2.08%
 County: Troup GA
         Total:                       18,410        6,847         9,712                 976
                                                  37.19%        52.75%               5.30%
          Voting Age                  13,818        5,506         7,016                 597
                                                  39.85%        50.77%               4.32%
District 136 Total
           Total:                     59,795       37,181        17,667               2,629
                                                  62.18%        29.55%               4.40%
          Voting Age                  45,771       29,247        13,127               1,663
                                                  63.90%        28.68%               3.63%
District 137



                                                                             Page 45 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 88 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 137
 County: Meriwether GA
           Total:                      7,231        4,225         2,705                 124
                                                  58.43%        37.41%               1.71%
          Voting Age                   5,694        3,477         2,017                  74
                                                  61.06%        35.42%               1.30%
 County: Muscogee GA
         Total:                       30,443        8,127        19,637               2,052
                                                  26.70%        64.50%               6.74%
          Voting Age                  22,797        6,590        14,291               1,418
                                                  28.91%        62.69%               6.22%
 County: Talbot GA
         Total:                        5,733        2,427         3,145                 112
                                                  42.33%        54.86%               1.95%
          Voting Age                   4,783        2,129         2,537                  56
                                                  44.51%        53.04%               1.17%
 County: Troup GA
         Total:                       15,647        7,590         6,628                 769
                                                  48.51%        42.36%               4.91%
          Voting Age                  11,680        6,064         4,680                 474
                                                  51.92%        40.07%               4.06%
District 137 Total
           Total:                     59,054       22,369        32,115               3,057
                                                  37.88%        54.38%               5.18%
          Voting Age                  44,954       18,260        23,525               2,022
                                                  40.62%        52.33%               4.50%
District 138
 County: Harris GA
           Total:                     21,634       16,205         3,615                 825
                                                  74.91%        16.71%               3.81%
          Voting Age                  16,816       12,820         2,768                 507
                                                  76.24%        16.46%               3.01%
 County: Muscogee GA
         Total:                       12,190        8,766         1,636                 741
                                                  71.91%        13.42%               6.08%
          Voting Age                   9,628        7,117         1,178                 491
                                                  73.92%        12.24%               5.10%
 County: Troup GA
         Total:                       25,088       16,437         6,821                 852
                                                  65.52%        27.19%               3.40%
          Voting Age                  19,240       13,113         4,878                 516
                                                  68.15%        25.35%               2.68%
District 138 Total
           Total:                     58,912       41,408        12,072               2,418
                                                  70.29%        20.49%               4.10%
          Voting Age                  45,684       33,050         8,824               1,514
                                                  72.34%        19.32%               3.31%
District 139



                                                                             Page 46 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 89 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 139
 County: Harris GA
           Total:                     13,034        9,720         2,127                 592
                                                  74.57%        16.32%               4.54%
          Voting Age                   9,983        7,478         1,663                 401
                                                  74.91%        16.66%               4.02%
 County: Muscogee GA
         Total:                       45,976       27,778        10,719               3,681
                                                  60.42%        23.31%               8.01%
          Voting Age                  35,539       22,654         7,564               2,495
                                                  63.74%        21.28%               7.02%
District 139 Total
           Total:                     59,010       37,498        12,846               4,273
                                                  63.55%        21.77%               7.24%
          Voting Age                  45,522       30,132         9,227               2,896
                                                  66.19%        20.27%               6.36%
District 140
 County: Muscogee GA
           Total:                     59,294       17,055        35,460               5,358
                                                  28.76%        59.80%               9.04%
          Voting Age                  44,411       14,080        25,596               3,563
                                                  31.70%        57.63%               8.02%
District 140 Total
           Total:                     59,294       17,055        35,460               5,358
                                                  28.76%        59.80%               9.04%
          Voting Age                  44,411       14,080        25,596               3,563
                                                  31.70%        57.63%               8.02%
District 141
 County: Muscogee GA
           Total:                     59,019       17,357        34,760               4,681
                                                  29.41%        58.90%               7.93%
          Voting Age                  44,677       14,194        25,672               2,927
                                                  31.77%        57.46%               6.55%
District 141 Total
           Total:                     59,019       17,357        34,760               4,681
                                                  29.41%        58.90%               7.93%
          Voting Age                  44,677       14,194        25,672               2,927
                                                  31.77%        57.46%               6.55%
District 142
 County: Bibb GA
           Total:                     31,424        9,610        19,321               1,817
                                                  30.58%        61.48%               5.78%
          Voting Age                  23,149        8,098        13,371               1,113
                                                  34.98%        57.76%               4.81%




                                                                             Page 47 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 90 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 142
 County: Houston GA
           Total:                     27,213       10,211        13,619               2,523
                                                  37.52%        50.05%               9.27%
          Voting Age                  20,072        8,447         9,324               1,544
                                                  42.08%        46.45%               7.69%
District 142 Total
           Total:                     58,637       19,821        32,940               4,340
                                                  33.80%        56.18%               7.40%
          Voting Age                  43,221       16,545        22,695               2,657
                                                  38.28%        52.51%               6.15%
District 143
 County: Bibb GA
           Total:                     50,749       14,715        32,913               2,009
                                                  29.00%        64.85%               3.96%
          Voting Age                  39,734       12,835        24,349               1,616
                                                  32.30%        61.28%               4.07%
 County: Twiggs GA
         Total:                        8,022        4,487         3,226                 124
                                                  55.93%        40.21%               1.55%
          Voting Age                   6,589        3,733         2,627                  79
                                                  56.66%        39.87%               1.20%
District 143 Total
           Total:                     58,771       19,202        36,139               2,133
                                                  32.67%        61.49%               3.63%
          Voting Age                  46,323       16,568        26,976               1,695
                                                  35.77%        58.23%               3.66%
District 144
 County: Baldwin GA
           Total:                     15,874       10,951         3,874                 494
                                                  68.99%        24.40%               3.11%
          Voting Age                  13,286        9,493         2,965                 370
                                                  71.45%        22.32%               2.78%
 County: Bibb GA
         Total:                       15,893        9,189         4,807                 605
                                                  57.82%        30.25%               3.81%
          Voting Age                  12,451        7,523         3,513                 428
                                                  60.42%        28.21%               3.44%
 County: Jones GA
         Total:                       28,347       20,074         7,114                 476
                                                  70.82%        25.10%               1.68%
          Voting Age                  21,575       15,428         5,341                 302
                                                  71.51%        24.76%               1.40%
District 144 Total
           Total:                     60,114       40,214        15,795               1,575
                                                  66.90%        26.28%               2.62%
          Voting Age                  47,312       32,444        11,819               1,100
                                                  68.57%        24.98%               2.32%



                                                                             Page 48 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 91 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 145
 County: Bibb GA
           Total:                     59,280       23,273        31,824               2,306
                                                  39.26%        53.68%               3.89%
          Voting Age                  45,568       19,523        23,037               1,577
                                                  42.84%        50.56%               3.46%
 County: Monroe GA
         Total:                         934           621           256                  18
                                                  66.49%        27.41%               1.93%
          Voting Age                    750           499           215                   7
                                                  66.53%        28.67%               0.93%
District 145 Total
           Total:                     60,214       23,894        32,080               2,324
                                                  39.68%        53.28%               3.86%
          Voting Age                  46,318       20,022        23,252               1,584
                                                  43.23%        50.20%               3.42%
District 146
 County: Houston GA
           Total:                     58,683       36,577        16,035               3,044
                                                  62.33%        27.32%               5.19%
          Voting Age                  43,280       27,704        11,405               1,851
                                                  64.01%        26.35%               4.28%
District 146 Total
           Total:                     58,683       36,577        16,035               3,044
                                                  62.33%        27.32%               5.19%
          Voting Age                  43,280       27,704        11,405               1,851
                                                  64.01%        26.35%               4.28%
District 147
 County: Crawford GA
           Total:                     12,130        8,866         2,455                 415
                                                  73.09%        20.24%               3.42%
          Voting Age                   9,606        7,079         1,938                 287
                                                  73.69%        20.17%               2.99%
 County: Houston GA
         Total:                       19,098       10,154         5,668               1,208
                                                  53.17%        29.68%               6.33%
          Voting Age                  13,680        7,491         3,974                 783
                                                  54.76%        29.05%               5.72%
 County: Peach GA
         Total:                       14,093        9,360         3,312                 856
                                                  66.42%        23.50%               6.07%
          Voting Age                  11,209        7,721         2,478                 563
                                                  68.88%        22.11%               5.02%
 County: Upson GA
         Total:                       13,357        7,057         5,712                 345
                                                  52.83%        42.76%               2.58%
          Voting Age                  10,410        5,706         4,290                 228
                                                  54.81%        41.21%               2.19%



                                                                             Page 49 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 92 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 147
District 147 Total
           Total:                     58,678       35,437        17,147               2,824
                                                  60.39%        29.22%               4.81%
          Voting Age                  44,905       27,997        12,680               1,861
                                                  62.35%        28.24%               4.14%
District 148
 County: Ben Hill GA
           Total:                     17,194        9,219         6,537               1,054
                                                  53.62%        38.02%               6.13%
          Voting Age                  13,165        7,459         4,745                 653
                                                  56.66%        36.04%               4.96%
 County: Crisp GA
         Total:                       20,128        9,892         9,194                 634
                                                  49.15%        45.68%               3.15%
          Voting Age                  15,570        8,248         6,603                 414
                                                  52.97%        42.41%               2.66%
 County: Pulaski GA
         Total:                        9,855        6,022         3,250                 327
                                                  61.11%        32.98%               3.32%
          Voting Age                   8,012        5,027         2,564                 224
                                                  62.74%        32.00%               2.80%
 County: Telfair GA
         Total:                        2,991        1,955           921                  78
                                                  65.36%        30.79%               2.61%
          Voting Age                   2,306        1,536           692                  41
                                                  66.61%        30.01%               1.78%
 County: Wilcox GA
         Total:                        8,766        5,185         3,161                 272
                                                  59.15%        36.06%               3.10%
          Voting Age                   7,218        4,215         2,693                 209
                                                  58.40%        37.31%               2.90%
District 148 Total
           Total:                     58,934       32,273        23,063               2,365
                                                  54.76%        39.13%               4.01%
          Voting Age                  46,271       26,485        17,297               1,541
                                                  57.24%        37.38%               3.33%
District 149
 County: Houston GA
           Total:                     58,639       29,269        21,198               5,032
                                                  49.91%        36.15%               8.58%
          Voting Age                  45,086       24,376        14,902               3,352
                                                  54.07%        33.05%               7.43%
District 149 Total
           Total:                     58,639       29,269        21,198               5,032
                                                  49.91%        36.15%               8.58%
          Voting Age                  45,086       24,376        14,902               3,352
                                                  54.07%        33.05%               7.43%



                                                                             Page 50 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 93 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 150
 County: Dooly GA
           Total:                     11,208        4,611         5,652                 797
                                                  41.14%        50.43%               7.11%
          Voting Age                   9,187        4,029         4,526                 493
                                                  43.86%        49.27%               5.37%
 County: Macon GA
         Total:                       12,082        4,078         7,296                 472
                                                  33.75%        60.39%               3.91%
          Voting Age                   9,938        3,379         6,021                 322
                                                  34.00%        60.59%               3.24%
 County: Peach GA
         Total:                       13,888        2,759         9,333              1,691
                                                  19.87%        67.20%             12.18%
          Voting Age                  10,902        2,350         7,242              1,225
                                                  21.56%        66.43%             11.24%
 County: Sumter GA
         Total:                       14,282        5,400         7,237               1,158
                                                  37.81%        50.67%               8.11%
          Voting Age                  10,903        4,582         5,178                 738
                                                  42.03%        47.49%               6.77%
 County: Taylor GA
         Total:                        7,816        4,584         2,946                 168
                                                  58.65%        37.69%               2.15%
          Voting Age                   6,120        3,686         2,235                 107
                                                  60.23%        36.52%               1.75%
District 150 Total
           Total:                     59,276       21,432        32,464               4,286
                                                  36.16%        54.77%               7.23%
          Voting Age                  47,050       18,026        25,202               2,885
                                                  38.31%        53.56%               6.13%
District 151
 County: Chattahoochee GA
           Total:                      9,565        5,403         1,825              1,610
                                                  56.49%        19.08%             16.83%
          Voting Age                   7,199        4,212         1,287              1,160
                                                  58.51%        17.88%             16.11%
 County: Lee GA
         Total:                       22,297       15,100         5,365                 627
                                                  67.72%        24.06%               2.81%
          Voting Age                  16,547       11,440         3,855                 396
                                                  69.14%        23.30%               2.39%
 County: Marion GA
         Total:                        7,498        4,486         2,223                 560
                                                  59.83%        29.65%               7.47%
          Voting Age                   5,854        3,643         1,687                 337
                                                  62.23%        28.82%               5.76%




                                                                             Page 51 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 94 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 151
 County: Schley GA
           Total:                      4,547        3,357           933                 175
                                                  73.83%        20.52%               3.85%
          Voting Age                   3,328        2,520           644                 103
                                                  75.72%        19.35%               3.09%
 County: Sumter GA
         Total:                       15,334        6,128         8,309                 612
                                                  39.96%        54.19%               3.99%
          Voting Age                  12,133        5,218         6,301                 409
                                                  43.01%        51.93%               3.37%
District 151 Total
           Total:                     59,241       34,474        18,655               3,584
                                                  58.19%        31.49%               6.05%
          Voting Age                  45,061       27,033        13,774               2,405
                                                  59.99%        30.57%               5.34%
District 152
 County: Colquitt GA
           Total:                     19,169        9,484         5,916              3,443
                                                  49.48%        30.86%             17.96%
          Voting Age                  14,106        7,477         4,151              2,222
                                                  53.01%        29.43%             15.75%
 County: Lee GA
         Total:                       10,866        7,658         2,390                 326
                                                  70.48%        22.00%               3.00%
          Voting Age                   8,129        5,916         1,648                 207
                                                  72.78%        20.27%               2.55%
 County: Tift GA
         Total:                        9,257        6,032         1,826              1,045
                                                  65.16%        19.73%             11.29%
          Voting Age                   7,332        4,935         1,379                741
                                                  67.31%        18.81%             10.11%
 County: Worth GA
         Total:                       20,784       14,427         5,517                 381
                                                  69.41%        26.54%               1.83%
          Voting Age                  16,444       11,747         4,108                 244
                                                  71.44%        24.98%               1.48%
District 152 Total
           Total:                     60,076       37,601        15,649               5,195
                                                  62.59%        26.05%               8.65%
          Voting Age                  46,011       30,075        11,286               3,414
                                                  65.36%        24.53%               7.42%
District 153
 County: Dougherty GA
           Total:                     42,191       13,716        26,499               1,027
                                                  32.51%        62.81%               2.43%
          Voting Age                  32,973       11,873        19,558                 731
                                                  36.01%        59.32%               2.22%



                                                                             Page 52 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 95 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 153
 County: Stewart GA
           Total:                      5,314        1,338         2,538              1,217
                                                  25.18%        47.76%             22.90%
          Voting Age                   4,617        1,161         2,048              1,196
                                                  25.15%        44.36%             25.90%
 County: Terrell GA
         Total:                        9,185        3,189         5,707                 177
                                                  34.72%        62.13%               1.93%
          Voting Age                   7,204        2,709         4,274                 121
                                                  37.60%        59.33%               1.68%
 County: Webster GA
         Total:                        2,348        1,136         1,107                  59
                                                  48.38%        47.15%               2.51%
          Voting Age                   1,847          931           844                  36
                                                  50.41%        45.70%               1.95%
District 153 Total
           Total:                     59,038       19,379        35,851               2,480
                                                  32.82%        60.73%               4.20%
          Voting Age                  46,641       16,674        26,724               2,084
                                                  35.75%        57.30%               4.47%
District 154
 County: Baker GA
           Total:                      2,876        1,514         1,178                 143
                                                  52.64%        40.96%               4.97%
          Voting Age                   2,275        1,235           932                  77
                                                  54.29%        40.97%               3.38%
 County: Calhoun GA
         Total:                        5,573        1,766         3,629                 149
                                                  31.69%        65.12%               2.67%
          Voting Age                   4,687        1,567         2,998                  90
                                                  33.43%        63.96%               1.92%
 County: Clay GA
         Total:                        2,848        1,143         1,634                  41
                                                  40.13%        57.37%               1.44%
          Voting Age                   2,246          973         1,231                  19
                                                  43.32%        54.81%               0.85%
 County: Dougherty GA
         Total:                       22,693        3,465        18,549                 511
                                                  15.27%        81.74%               2.25%
          Voting Age                  17,452        3,024        13,961                 309
                                                  17.33%        80.00%               1.77%
 County: Early GA
         Total:                       10,854        4,813         5,688                 186
                                                  44.34%        52.40%               1.71%
          Voting Age                   8,315        3,985         4,075                 113
                                                  47.93%        49.01%               1.36%




                                                                             Page 53 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 96 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 154
 County: Miller GA
           Total:                      6,000        3,949         1,831                 136
                                                  65.82%        30.52%               2.27%
          Voting Age                   4,749        3,239         1,358                  92
                                                  68.20%        28.60%               1.94%
 County: Quitman GA
         Total:                        2,235        1,190           965                  31
                                                  53.24%        43.18%               1.39%
          Voting Age                   1,870        1,037           765                  18
                                                  55.45%        40.91%               0.96%
 County: Randolph GA
         Total:                        6,425        2,250         3,947                 143
                                                  35.02%        61.43%               2.23%
          Voting Age                   4,977        1,922         2,913                  82
                                                  38.62%        58.53%               1.65%
District 154 Total
           Total:                     59,504       20,090        37,421               1,340
                                                  33.76%        62.89%               2.25%
          Voting Age                  46,571       16,982        28,233                 800
                                                  36.46%        60.62%               1.72%
District 155
 County: Bleckley GA
           Total:                     12,583        8,867         2,951                 469
                                                  70.47%        23.45%               3.73%
          Voting Age                   9,613        7,032         2,036                 311
                                                  73.15%        21.18%               3.24%
 County: Dodge GA
         Total:                       19,925       12,865         6,148                 620
                                                  64.57%        30.86%               3.11%
          Voting Age                  15,709       10,360         4,725                 406
                                                  65.95%        30.08%               2.58%
 County: Laurens GA
         Total:                       27,506       19,222         6,757                 713
                                                  69.88%        24.57%               2.59%
          Voting Age                  21,376       15,247         5,045                 463
                                                  71.33%        23.60%               2.17%
District 155 Total
           Total:                     60,014       40,954        15,856               1,802
                                                  68.24%        26.42%               3.00%
          Voting Age                  46,698       32,639        11,806               1,180
                                                  69.89%        25.28%               2.53%
District 156
 County: Montgomery GA
           Total:                      8,610        5,665         2,224                 571
                                                  65.80%        25.83%               6.63%
          Voting Age                   6,792        4,527         1,781                 377
                                                  66.65%        26.22%               5.55%



                                                                             Page 54 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 97 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 156
 County: Telfair GA
           Total:                      9,486        4,015         3,833              1,850
                                                  42.33%        40.41%             19.50%
          Voting Age                   7,884        3,266         3,114              1,716
                                                  41.43%        39.50%             21.77%
 County: Toombs GA
         Total:                       27,030       16,007         7,402              3,044
                                                  59.22%        27.38%             11.26%
          Voting Age                  20,261       12,810         5,036              1,978
                                                  63.22%        24.86%              9.76%
 County: Treutlen GA
         Total:                        6,406        4,065         2,114                 170
                                                  63.46%        33.00%               2.65%
          Voting Age                   4,934        3,272         1,514                  98
                                                  66.32%        30.69%               1.99%
 County: Wheeler GA
         Total:                        7,471        4,157         2,949                 272
                                                  55.64%        39.47%               3.64%
          Voting Age                   6,217        3,418         2,561                 174
                                                  54.98%        41.19%               2.80%
District 156 Total
           Total:                     59,003       33,909        18,522              5,907
                                                  57.47%        31.39%             10.01%
          Voting Age                  46,088       27,293        14,006              4,343
                                                  59.22%        30.39%              9.42%
District 157
 County: Appling GA
           Total:                     18,444       12,674         3,647               1,825
                                                  68.72%        19.77%               9.89%
          Voting Age                  13,958       10,048         2,540               1,118
                                                  71.99%        18.20%               8.01%
 County: Evans GA
         Total:                       10,774        6,038         3,273              1,237
                                                  56.04%        30.38%             11.48%
          Voting Age                   8,127        4,826         2,410                731
                                                  59.38%        29.65%              8.99%
 County: Jeff Davis GA
         Total:                       14,779        9,950         2,493              2,047
                                                  67.33%        16.87%             13.85%
          Voting Age                  10,856        7,643         1,752              1,233
                                                  70.40%        16.14%             11.36%
 County: Tattnall GA
         Total:                       16,361        9,790         4,660              1,666
                                                  59.84%        28.48%             10.18%
          Voting Age                  12,848        7,857         3,739              1,043
                                                  61.15%        29.10%              8.12%




                                                                             Page 55 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 98 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 157
District 157 Total
           Total:                     60,358       38,452        14,073              6,775
                                                  63.71%        23.32%             11.22%
          Voting Age                  45,789       30,374        10,441              4,125
                                                  66.33%        22.80%              9.01%
District 158
 County: Bulloch GA
           Total:                     15,521        8,360         6,076                 664
                                                  53.86%        39.15%               4.28%
          Voting Age                  12,205        6,877         4,542                 459
                                                  56.35%        37.21%               3.76%
 County: Candler GA
         Total:                       10,981        6,567         2,807              1,378
                                                  59.80%        25.56%             12.55%
          Voting Age                   8,241        5,229         2,009                835
                                                  63.45%        24.38%             10.13%
 County: Emanuel GA
         Total:                       22,768       13,815         7,556                 993
                                                  60.68%        33.19%               4.36%
          Voting Age                  17,320       11,013         5,404                 589
                                                  63.59%        31.20%               3.40%
 County: Jenkins GA
         Total:                        8,674        4,611         3,638                 303
                                                  53.16%        41.94%               3.49%
          Voting Age                   7,005        3,874         2,843                 194
                                                  55.30%        40.59%               2.77%
 County: Johnson GA
         Total:                        1,915        1,720           119                  36
                                                  89.82%         6.21%               1.88%
          Voting Age                   1,490        1,366            82                  19
                                                  91.68%         5.50%               1.28%
District 158 Total
           Total:                     59,859       35,073        20,196               3,374
                                                  58.59%        33.74%               5.64%
          Voting Age                  46,261       28,359        14,880               2,096
                                                  61.30%        32.17%               4.53%
District 159
 County: Bulloch GA
           Total:                     16,651        9,451         6,174                 562
                                                  56.76%        37.08%               3.38%
          Voting Age                  12,544        7,542         4,283                 351
                                                  60.12%        34.14%               2.80%
 County: Effingham GA
         Total:                       32,941       25,360         4,709               1,462
                                                  76.99%        14.30%               4.44%
          Voting Age                  24,283       19,151         3,308                 827
                                                  78.87%        13.62%               3.41%



                                                                             Page 56 of 65
    Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 99 of 162

Plan Components with Population Detail                                    Illustrative_House

                                       Total     NH_Wht         AP_Blk           [Hispanic
                                  Population                                       Origin]

District 159
 County: Screven GA
           Total:                     10,754        6,644         3,724                 232
                                                  61.78%        34.63%               2.16%
          Voting Age                   8,432        5,335         2,817                 149
                                                  63.27%        33.41%               1.77%
District 159 Total
           Total:                     60,346       41,455        14,607               2,256
                                                  68.70%        24.21%               3.74%
          Voting Age                  45,259       32,028        10,408               1,327
                                                  70.77%        23.00%               2.93%
District 160
 County: Bryan GA
           Total:                     11,008        8,157         2,045                 341
                                                  74.10%        18.58%               3.10%
          Voting Age                   8,312        6,287         1,464                 210
                                                  75.64%        17.61%               2.53%
 County: Bulloch GA
         Total:                       48,927       31,901        12,125               2,954
                                                  65.20%        24.78%               6.04%
          Voting Age                  39,745       26,622         9,395               2,211
                                                  66.98%        23.64%               5.56%
District 160 Total
           Total:                     59,935       40,058        14,170               3,295
                                                  66.84%        23.64%               5.50%
          Voting Age                  48,057       32,909        10,859               2,421
                                                  68.48%        22.60%               5.04%
District 161
 County: Chatham GA
           Total:                     28,269       11,729        12,024               2,712
                                                  41.49%        42.53%               9.59%
          Voting Age                  21,359        9,606         8,519               1,801
                                                  44.97%        39.88%               8.43%
 County: Effingham GA
         Total:                       31,828       22,844         5,326               2,030
                                                  71.77%        16.73%               6.38%
          Voting Age                  23,012       17,086         3,523               1,227
                                                  74.25%        15.31%               5.33%
District 161 Total
           Total:                     60,097       34,573        17,350               4,742
                                                  57.53%        28.87%               7.89%
          Voting Age                  44,371       26,692        12,042               3,028
                                                  60.16%        27.14%               6.82%
District 162




                                                                             Page 57 of 65
   Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 100 of 162

Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 162
 County: Chatham GA
           Total:                    60,308       22,134        28,142              6,504
                                                 36.70%        46.66%             10.78%
          Voting Age                 46,733       18,984        20,435              4,478
                                                 40.62%        43.73%              9.58%
District 162 Total
           Total:                    60,308       22,134        28,142              6,504
                                                 36.70%        46.66%             10.78%
          Voting Age                 46,733       18,984        20,435              4,478
                                                 40.62%        43.73%              9.58%
District 163
 County: Chatham GA
           Total:                    60,123       23,136        29,099               5,081
                                                 38.48%        48.40%               8.45%
          Voting Age                 48,461       20,317        22,045               3,578
                                                 41.92%        45.49%               7.38%
District 163 Total
           Total:                    60,123       23,136        29,099               5,081
                                                 38.48%        48.40%               8.45%
          Voting Age                 48,461       20,317        22,045               3,578
                                                 41.92%        45.49%               7.38%
District 164
 County: Bryan GA
           Total:                    21,564       13,710         4,211               2,141
                                                 63.58%        19.53%               9.93%
          Voting Age                 15,232       10,160         2,747               1,273
                                                 66.70%        18.03%               8.36%
 County: Chatham GA
         Total:                      38,681       21,106        10,858               3,837
                                                 54.56%        28.07%               9.92%
          Voting Age                 30,732       17,745         8,013               2,620
                                                 57.74%        26.07%               8.53%
District 164 Total
           Total:                    60,245       34,816        15,069               5,978
                                                 57.79%        25.01%               9.92%
          Voting Age                 45,964       27,905        10,760               3,893
                                                 60.71%        23.41%               8.47%
District 165
 County: Chatham GA
           Total:                    59,978       21,050        32,897               3,318
                                                 35.10%        54.85%               5.53%
          Voting Age                 48,247       18,901        24,282               2,572
                                                 39.18%        50.33%               5.33%




                                                                            Page 58 of 65
   Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 101 of 162

Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 165
District 165 Total
           Total:                    59,978       21,050        32,897               3,318
                                                 35.10%        54.85%               5.53%
          Voting Age                 48,247       18,901        24,282               2,572
                                                 39.18%        50.33%               5.33%
District 166
 County: Bryan GA
           Total:                    12,166        9,454         1,207                 787
                                                 77.71%         9.92%               6.47%
          Voting Age                  8,284        6,586           814                 436
                                                 79.50%         9.83%               5.26%
 County: Chatham GA
         Total:                      47,932       40,278         2,438               2,338
                                                 84.03%         5.09%               4.88%
          Voting Age                 39,183       33,608         1,884               1,502
                                                 85.77%         4.81%               3.83%
District 166 Total
           Total:                    60,098       49,732         3,645               3,125
                                                 82.75%         6.07%               5.20%
          Voting Age                 47,467       40,194         2,698               1,938
                                                 84.68%         5.68%               4.08%
District 167
 County: Glynn GA
           Total:                    19,881       13,854         3,348               1,549
                                                 69.68%        16.84%               7.79%
          Voting Age                 15,287       11,023         2,404               1,002
                                                 72.11%        15.73%               6.55%
 County: Liberty GA
         Total:                      11,457        6,138         4,459                 507
                                                 53.57%        38.92%               4.43%
          Voting Age                  9,052        5,019         3,423                 330
                                                 55.45%        37.81%               3.65%
 County: Long GA
         Total:                      16,168        8,774         4,734              1,979
                                                 54.27%        29.28%             12.24%
          Voting Age                 11,234        6,422         3,107              1,227
                                                 57.17%        27.66%             10.92%
 County: McIntosh GA
         Total:                      10,975        7,060         3,400                 231
                                                 64.33%        30.98%               2.10%
          Voting Age                  9,040        5,998         2,641                 166
                                                 66.35%        29.21%               1.84%
 County: Wayne GA
         Total:                       1,703        1,548            74                  34
                                                 90.90%         4.35%               2.00%
          Voting Age                  1,358        1,261            49                  23
                                                 92.86%         3.61%               1.69%



                                                                            Page 59 of 65
   Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 102 of 162

Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 167
District 167 Total
           Total:                    60,184       37,374        16,015               4,300
                                                 62.10%        26.61%               7.14%
          Voting Age                 45,971       29,723        11,624               2,748
                                                 64.66%        25.29%               5.98%
District 168
 County: Liberty GA
           Total:                    53,799       17,866        26,687              7,279
                                                 33.21%        49.61%             13.53%
          Voting Age                 38,962       14,046        18,277              4,901
                                                 36.05%        46.91%             12.58%
 County: Tattnall GA
         Total:                       6,481        4,035         1,671                 637
                                                 62.26%        25.78%               9.83%
          Voting Age                  4,806        3,163         1,147                 376
                                                 65.81%        23.87%               7.82%
District 168 Total
           Total:                    60,280       21,901        28,358              7,916
                                                 36.33%        47.04%             13.13%
          Voting Age                 43,768       17,209        19,424              5,277
                                                 39.32%        44.38%             12.06%
District 169
 County: Coffee GA
           Total:                    33,736       18,074        11,051              3,890
                                                 53.57%        32.76%             11.53%
          Voting Age                 25,541       14,433         8,086              2,417
                                                 56.51%        31.66%              9.46%
 County: Irwin GA
         Total:                       9,666        6,402         2,333                 663
                                                 66.23%        24.14%               6.86%
          Voting Age                  7,547        5,047         1,720                 545
                                                 66.87%        22.79%               7.22%
 County: Tift GA
         Total:                       7,591        6,230           576                 562
                                                 82.07%         7.59%               7.40%
          Voting Age                  5,888        4,941           433                 336
                                                 83.92%         7.35%               5.71%
 County: Turner GA
         Total:                       9,006        4,700         3,813                 372
                                                 52.19%        42.34%               4.13%
          Voting Age                  6,960        3,891         2,752                 256
                                                 55.91%        39.54%               3.68%
District 169 Total
           Total:                    59,999       35,406        17,773               5,487
                                                 59.01%        29.62%               9.15%
          Voting Age                 45,936       28,312        12,991               3,554
                                                 61.63%        28.28%               7.74%



                                                                            Page 60 of 65
   Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 103 of 162

Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 170
 County: Berrien GA
           Total:                    18,160       14,396         2,198               1,045
                                                 79.27%        12.10%               5.75%
          Voting Age                 13,690       11,181         1,499                 622
                                                 81.67%        10.95%               4.54%
 County: Cook GA
         Total:                      17,229       10,658         5,014               1,134
                                                 61.86%        29.10%               6.58%
          Voting Age                 12,938        8,310         3,595                 704
                                                 64.23%        27.79%               5.44%
 County: Tift GA
         Total:                      24,496        9,927        10,332              3,612
                                                 40.52%        42.18%             14.75%
          Voting Age                 18,004        8,135         7,151              2,218
                                                 45.18%        39.72%             12.32%
District 170 Total
           Total:                    59,885       34,981        17,544               5,791
                                                 58.41%        29.30%               9.67%
          Voting Age                 44,632       27,626        12,245               3,544
                                                 61.90%        27.44%               7.94%
District 171
 County: Dougherty GA
           Total:                    20,906        3,450        16,409                 875
                                                 16.50%        78.49%               4.19%
          Voting Age                 15,841        3,012        12,112                 551
                                                 19.01%        76.46%               3.48%
 County: Mitchell GA
         Total:                      21,755       10,106        10,394                 964
                                                 46.45%        47.78%               4.43%
          Voting Age                 17,065        8,284         7,917                 615
                                                 48.54%        46.39%               3.60%
 County: Thomas GA
         Total:                      17,670        7,351         9,388                 537
                                                 41.60%        53.13%               3.04%
          Voting Age                 13,215        5,805         6,749                 351
                                                 43.93%        51.07%               2.66%
District 171 Total
           Total:                    60,331       20,907        36,191               2,376
                                                 34.65%        59.99%               3.94%
          Voting Age                 46,121       17,101        26,778               1,517
                                                 37.08%        58.06%               3.29%
District 172
 County: Colquitt GA
           Total:                    26,729       16,104         4,732              5,266
                                                 60.25%        17.70%             19.70%
          Voting Age                 20,087       13,030         3,310              3,245
                                                 64.87%        16.48%             16.15%



                                                                            Page 61 of 65
   Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 104 of 162

Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 172
 County: Grady GA
           Total:                     4,715        3,078         1,006                536
                                                 65.28%        21.34%             11.37%
          Voting Age                  3,591        2,482           750                285
                                                 69.12%        20.89%              7.94%
 County: Thomas GA
         Total:                      28,128       18,643         7,587               1,040
                                                 66.28%        26.97%               3.70%
          Voting Age                 21,822       14,935         5,583                 619
                                                 68.44%        25.58%               2.84%
District 172 Total
           Total:                    59,572       37,825        13,325              6,842
                                                 63.49%        22.37%             11.49%
          Voting Age                 45,500       30,447         9,643              4,149
                                                 66.92%        21.19%              9.12%
District 173
 County: Decatur GA
           Total:                    29,367       14,280        12,583               1,911
                                                 48.63%        42.85%               6.51%
          Voting Age                 22,443       11,586         9,189               1,196
                                                 51.62%        40.94%               5.33%
 County: Grady GA
         Total:                      21,521       11,637         6,687              2,737
                                                 54.07%        31.07%             12.72%
          Voting Age                 16,371        9,486         4,928              1,572
                                                 57.94%        30.10%              9.60%
 County: Seminole GA
         Total:                       9,147        5,617         3,093                 228
                                                 61.41%        33.81%               2.49%
          Voting Age                  7,277        4,681         2,275                 160
                                                 64.33%        31.26%               2.20%
District 173 Total
           Total:                    60,035       31,534        22,363               4,876
                                                 52.53%        37.25%               8.12%
          Voting Age                 46,091       25,753        16,392               2,928
                                                 55.87%        35.56%               6.35%
District 174
 County: Brantley GA
           Total:                    18,021       16,317           733                 326
                                                 90.54%         4.07%               1.81%
          Voting Age                 13,692       12,522           470                 212
                                                 91.45%         3.43%               1.55%
 County: Charlton GA
         Total:                      12,518        7,532         2,798              2,036
                                                 60.17%        22.35%             16.26%
          Voting Age                 10,135        5,929         2,147              1,971
                                                 58.50%        21.18%             19.45%



                                                                            Page 62 of 65
   Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 105 of 162

Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 174
 County: Clinch GA
           Total:                     6,749        4,256         2,096                 253
                                                 63.06%        31.06%               3.75%
          Voting Age                  5,034        3,372         1,406                 156
                                                 66.98%        27.93%               3.10%
 County: Echols GA
         Total:                       3,697        2,328           193              1,091
                                                 62.97%         5.22%             29.51%
          Voting Age                  2,709        1,856           121                667
                                                 68.51%         4.47%             24.62%
 County: Lowndes GA
         Total:                       9,770        7,446         1,486                 563
                                                 76.21%        15.21%               5.76%
          Voting Age                  7,472        5,800         1,086                 372
                                                 77.62%        14.53%               4.98%
 County: Ware GA
         Total:                       9,097        4,514         3,954                 448
                                                 49.62%        43.46%               4.92%
          Voting Age                  6,718        3,581         2,720                 263
                                                 53.30%        40.49%               3.91%
District 174 Total
           Total:                    59,852       42,393        11,260               4,717
                                                 70.83%        18.81%               7.88%
          Voting Age                 45,760       33,060         7,950               3,641
                                                 72.25%        17.37%               7.96%
District 175
 County: Brooks GA
           Total:                    16,301        9,066         5,958                 955
                                                 55.62%        36.55%               5.86%
          Voting Age                 12,747        7,483         4,357                 635
                                                 58.70%        34.18%               4.98%
 County: Lowndes GA
         Total:                      43,692       29,375         9,375               2,702
                                                 67.23%        21.46%               6.18%
          Voting Age                 31,957       22,242         6,448               1,615
                                                 69.60%        20.18%               5.05%
District 175 Total
           Total:                    59,993       38,441        15,333               3,657
                                                 64.08%        25.56%               6.10%
          Voting Age                 44,704       29,725        10,805               2,250
                                                 66.49%        24.17%               5.03%
District 176
 County: Atkinson GA
           Total:                     8,286        4,801         1,284              2,048
                                                 57.94%        15.50%             24.72%
          Voting Age                  6,129        3,787           937              1,282
                                                 61.79%        15.29%             20.92%



                                                                            Page 63 of 65
   Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 106 of 162

Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 176
 County: Coffee GA
           Total:                     9,356        6,084         1,524              1,540
                                                 65.03%        16.29%             16.46%
          Voting Age                  6,878        4,713         1,105                907
                                                 68.52%        16.07%             13.19%
 County: Lanier GA
         Total:                       9,877        6,595         2,369                 572
                                                 66.77%        23.99%               5.79%
          Voting Age                  7,326        5,010         1,683                 370
                                                 68.39%        22.97%               5.05%
 County: Lowndes GA
         Total:                       4,797        2,556         1,387                591
                                                 53.28%        28.91%             12.32%
          Voting Age                  3,588        2,016           975                400
                                                 56.19%        27.17%             11.15%
 County: Ware GA
         Total:                      27,154       17,761         7,467               1,164
                                                 65.41%        27.50%               4.29%
          Voting Age                 21,070       14,237         5,506                 749
                                                 67.57%        26.13%               3.55%
District 176 Total
           Total:                    59,470       37,797        14,031               5,915
                                                 63.56%        23.59%               9.95%
          Voting Age                 44,991       29,763        10,206               3,708
                                                 66.15%        22.68%               8.24%
District 177
 County: Lowndes GA
           Total:                    59,992       19,929        34,510               4,016
                                                 33.22%        57.52%               6.69%
          Voting Age                 46,014       17,082        24,793               2,814
                                                 37.12%        53.88%               6.12%
District 177 Total
           Total:                    59,992       19,929        34,510               4,016
                                                 33.22%        57.52%               6.69%
          Voting Age                 46,014       17,082        24,793               2,814
                                                 37.12%        53.88%               6.12%
District 178
 County: Bacon GA
           Total:                    11,140        8,103         1,970                 875
                                                 72.74%        17.68%               7.85%
          Voting Age                  8,310        6,374         1,245                 547
                                                 76.70%        14.98%               6.58%
 County: Pierce GA
         Total:                      19,716       16,403         1,801                 998
                                                 83.20%         9.13%               5.06%
          Voting Age                 14,899       12,662         1,262                 595
                                                 84.99%         8.47%               3.99%



                                                                            Page 64 of 65
   Case 1:21-cv-05337-SCJ   Document 236-4    Filed 04/18/23   Page 107 of 162

Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 178
 County: Wayne GA
           Total:                    28,441       19,753         6,316               1,698
                                                 69.45%        22.21%               5.97%
          Voting Age                 21,747       15,493         4,613               1,093
                                                 71.24%        21.21%               5.03%
District 178 Total
           Total:                    59,297       44,259        10,087               3,571
                                                 74.64%        17.01%               6.02%
          Voting Age                 44,956       34,529         7,120               2,235
                                                 76.81%        15.84%               4.97%
District 179
 County: Glynn GA
           Total:                    59,974       35,515        18,101               4,602
                                                 59.22%        30.18%               7.67%
          Voting Age                 47,627       30,406        12,783               3,021
                                                 63.84%        26.84%               6.34%
District 179 Total
           Total:                    59,974       35,515        18,101               4,602
                                                 59.22%        30.18%               7.67%
          Voting Age                 47,627       30,406        12,783               3,021
                                                 63.84%        26.84%               6.34%
District 180
 County: Camden GA
           Total:                    54,768       37,203        11,072               3,658
                                                 67.93%        20.22%               6.68%
          Voting Age                 41,808       29,410         7,828               2,457
                                                 70.35%        18.72%               5.88%
 County: Glynn GA
         Total:                       4,644        3,618           649                 185
                                                 77.91%        13.98%               3.98%
          Voting Age                  3,554        2,873           433                  93
                                                 80.84%        12.18%               2.62%
District 180 Total
           Total:                    59,412       40,821        11,721               3,843
                                                 68.71%        19.73%               6.47%
          Voting Age                 45,362       32,283         8,261               2,550
                                                 71.17%        18.21%               5.62%




                                                                            Page 65 of 65
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 108 of 162




                  EXHIBIT AA-3
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 109 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 110 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 111 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 112 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 113 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 114 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 115 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 116 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 117 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 118 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 119 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 120 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 121 of 162




                    EXHIBIT AA-4
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 122 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 123 of 162




                    EXHIBIT AA-5
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 124 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 125 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 126 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 127 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 128 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 129 of 162




                    EXHIBIT AA-6
    Case 1:21-cv-05337-SCJ                    Document 236-4         Filed 04/18/23             Page 130 of 162

      User:
Plan Name: Illustrative_House
 Plan Type:


Core Constituencies
Friday, November 18, 2022                                                                                   5:23 PM


From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 001 --                       59,666 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 001                  59,666 (100.00%   52,436 (100.00%)   3,034 (100.00%)      1,544 (100.00%)
                                  )
Total and % Population                       52,436 (87.88%)    3,034 (5.08%)        1,544 (2.59%)


Plan: Illustrative_House, District 002 --                       59,405 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 002                  53,563 (90.17%)   46,117 (90.41%)    1,843 (87.14%)       3,334 (89.43%)
Dist. 004                   1,000 (1.68%)      562 (1.10%)        99 (4.68%)           271 (7.27%)
Dist. 012                   4,842 (8.15%)     4,327 (8.48%)      173 (8.18%)           123 (3.30%)
Total and % Population                       51,006 (85.86%)    2,115 (3.56%)        3,728 (6.28%)


Plan: Illustrative_House, District 003 --                       60,199 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 003                  60,199 (100.00%   52,311 (100.00%)   2,463 (100.00%)      2,170 (100.00%)
                                  )
Total and % Population                       52,311 (86.90%)    2,463 (4.09%)        2,170 (3.60%)


Plan: Illustrative_House, District 004 --                       60,125 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 002                   6,210 (10.33%)    3,637 (13.74%)     330 (9.75%)         2,098 (7.30%)
Dist. 004                  44,404 (73.85%)   16,118 (60.89%)    2,684 (79.27%)      24,544 (85.37%)
Dist. 006                   9,511 (15.82%)    6,714 (25.37%)     372 (10.99%)        2,109 (7.34%)
Total and % Population                       26,469 (44.02%)    3,386 (5.63%)       28,751 (47.82%)


Plan: Illustrative_House, District 005 --                       58,961 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 004                   1,417 (2.40%)     1,077 (2.43%)       28 (0.95%)           263 (2.85%)
Dist. 005                  53,738 (91.14%)   39,902 (89.88%)    2,869 (97.35%)       8,788 (95.31%)
Dist. 006                   3,806 (6.46%)     3,415 (7.69%)       50 (1.70%)           169 (1.83%)
Total and % Population                       44,394 (75.29%)    2,947 (5.00%)        9,220 (15.64%)


Plan: Illustrative_House, District 006 --                       58,644 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 004                  12,249 (20.89%)    7,056 (15.75%)     453 (39.19%)        4,501 (41.34%)
Dist. 006                  46,395 (79.11%)   37,731 (84.25%)     703 (60.81%)        6,386 (58.66%)
Total and % Population                       44,787 (76.37%)    1,156 (1.97%)       10,887 (18.56%)




                                                                                                        Page 1 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4        Filed 04/18/23            Page 131 of 162

Core Constituencies                                                                                 Illustrative_House



From Plan:          ga_house_HB1EX

Plan: Illustrative_House, District 007 --                      58,807 Total Population
                         Population           NH_Wht           AP_Blk           [Hispanic Origin]
Dist. 007                  25,319 (43.05%)   23,351 (44.40%)    199 (22.51%)         753 (29.61%)
Dist. 009                  29,201 (49.66%)   25,638 (48.75%)    600 (67.87%)       1,457 (57.29%)
Dist. 027                   4,287 (7.29%)     3,603 (6.85%)      85 (9.62%)          333 (13.09%)
Total and % Population                       52,592 (89.43%)    884 (1.50%)        2,543 (4.32%)


Plan: Illustrative_House, District 008 --                      58,972 Total Population
                         Population           NH_Wht           AP_Blk           [Hispanic Origin]
Dist. 008                  37,125 (62.95%)   34,115 (64.06%)    396 (56.25%)       1,231 (43.28%)
Dist. 010                  21,847 (37.05%)   19,137 (35.94%)    308 (43.75%)       1,613 (56.72%)
Total and % Population                       53,252 (90.30%)    704 (1.19%)        2,844 (4.82%)


Plan: Illustrative_House, District 009 --                      59,260 Total Population
                         Population           NH_Wht           AP_Blk           [Hispanic Origin]
Dist. 007                  33,762 (56.97%)   28,624 (56.27%)    314 (44.10%)       3,639 (69.01%)
Dist. 009                  24,389 (41.16%)   21,285 (41.85%)    374 (52.53%)       1,565 (29.68%)
Dist. 027                   1,109 (1.87%)      957 (1.88%)       24 (3.37%)           69 (1.31%)
Total and % Population                       50,866 (85.84%)    712 (1.20%)        5,273 (8.90%)


Plan: Illustrative_House, District 010 --                      59,732 Total Population
                         Population           NH_Wht           AP_Blk           [Hispanic Origin]
Dist. 008                  22,119 (37.03%)   19,677 (40.83%)    629 (26.73%)         672 (10.74%)
Dist. 009                   5,884 (9.85%)     5,282 (10.96%)     92 (3.91%)          241 (3.85%)
Dist. 010                  31,729 (53.12%)   23,233 (48.21%)   1,632 (69.36%)      5,345 (85.41%)
Total and % Population                       48,192 (80.68%)   2,353 (3.94%)       6,258 (10.48%)


Plan: Illustrative_House, District 011 --                      59,186 Total Population
                         Population           NH_Wht           AP_Blk           [Hispanic Origin]
Dist. 011                  39,773 (67.20%)   36,037 (72.89%)    630 (26.53%)       1,465 (29.03%)
Dist. 023                  19,413 (32.80%)   13,404 (27.11%)   1,745 (73.47%)      3,582 (70.97%)
Total and % Population                       49,441 (83.53%)   2,375 (4.01%)       5,047 (8.53%)


Plan: Illustrative_House, District 012 --                      58,838 Total Population
                         Population           NH_Wht           AP_Blk           [Hispanic Origin]
Dist. 012                  42,961 (73.02%)   35,134 (75.38%)   4,155 (58.39%)      2,306 (73.82%)
Dist. 013                  15,877 (26.98%)   11,475 (24.62%)   2,961 (41.61%)        818 (26.18%)
Total and % Population                       46,609 (79.22%)   7,116 (12.09%)      3,124 (5.31%)


Plan: Illustrative_House, District 013 --                      59,869 Total Population
                         Population           NH_Wht           AP_Blk           [Hispanic Origin]
Dist. 005                   5,099 (8.52%)     4,494 (12.18%)    213 (1.90%)          211 (2.22%)
Dist. 012                  11,497 (19.20%)    7,057 (19.13%)   1,718 (15.36%)      2,123 (22.31%)



                                                                                                        Page 2 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4         Filed 04/18/23            Page 132 of 162

Core Constituencies                                                                                  Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 013 --                      59,869 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 013                  43,273 (72.28%)   25,339 (68.69%)    9,251 (82.73%)      7,182 (75.47%)
Total and % Population                       36,890 (61.62%)   11,182 (18.68%)      9,516 (15.89%)


Plan: Illustrative_House, District 014 --                      59,369 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 014                  59,095 (99.54%)   48,095 (99.54%)    4,334 (99.59%)      4,156 (99.47%)
Dist. 015                    274 (0.46%)       222 (0.46%)        18 (0.41%)           22 (0.53%)
Total and % Population                       48,317 (81.38%)    4,352 (7.33%)       4,178 (7.04%)


Plan: Illustrative_House, District 015 --                      58,979 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 014                     40 (0.07%)        30 (0.07%)          4 (0.04%)           7 (0.10%)
Dist. 015                  58,939 (99.93%)   40,267 (99.93%)    9,334 (99.96%)      6,927 (99.90%)
Total and % Population                       40,297 (68.32%)    9,338 (15.83%)      6,934 (11.76%)


Plan: Illustrative_House, District 016 --                      59,713 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 016                  51,245 (85.82%)   37,094 (85.25%)    6,458 (82.92%)      6,041 (92.95%)
Dist. 017                   6,748 (11.30%)    5,106 (11.73%)    1,026 (13.17%)        388 (5.97%)
Dist. 018                   1,720 (2.88%)     1,313 (3.02%)      304 (3.90%)           70 (1.08%)
Total and % Population                       43,513 (72.87%)    7,788 (13.04%)      6,499 (10.88%)


Plan: Illustrative_House, District 017 --                      58,677 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 016                       5 (0.01%)         2 (0.01%)         2 (0.01%)           2 (0.04%)
Dist. 017                  25,558 (43.56%)   14,983 (44.95%)    7,569 (40.90%)      2,196 (44.64%)
Dist. 019                  33,114 (56.43%)   18,346 (55.04%)   10,936 (59.09%)      2,721 (55.32%)
Total and % Population                       33,331 (56.80%)   18,507 (31.54%)      4,919 (8.38%)


Plan: Illustrative_House, District 018 --                      58,881 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 017                    517 (0.88%)       442 (0.88%)        45 (0.94%)           19 (1.19%)
Dist. 018                  52,154 (88.58%)   44,826 (89.03%)    4,109 (85.66%)      1,308 (82.16%)
Dist. 019                   1,240 (2.11%)      995 (1.98%)       140 (2.92%)           49 (3.08%)
Dist. 072                   4,970 (8.44%)     4,089 (8.12%)      503 (10.49%)         216 (13.57%)
Total and % Population                       50,352 (85.51%)    4,797 (8.15%)       1,592 (2.70%)


Plan: Illustrative_House, District 019 --                      59,050 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 016                   8,152 (13.81%)    6,207 (15.39%)    1,121 (9.55%)         460 (10.46%)




                                                                                                         Page 3 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 133 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 019 --                       59,050 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 017                  26,297 (44.53%)   16,883 (41.86%)     6,143 (52.33%)       2,067 (46.99%)
Dist. 019                  24,601 (41.66%)   17,244 (42.75%)     4,474 (38.12%)       1,872 (42.56%)
Total and % Population                       40,334 (68.30%)    11,738 (19.88%)       4,399 (7.45%)


Plan: Illustrative_House, District 020 --                       60,107 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 020                  60,107 (100.00%   44,437 (100.00%)    5,973 (100.00%)      6,372 (100.00%)
                                  )
Total and % Population                       44,437 (73.93%)     5,973 (9.94%)        6,372 (10.60%)


Plan: Illustrative_House, District 021 --                       58,907 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 021                  56,329 (95.62%)   44,766 (95.80%)     3,289 (94.98%)       4,952 (93.43%)
Dist. 023                   2,578 (4.38%)     1,963 (4.20%)       174 (5.02%)           348 (6.57%)
Total and % Population                       46,729 (79.33%)     3,463 (5.88%)        5,300 (9.00%)


Plan: Illustrative_House, District 022 --                       59,460 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 022                  59,460 (100.00%   37,180 (100.00%)    9,890 (100.00%)      7,883 (100.00%)
                                  )
Total and % Population                       37,180 (62.53%)     9,890 (16.63%)       7,883 (13.26%)


Plan: Illustrative_House, District 023 --                       59,771 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 011                  16,455 (27.53%)   13,435 (29.53%)      582 (18.78%)        1,458 (17.81%)
Dist. 021                   2,732 (4.57%)     2,473 (5.44%)        54 (1.74%)           112 (1.37%)
Dist. 023                  37,057 (62.00%)   26,833 (58.98%)     2,331 (75.22%)       6,223 (76.01%)
Dist. 024                   1,335 (2.23%)      951 (2.09%)         57 (1.84%)           204 (2.49%)
Dist. 028                   1,654 (2.77%)     1,343 (2.95%)        63 (2.03%)           150 (1.83%)
Dist. 047                    538 (0.90%)       458 (1.01%)         12 (0.39%)            40 (0.49%)
Total and % Population                       45,493 (76.11%)     3,099 (5.18%)        8,187 (13.70%)


Plan: Illustrative_House, District 024 --                       59,554 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 024                  50,859 (85.40%)   30,056 (85.02%)     3,976 (89.23%)       5,542 (85.13%)
Dist. 025                       0 (0.00%)         0 (0.00%)            (0.00%)              (0.00%)
Dist. 026                   8,695 (14.60%)    5,295 (14.98%)      480 (10.77%)          968 (14.87%)
Total and % Population                       35,351 (59.36%)     4,456 (7.48%)        6,510 (10.93%)


Plan: Illustrative_House, District 025 --                       59,414 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]



                                                                                                            Page 4 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4         Filed 04/18/23             Page 134 of 162

Core Constituencies                                                                                    Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 025 --                       59,414 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 025                  59,414 (100.00%   30,889 (100.00%)   3,606 (100.00%)      3,218 (100.00%)
                                  )
Total and % Population                       30,889 (51.99%)    3,606 (6.07%)        3,218 (5.42%)


Plan: Illustrative_House, District 026 --                       59,002 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 024                   2,829 (4.79%)     1,716 (4.71%)      129 (5.00%)           251 (3.38%)
Dist. 026                  47,082 (79.80%)   29,877 (82.02%)    2,016 (78.17%)       5,933 (79.78%)
Dist. 028                   5,920 (10.03%)    4,130 (11.34%)     312 (12.10%)        1,125 (15.13%)
Dist. 100                   3,171 (5.37%)      703 (1.93%)       122 (4.73%)           128 (1.72%)
Total and % Population                       36,426 (61.74%)    2,579 (4.37%)        7,437 (12.60%)


Plan: Illustrative_House, District 027 --                       58,710 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 027                  40,079 (68.27%)   32,470 (82.85%)    1,348 (39.98%)       4,701 (33.55%)
Dist. 029                   6,787 (11.56%)    4,012 (10.24%)     828 (24.56%)        1,658 (11.83%)
Dist. 031                  11,844 (20.17%)    2,707 (6.91%)     1,196 (35.47%)       7,655 (54.62%)
Total and % Population                       39,189 (66.75%)    3,372 (5.74%)       14,014 (23.87%)


Plan: Illustrative_House, District 028 --                       59,012 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 011                   2,564 (4.34%)     1,929 (4.24%)      168 (6.28%)           213 (2.87%)
Dist. 024                   3,988 (6.76%)     2,762 (6.07%)      151 (5.64%)           706 (9.51%)
Dist. 026                   1,479 (2.51%)     1,111 (2.44%)       71 (2.65%)           177 (2.38%)
Dist. 027                   3,386 (5.74%)     2,637 (5.80%)       86 (3.21%)           536 (7.22%)
Dist. 028                  47,595 (80.65%)   37,038 (81.44%)    2,199 (82.21%)       5,792 (78.02%)
Total and % Population                       45,477 (77.06%)    2,675 (4.53%)        7,424 (12.58%)


Plan: Illustrative_House, District 029 --                       59,015 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 027                   2,799 (4.74%)     1,579 (7.34%)      658 (8.15%)           466 (1.72%)
Dist. 028                   3,803 (6.44%)     2,604 (12.11%)     112 (1.39%)           949 (3.50%)
Dist. 029                  52,413 (88.81%)   17,328 (80.55%)    7,304 (90.46%)      25,738 (94.79%)
Total and % Population                       21,511 (36.45%)    8,074 (13.68%)      27,153 (46.01%)


Plan: Illustrative_House, District 030 --                       59,266 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 030                  59,266 (100.00%   39,727 (100.00%)   5,186 (100.00%)     11,128 (100.00%)
                                  )
Total and % Population                       39,727 (67.03%)    5,186 (8.75%)       11,128 (18.78%)


Plan: Illustrative_House, District 031 --                       59,753 Total Population


                                                                                                           Page 5 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 135 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 027                   1,826 (3.06%)     1,381 (3.09%)        68 (1.40%)           314 (4.50%)
Dist. 031                  44,550 (74.56%)   33,622 (75.23%)     3,347 (69.11%)       5,148 (73.80%)
Dist. 032                   9,166 (15.34%)    6,851 (15.33%)      952 (19.66%)          914 (13.10%)
Dist. 119                   4,211 (7.05%)     2,840 (6.35%)       476 (9.83%)           600 (8.60%)
Total and % Population                       44,694 (74.80%)     4,843 (8.11%)        6,976 (11.67%)


Plan: Illustrative_House, District 032 --                       59,466 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 010                   5,943 (9.99%)     4,418 (9.19%)       347 (7.12%)           842 (21.44%)
Dist. 027                   5,309 (8.93%)     4,229 (8.80%)       320 (6.57%)           533 (13.57%)
Dist. 032                  48,214 (81.08%)   39,432 (82.02%)     4,204 (86.31%)       2,553 (64.99%)
Total and % Population                       48,079 (80.85%)     4,871 (8.19%)        3,928 (6.61%)


Plan: Illustrative_House, District 033 --                       59,187 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 033                  59,187 (100.00%   47,314 (100.00%)    7,322 (100.00%)      2,415 (100.00%)
                                  )
Total and % Population                       47,314 (79.94%)     7,322 (12.37%)       2,415 (4.08%)


Plan: Illustrative_House, District 034 --                       59,875 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 034                  59,875 (100.00%   39,871 (100.00%)   10,102 (100.00%)      5,427 (100.00%)
                                  )
Total and % Population                       39,871 (66.59%)    10,102 (16.87%)       5,427 (9.06%)


Plan: Illustrative_House, District 035 --                       60,031 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 035                  59,889 (99.76%)   30,019 (99.69%)    18,210 (99.91%)       7,608 (99.70%)
Dist. 036                    142 (0.24%)        94 (0.31%)         16 (0.09%)            23 (0.30%)
Total and % Population                       30,113 (50.16%)    18,226 (30.36%)       7,631 (12.71%)


Plan: Illustrative_House, District 036 --                       59,852 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 036                  59,852 (100.00%   40,707 (100.00%)   11,039 (100.00%)      4,453 (100.00%)
                                  )
Total and % Population                       40,707 (68.01%)    11,039 (18.44%)       4,453 (7.44%)


Plan: Illustrative_House, District 037 --                       59,176 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 037                  59,176 (100.00%   24,970 (100.00%)   17,171 (100.00%)     12,993 (100.00%)
                                  )
Total and % Population                       24,970 (42.20%)    17,171 (29.02%)      12,993 (21.96%)


Plan: Illustrative_House, District 038 --                       59,317 Total Population


                                                                                                            Page 6 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 136 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 038                  59,317 (100.00%   15,382 (100.00%)   33,760 (100.00%)      8,730 (100.00%)
                                  )
Total and % Population                       15,382 (25.93%)    33,760 (56.91%)       8,730 (14.72%)


Plan: Illustrative_House, District 039 --                       59,381 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 039                  59,381 (100.00%   12,233 (100.00%)   33,016 (100.00%)     12,942 (100.00%)
                                  )
Total and % Population                       12,233 (20.60%)    33,016 (55.60%)      12,942 (21.79%)


Plan: Illustrative_House, District 040 --                       59,044 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 040                  59,044 (100.00%   28,894 (100.00%)   20,179 (100.00%)      3,795 (100.00%)
                                  )
Total and % Population                       28,894 (48.94%)    20,179 (34.18%)       3,795 (6.43%)


Plan: Illustrative_House, District 041 --                       60,122 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 041                  60,122 (100.00%   14,079 (100.00%)   23,846 (100.00%)     19,971 (100.00%)
                                  )
Total and % Population                       14,079 (23.42%)    23,846 (39.66%)      19,971 (33.22%)


Plan: Illustrative_House, District 042 --                       59,620 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 042                  59,620 (100.00%   21,149 (100.00%)   20,726 (100.00%)     12,217 (100.00%)
                                  )
Total and % Population                       21,149 (35.47%)    20,726 (34.76%)      12,217 (20.49%)


Plan: Illustrative_House, District 043 --                       59,464 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 043                  59,464 (100.00%   25,759 (100.00%)   16,346 (100.00%)      9,424 (100.00%)
                                  )
Total and % Population                       25,759 (43.32%)    16,346 (27.49%)       9,424 (15.85%)


Plan: Illustrative_House, District 044 --                       60,002 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 044                  60,002 (100.00%   38,825 (100.00%)    7,990 (100.00%)      7,197 (100.00%)
                                  )
Total and % Population                       38,825 (64.71%)     7,990 (13.32%)       7,197 (11.99%)


Plan: Illustrative_House, District 045 --                       59,738 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 045                  59,738 (100.00%   43,186 (100.00%)    3,303 (100.00%)      3,283 (100.00%)
                                  )



                                                                                                            Page 7 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 137 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 045 --                       59,738 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Total and % Population                       43,186 (72.29%)     3,303 (5.53%)        3,283 (5.50%)


Plan: Illustrative_House, District 046 --                       59,108 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 046                  59,108 (100.00%   42,814 (100.00%)    5,077 (100.00%)      4,869 (100.00%)
                                  )
Total and % Population                       42,814 (72.43%)     5,077 (8.59%)        4,869 (8.24%)


Plan: Illustrative_House, District 047 --                       59,056 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 021                    468 (0.79%)       406 (1.11%)           7 (0.11%)          19 (0.41%)
Dist. 047                  58,588 (99.21%)   36,027 (98.89%)     6,578 (99.89%)       4,592 (99.59%)
Total and % Population                       36,433 (61.69%)     6,585 (11.15%)       4,611 (7.81%)


Plan: Illustrative_House, District 048 --                       59,003 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 048                  59,003 (100.00%   34,843 (100.00%)    7,216 (100.00%)      8,317 (100.00%)
                                  )
Total and % Population                       34,843 (59.05%)     7,216 (12.23%)       8,317 (14.10%)


Plan: Illustrative_House, District 049 --                       59,153 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 049                  59,153 (100.00%   40,782 (100.00%)    5,234 (100.00%)      4,473 (100.00%)
                                  )
Total and % Population                       40,782 (68.94%)     5,234 (8.85%)        4,473 (7.56%)


Plan: Illustrative_House, District 050 --                       59,523 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 050                  59,523 (100.00%   24,729 (100.00%)    7,763 (100.00%)      4,202 (100.00%)
                                  )
Total and % Population                       24,729 (41.55%)     7,763 (13.04%)       4,202 (7.06%)


Plan: Illustrative_House, District 051 --                       58,952 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 051                  58,952 (100.00%   30,076 (100.00%)   14,766 (100.00%)      9,119 (100.00%)
                                  )
Total and % Population                       30,076 (51.02%)    14,766 (25.05%)       9,119 (15.47%)


Plan: Illustrative_House, District 052 --                       59,811 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]




                                                                                                            Page 8 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 138 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 052 --                       59,811 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 052                  59,811 (100.00%   32,182 (100.00%)    9,461 (100.00%)      4,773 (100.00%)
                                  )
Total and % Population                       32,182 (53.81%)     9,461 (15.82%)       4,773 (7.98%)


Plan: Illustrative_House, District 053 --                       59,953 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 053                  59,953 (100.00%   42,146 (100.00%)    8,685 (100.00%)      4,919 (100.00%)
                                  )
Total and % Population                       42,146 (70.30%)     8,685 (14.49%)       4,919 (8.20%)


Plan: Illustrative_House, District 054 --                       60,083 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 054                  60,083 (100.00%   36,671 (100.00%)    9,048 (100.00%)      9,115 (100.00%)
                                  )
Total and % Population                       36,671 (61.03%)     9,048 (15.06%)       9,115 (15.17%)


Plan: Illustrative_House, District 055 --                       59,971 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 055                  59,971 (100.00%   20,257 (100.00%)   34,374 (100.00%)      3,080 (100.00%)
                                  )
Total and % Population                       20,257 (33.78%)    34,374 (57.32%)       3,080 (5.14%)


Plan: Illustrative_House, District 056 --                       58,929 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 056                  58,929 (100.00%   20,055 (100.00%)   29,016 (100.00%)      3,425 (100.00%)
                                  )
Total and % Population                       20,055 (34.03%)    29,016 (49.24%)       3,425 (5.81%)


Plan: Illustrative_House, District 057 --                       59,969 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 057                  59,969 (100.00%   37,712 (100.00%)   10,691 (100.00%)      5,294 (100.00%)
                                  )
Total and % Population                       37,712 (62.89%)    10,691 (17.83%)       5,294 (8.83%)


Plan: Illustrative_House, District 058 --                       59,057 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 058                  59,057 (100.00%   14,752 (100.00%)   39,036 (100.00%)      2,973 (100.00%)
                                  )
Total and % Population                       14,752 (24.98%)    39,036 (66.10%)       2,973 (5.03%)


Plan: Illustrative_House, District 059 --                       59,434 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]


                                                                                                            Page 9 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 139 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 059 --                       59,434 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 059                  59,434 (100.00%   11,510 (100.00%)   43,468 (100.00%)      2,647 (100.00%)
                                  )
Total and % Population                       11,510 (19.37%)    43,468 (73.14%)       2,647 (4.45%)


Plan: Illustrative_House, District 060 --                       59,709 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 060                  59,709 (100.00%   15,952 (100.00%)   38,562 (100.00%)      3,504 (100.00%)
                                  )
Total and % Population                       15,952 (26.72%)    38,562 (64.58%)       3,504 (5.87%)


Plan: Illustrative_House, District 061 --                       59,302 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 061                  59,302 (100.00%    8,770 (100.00%)   44,535 (100.00%)      5,394 (100.00%)
                                  )
Total and % Population                        8,770 (14.79%)    44,535 (75.10%)       5,394 (9.10%)


Plan: Illustrative_House, District 062 --                       59,450 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 062                  59,450 (100.00%   10,210 (100.00%)   43,732 (100.00%)      4,522 (100.00%)
                                  )
Total and % Population                       10,210 (17.17%)    43,732 (73.56%)       4,522 (7.61%)


Plan: Illustrative_House, District 063 --                       59,381 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 063                  59,381 (100.00%    9,942 (100.00%)   42,146 (100.00%)      6,185 (100.00%)
                                  )
Total and % Population                        9,942 (16.74%)    42,146 (70.98%)       6,185 (10.42%)


Plan: Illustrative_House, District 064 --                       59,902 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 018                    916 (1.53%)       765 (2.31%)         91 (0.47%)           25 (0.48%)
Dist. 064                  58,986 (98.47%)   32,299 (97.69%)    19,200 (99.53%)       5,214 (99.52%)
Total and % Population                       33,064 (55.20%)    19,291 (32.20%)       5,239 (8.75%)


Plan: Illustrative_House, District 065 --                       59,464 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 065                  59,464 (100.00%   17,570 (100.00%)   37,702 (100.00%)      3,107 (100.00%)
                                  )
Total and % Population                       17,570 (29.55%)    37,702 (63.40%)       3,107 (5.23%)


Plan: Illustrative_House, District 066 --                       59,047 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]


                                                                                                           Page 10 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 140 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

Dist. 066                  59,047 (100.00%   17,701 (100.00%)   33,210 (100.00%)      6,526 (100.00%)
                                  )
Total and % Population                       17,701 (29.98%)    33,210 (56.24%)       6,526 (11.05%)


Plan: Illustrative_House, District 067 --                       59,135 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 067                  59,135 (100.00%   17,203 (100.00%)   35,438 (100.00%)      5,153 (100.00%)
                                  )
Total and % Population                       17,203 (29.09%)    35,438 (59.93%)       5,153 (8.71%)


Plan: Illustrative_House, District 068 --                       59,477 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 068                  59,477 (100.00%   18,526 (100.00%)   34,189 (100.00%)      4,339 (100.00%)
                                  )
Total and % Population                       18,526 (31.15%)    34,189 (57.48%)       4,339 (7.30%)


Plan: Illustrative_House, District 069 --                       60,397 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 069                  48,278 (79.93%)   10,707 (53.54%)    32,843 (96.65%)       2,923 (79.78%)
Dist. 073                  10,473 (17.34%)    7,914 (39.57%)     1,078 (3.17%)          676 (18.45%)
Dist. 074                   1,646 (2.73%)     1,379 (6.90%)        59 (0.17%)            65 (1.77%)
Total and % Population                       20,000 (33.11%)    33,980 (56.26%)       3,664 (6.07%)


Plan: Illustrative_House, District 070 --                       59,121 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 070                  59,121 (100.00%   33,410 (100.00%)   17,750 (100.00%)      5,368 (100.00%)
                                  )
Total and % Population                       33,410 (56.51%)    17,750 (30.02%)       5,368 (9.08%)


Plan: Illustrative_House, District 071 --                       59,415 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 018                   4,545 (7.65%)     3,402 (8.27%)       614 (5.15%)           335 (8.28%)
Dist. 071                  51,860 (87.28%)   35,231 (85.62%)    11,044 (92.58%)       3,572 (88.26%)
Dist. 072                   3,010 (5.07%)     2,514 (6.11%)       271 (2.27%)           140 (3.46%)
Total and % Population                       41,147 (69.25%)    11,929 (20.08%)       4,047 (6.81%)


Plan: Illustrative_House, District 072 --                       59,358 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 071                   7,678 (12.94%)    4,748 (12.41%)     1,748 (12.70%)         858 (15.97%)
Dist. 072                  51,680 (87.06%)   33,526 (87.59%)    12,014 (87.30%)       4,515 (84.03%)
Total and % Population                       38,274 (64.48%)    13,762 (23.18%)       5,373 (9.05%)


Plan: Illustrative_House, District 073 --                       60,189 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]



                                                                                                            Page 11 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4         Filed 04/18/23            Page 141 of 162

Core Constituencies                                                                                  Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 073 --                      60,189 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 073                  49,563 (82.35%)   34,061 (79.59%)    6,787 (91.89%)      4,105 (89.05%)
Dist. 074                  10,626 (17.65%)    8,734 (20.41%)     599 (8.11%)          505 (10.95%)
Total and % Population                       42,795 (71.10%)    7,386 (12.27%)      4,610 (7.66%)


Plan: Illustrative_House, District 074 --                      59,976 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 074                  25,330 (42.23%)   12,218 (80.04%)   10,271 (26.89%)      2,193 (39.66%)
Dist. 075                   5,283 (8.81%)      430 (2.82%)      3,824 (10.01%)      1,007 (18.21%)
Dist. 078                  27,858 (46.45%)    2,404 (15.75%)   23,003 (60.23%)      2,128 (38.49%)
Dist. 116                   1,505 (2.51%)      212 (1.39%)      1,093 (2.86%)         201 (3.64%)
Total and % Population                       15,264 (25.45%)   38,191 (63.68%)      5,529 (9.22%)


Plan: Illustrative_House, District 075 --                      60,164 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 075                  21,381 (35.54%)    2,198 (48.04%)   15,100 (33.99%)      3,208 (35.94%)
Dist. 077                   3,287 (5.46%)      164 (3.58%)      2,761 (6.21%)         321 (3.60%)
Dist. 078                   3,394 (5.64%)      427 (9.33%)      2,213 (4.98%)         546 (6.12%)
Dist. 079                  32,102 (53.36%)    1,786 (39.04%)   24,356 (54.82%)      4,850 (54.34%)
Total and % Population                        4,575 (7.60%)    44,430 (73.85%)      8,925 (14.83%)


Plan: Illustrative_House, District 076 --                      58,905 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 076                  54,375 (92.31%)    4,608 (96.32%)   37,665 (90.39%)      7,506 (96.80%)
Dist. 078                   4,530 (7.69%)      176 (3.68%)      4,004 (9.61%)         248 (3.20%)
Total and % Population                        4,784 (8.12%)    41,669 (70.74%)      7,754 (13.16%)


Plan: Illustrative_House, District 077 --                      58,742 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 069                  10,404 (17.71%)    3,435 (27.27%)    5,549 (14.08%)        875 (17.99%)
Dist. 074                  11,472 (19.53%)    7,520 (59.71%)    2,704 (6.86%)         596 (12.25%)
Dist. 075                   6,753 (11.50%)     398 (3.16%)      5,735 (14.55%)        545 (11.20%)
Dist. 077                  20,022 (34.08%)     932 (7.40%)     16,350 (41.49%)      2,321 (47.71%)
Dist. 079                  10,091 (17.18%)     310 (2.46%)      9,066 (23.01%)        528 (10.85%)
Total and % Population                       12,595 (21.44%)   39,404 (67.08%)      4,865 (8.28%)


Plan: Illustrative_House, District 078 --                      59,188 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 075                  26,326 (44.48%)    2,493 (26.52%)   20,357 (50.88%)      2,989 (45.02%)
Dist. 078                  23,262 (39.30%)    4,484 (47.69%)   14,131 (35.32%)      2,946 (44.37%)
Dist. 116                   9,600 (16.22%)    2,425 (25.79%)    5,518 (13.79%)        705 (10.62%)
Total and % Population                        9,402 (15.88%)   40,006 (67.59%)      6,640 (11.22%)



                                                                                                        Page 12 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 142 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

Plan: Illustrative_House, District 079 --                       58,624 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 076                   5,384 (9.18%)      538 (12.18%)      2,796 (7.37%)        1,821 (14.01%)
Dist. 077                  35,933 (61.29%)    2,586 (58.56%)    25,852 (68.14%)       5,783 (44.48%)
Dist. 079                  17,307 (29.52%)    1,292 (29.26%)     9,291 (24.49%)       5,398 (41.52%)
Total and % Population                        4,416 (7.53%)     37,939 (64.72%)      13,002 (22.18%)


Plan: Illustrative_House, District 080 --                       59,461 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 080                  59,461 (100.00%   26,769 (100.00%)    8,128 (100.00%)     15,559 (100.00%)
                                  )
Total and % Population                       26,769 (45.02%)     8,128 (13.67%)      15,559 (26.17%)


Plan: Illustrative_House, District 081 --                       59,007 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 081                  59,007 (100.00%   26,127 (100.00%)   12,487 (100.00%)     14,504 (100.00%)
                                  )
Total and % Population                       26,127 (44.28%)    12,487 (21.16%)      14,504 (24.58%)


Plan: Illustrative_House, District 082 --                       59,724 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 082                  59,724 (100.00%   36,945 (100.00%)    9,763 (100.00%)      4,494 (100.00%)
                                  )
Total and % Population                       36,945 (61.86%)     9,763 (16.35%)       4,494 (7.52%)


Plan: Illustrative_House, District 083 --                       59,416 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 083                  59,416 (100.00%   26,221 (100.00%)    8,327 (100.00%)     20,050 (100.00%)
                                  )
Total and % Population                       26,221 (44.13%)     8,327 (14.01%)      20,050 (33.75%)


Plan: Illustrative_House, District 084 --                       59,862 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 084                  59,862 (100.00%   12,637 (100.00%)   43,909 (100.00%)      2,034 (100.00%)
                                  )
Total and % Population                       12,637 (21.11%)    43,909 (73.35%)       2,034 (3.40%)


Plan: Illustrative_House, District 085 --                       59,373 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 085                  59,373 (100.00%   10,143 (100.00%)   37,650 (100.00%)      3,558 (100.00%)
                                  )
Total and % Population                       10,143 (17.08%)    37,650 (63.41%)       3,558 (5.99%)


Plan: Illustrative_House, District 086 --                       59,205 Total Population



                                                                                                           Page 13 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 143 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 086                  59,205 (100.00%    6,276 (100.00%)   44,458 (100.00%)      2,750 (100.00%)
                                  )
Total and % Population                        6,276 (10.60%)    44,458 (75.09%)       2,750 (4.64%)


Plan: Illustrative_House, District 087 --                       59,709 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 087                  59,709 (100.00%    6,857 (100.00%)   44,195 (100.00%)      4,613 (100.00%)
                                  )
Total and % Population                        6,857 (11.48%)    44,195 (74.02%)       4,613 (7.73%)


Plan: Illustrative_House, District 088 --                       59,689 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 088                  59,689 (100.00%    9,541 (100.00%)   38,515 (100.00%)      6,839 (100.00%)
                                  )
Total and % Population                        9,541 (15.98%)    38,515 (64.53%)       6,839 (11.46%)


Plan: Illustrative_House, District 089 --                       59,866 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 089                  59,866 (100.00%   18,189 (100.00%)   37,494 (100.00%)      2,275 (100.00%)
                                  )
Total and % Population                       18,189 (30.38%)    37,494 (62.63%)       2,275 (3.80%)


Plan: Illustrative_House, District 090 --                       59,812 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 090                  59,812 (100.00%   19,190 (100.00%)   35,965 (100.00%)      2,784 (100.00%)
                                  )
Total and % Population                       19,190 (32.08%)    35,965 (60.13%)       2,784 (4.65%)


Plan: Illustrative_House, District 091 --                       58,901 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 091                  47,404 (80.48%)    8,276 (57.44%)    36,224 (89.53%)       2,329 (77.04%)
Dist. 115                  11,091 (18.83%)    5,930 (41.15%)     4,111 (10.16%)         636 (21.04%)
Dist. 116                    406 (0.69%)       203 (1.41%)        125 (0.31%)            58 (1.92%)
Total and % Population                       14,409 (24.46%)    40,460 (68.69%)       3,023 (5.13%)


Plan: Illustrative_House, District 092 --                       60,273 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 092                  60,273 (100.00%   12,645 (100.00%)   42,978 (100.00%)      3,306 (100.00%)
                                  )
Total and % Population                       12,645 (20.98%)    42,978 (71.31%)       3,306 (5.49%)


Plan: Illustrative_House, District 093 --                       60,118 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]




                                                                                                           Page 14 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 144 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 093 --                       60,118 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 093                  60,118 (100.00%   11,987 (100.00%)   40,249 (100.00%)      6,757 (100.00%)
                                  )
Total and % Population                       11,987 (19.94%)    40,249 (66.95%)       6,757 (11.24%)


Plan: Illustrative_House, District 094 --                       59,211 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 094                  59,211 (100.00%    9,700 (100.00%)   41,397 (100.00%)      5,162 (100.00%)
                                  )
Total and % Population                        9,700 (16.38%)    41,397 (69.91%)       5,162 (8.72%)


Plan: Illustrative_House, District 095 --                       60,030 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 095                  60,030 (100.00%   11,281 (100.00%)   41,682 (100.00%)      5,597 (100.00%)
                                  )
Total and % Population                       11,281 (18.79%)    41,682 (69.44%)       5,597 (9.32%)


Plan: Illustrative_House, District 096 --                       59,515 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 096                  59,515 (100.00%   10,398 (100.00%)   13,970 (100.00%)     24,097 (100.00%)
                                  )
Total and % Population                       10,398 (17.47%)    13,970 (23.47%)      24,097 (40.49%)


Plan: Illustrative_House, District 097 --                       59,072 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 097                  59,072 (100.00%   19,604 (100.00%)   16,869 (100.00%)     12,911 (100.00%)
                                  )
Total and % Population                       19,604 (33.19%)    16,869 (28.56%)      12,911 (21.86%)


Plan: Illustrative_House, District 098 --                       59,998 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 098                  59,998 (100.00%    5,813 (100.00%)   13,286 (100.00%)     34,450 (100.00%)
                                  )
Total and % Population                        5,813 (9.69%)     13,286 (22.14%)      34,450 (57.42%)


Plan: Illustrative_House, District 099 --                       59,850 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 099                  59,850 (100.00%   23,802 (100.00%)    9,514 (100.00%)      5,695 (100.00%)
                                  )
Total and % Population                       23,802 (39.77%)     9,514 (15.90%)       5,695 (9.52%)


Plan: Illustrative_House, District 100 --                       58,851 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]


                                                                                                           Page 15 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 145 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 100 --                       58,851 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 026                   1,992 (3.38%)     1,326 (3.88%)        79 (1.24%)           72 (1.12%)
Dist. 100                  56,859 (96.62%)   32,841 (96.12%)     6,276 (98.76%)       6,384 (98.88%)
Total and % Population                       34,167 (58.06%)     6,355 (10.80%)       6,456 (10.97%)


Plan: Illustrative_House, District 101 --                       59,938 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 101                  59,938 (100.00%   22,390 (100.00%)   15,380 (100.00%)     12,091 (100.00%)
                                  )
Total and % Population                       22,390 (37.36%)    15,380 (25.66%)      12,091 (20.17%)


Plan: Illustrative_House, District 102 --                       58,959 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 102                  58,959 (100.00%   15,798 (100.00%)   23,702 (100.00%)     13,823 (100.00%)
                                  )
Total and % Population                       15,798 (26.79%)    23,702 (40.20%)      13,823 (23.45%)


Plan: Illustrative_House, District 103 --                       60,197 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 100                       0 (0.00%)         0 (0.00%)            (0.00%)              (0.00%)
Dist. 103                  60,197 (100.00%   29,804 (100.00%)   10,628 (100.00%)     11,475 (100.00%)
                                  )
Total and % Population                       29,804 (49.51%)    10,628 (17.66%)      11,475 (19.06%)


Plan: Illustrative_House, District 104 --                       59,362 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 104                  59,362 (100.00%   35,877 (100.00%)   10,743 (100.00%)      7,501 (100.00%)
                                  )
Total and % Population                       35,877 (60.44%)    10,743 (18.10%)       7,501 (12.64%)


Plan: Illustrative_House, District 105 --                       59,344 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 105                  59,344 (100.00%   23,076 (100.00%)   18,444 (100.00%)     10,743 (100.00%)
                                  )
Total and % Population                       23,076 (38.89%)    18,444 (31.08%)      10,743 (18.10%)


Plan: Illustrative_House, District 106 --                       59,112 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 106                  59,112 (100.00%   21,673 (100.00%)   23,221 (100.00%)      7,483 (100.00%)
                                  )
Total and % Population                       21,673 (36.66%)    23,221 (39.28%)       7,483 (12.66%)


Plan: Illustrative_House, District 107 --                       59,702 Total Population


                                                                                                           Page 16 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 146 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 107                  59,702 (100.00%   11,360 (100.00%)   18,372 (100.00%)     20,594 (100.00%)
                                  )
Total and % Population                       11,360 (19.03%)    18,372 (30.77%)      20,594 (34.49%)


Plan: Illustrative_House, District 108 --                       59,577 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 108                  59,577 (100.00%   23,214 (100.00%)   11,946 (100.00%)     12,498 (100.00%)
                                  )
Total and % Population                       23,214 (38.96%)    11,946 (20.05%)      12,498 (20.98%)


Plan: Illustrative_House, District 109 --                       59,630 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 109                  59,630 (100.00%    8,049 (100.00%)   19,592 (100.00%)     23,446 (100.00%)
                                  )
Total and % Population                        8,049 (13.50%)    19,592 (32.86%)      23,446 (39.32%)


Plan: Illustrative_House, District 110 --                       59,951 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 110                  59,951 (100.00%   19,606 (100.00%)   30,042 (100.00%)      7,119 (100.00%)
                                  )
Total and % Population                       19,606 (32.70%)    30,042 (50.11%)       7,119 (11.87%)


Plan: Illustrative_House, District 111 --                       60,009 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 111                  60,009 (100.00%   36,326 (100.00%)   14,572 (100.00%)      6,224 (100.00%)
                                  )
Total and % Population                       36,326 (60.53%)    14,572 (24.28%)       6,224 (10.37%)


Plan: Illustrative_House, District 112 --                       59,349 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 112                  59,349 (100.00%   42,463 (100.00%)   12,163 (100.00%)      2,375 (100.00%)
                                  )
Total and % Population                       42,463 (71.55%)    12,163 (20.49%)       2,375 (4.00%)


Plan: Illustrative_House, District 113 --                       60,053 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 113                  60,053 (100.00%   17,306 (100.00%)   37,002 (100.00%)      4,671 (100.00%)
                                  )
Total and % Population                       17,306 (28.82%)    37,002 (61.62%)       4,671 (7.78%)


Plan: Illustrative_House, District 114 --                       59,867 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 114                  59,867 (100.00%   40,049 (100.00%)   15,438 (100.00%)      2,710 (100.00%)
                                  )




                                                                                                           Page 17 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4         Filed 04/18/23            Page 147 of 162

Core Constituencies                                                                                  Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 114 --                      59,867 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Total and % Population                       40,049 (66.90%)   15,438 (25.79%)      2,710 (4.53%)


Plan: Illustrative_House, District 115 --                      59,473 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 115                  45,785 (76.98%)   12,410 (65.66%)   27,963 (82.32%)      3,781 (83.80%)
Dist. 116                     17 (0.03%)          0 (0.00%)       10 (0.03%)            5 (0.11%)
Dist. 117                  13,671 (22.99%)    6,489 (34.34%)    5,997 (17.65%)        726 (16.09%)
Total and % Population                       18,899 (31.78%)   33,970 (57.12%)      4,512 (7.59%)


Plan: Illustrative_House, District 116 --                      59,096 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 091                  12,646 (21.40%)    3,553 (22.12%)    6,673 (19.87%)      1,873 (33.12%)
Dist. 115                   3,298 (5.58%)     1,591 (9.90%)     1,222 (3.64%)         324 (5.73%)
Dist. 116                  43,152 (73.02%)   10,922 (67.98%)   25,685 (76.49%)      3,458 (61.15%)
Total and % Population                       16,066 (27.19%)   33,580 (56.82%)      5,655 (9.57%)


Plan: Illustrative_House, District 117 --                      58,692 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 074                   4,497 (7.66%)     1,966 (10.22%)    1,979 (5.83%)         343 (8.78%)
Dist. 116                   5,233 (8.92%)      537 (2.79%)      4,035 (11.88%)        450 (11.52%)
Dist. 117                  23,869 (40.67%)    9,812 (51.00%)   11,693 (34.43%)      1,721 (44.06%)
Dist. 134                  25,093 (42.75%)    6,926 (36.00%)   16,250 (47.85%)      1,392 (35.64%)
Total and % Population                       19,241 (32.78%)   33,957 (57.86%)      3,906 (6.66%)


Plan: Illustrative_House, District 118 --                      60,253 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 117                  22,590 (37.49%)   14,731 (36.65%)    5,677 (37.35%)      1,330 (48.14%)
Dist. 118                  37,663 (62.51%)   25,467 (63.35%)    9,523 (62.65%)      1,433 (51.86%)
Total and % Population                       40,198 (66.72%)   15,200 (25.23%)      2,763 (4.59%)


Plan: Illustrative_House, District 119 --                      59,260 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 119                  54,736 (92.37%)   36,582 (92.23%)    8,054 (91.03%)      6,575 (94.09%)
Dist. 120                   4,524 (7.63%)     3,084 (7.77%)      794 (8.97%)          413 (5.91%)
Total and % Population                       39,666 (66.94%)    8,848 (14.93%)      6,988 (11.79%)


Plan: Illustrative_House, District 120 --                      59,554 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 031                   3,507 (5.89%)     2,950 (7.67%)      227 (2.09%)          154 (2.35%)
Dist. 032                   1,765 (2.96%)     1,504 (3.91%)       96 (0.88%)          100 (1.53%)




                                                                                                        Page 18 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4         Filed 04/18/23            Page 148 of 162

Core Constituencies                                                                                  Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 120 --                      59,554 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 120                  42,175 (70.82%)   28,596 (74.40%)    7,298 (67.19%)      3,868 (59.07%)
Dist. 121                   4,201 (7.05%)     2,716 (7.07%)      497 (4.58%)          227 (3.47%)
Dist. 122                   7,906 (13.28%)    2,672 (6.95%)     2,743 (25.26%)      2,199 (33.58%)
Total and % Population                       38,438 (64.54%)   10,861 (18.24%)      6,548 (11.00%)


Plan: Illustrative_House, District 121 --                      59,588 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 120                   9,150 (15.36%)    7,058 (15.92%)     500 (7.81%)          502 (12.33%)
Dist. 121                  45,510 (76.37%)   34,719 (78.32%)    4,474 (69.85%)      2,975 (73.08%)
Dist. 124                   4,928 (8.27%)     2,553 (5.76%)     1,431 (22.34%)        594 (14.59%)
Total and % Population                       44,330 (74.39%)    6,405 (10.75%)      4,071 (6.83%)


Plan: Illustrative_House, District 122 --                      59,628 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 120                   3,133 (5.25%)     2,463 (7.38%)      276 (1.69%)          181 (2.87%)
Dist. 121                   6,065 (10.17%)    4,531 (13.57%)     354 (2.17%)          337 (5.34%)
Dist. 122                  50,430 (84.57%)   26,396 (79.05%)   15,698 (96.14%)      5,794 (91.79%)
Total and % Population                       33,390 (56.00%)   16,328 (27.38%)      6,312 (10.59%)


Plan: Illustrative_House, District 123 --                      59,712 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 123                  52,873 (88.55%)   36,232 (87.68%)   11,874 (91.02%)      2,854 (91.33%)
Dist. 124                   6,839 (11.45%)    5,090 (12.32%)    1,172 (8.98%)         271 (8.67%)
Total and % Population                       41,322 (69.20%)   13,046 (21.85%)      3,125 (5.23%)


Plan: Illustrative_House, District 124 --                      58,822 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 118                   8,280 (14.08%)    5,595 (15.35%)    1,975 (12.16%)        516 (11.59%)
Dist. 121                   3,351 (5.70%)     2,416 (6.63%)      563 (3.47%)          167 (3.75%)
Dist. 122                   1,296 (2.20%)      232 (0.64%)       840 (5.17%)          223 (5.01%)
Dist. 124                  45,895 (78.02%)   28,204 (77.38%)   12,870 (79.21%)      3,547 (79.65%)
Total and % Population                       36,447 (61.96%)   16,248 (27.62%)      4,453 (7.57%)


Plan: Illustrative_House, District 125 --                      59,922 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 125                  43,038 (71.82%)   26,195 (77.47%)   10,946 (56.43%)      3,911 (87.32%)
Dist. 128                  16,884 (28.18%)    7,620 (22.53%)    8,451 (43.57%)        568 (12.68%)
Total and % Population                       33,815 (56.43%)   19,397 (32.37%)      4,479 (7.47%)


Plan: Illustrative_House, District 126 --                      59,977 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]


                                                                                                        Page 19 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4         Filed 04/18/23            Page 149 of 162

Core Constituencies                                                                                  Illustrative_House



From Plan:          ga_house_HB1EX

Dist. 126                  44,186 (73.67%)   14,483 (62.34%)   27,112 (81.23%)      1,617 (76.49%)
Dist. 128                   2,884 (4.81%)     2,573 (11.08%)     226 (0.68%)           52 (2.46%)
Dist. 130                   1,102 (1.84%)       41 (0.18%)      1,003 (3.01%)          57 (2.70%)
Dist. 132                   8,492 (14.16%)    4,760 (20.49%)    3,233 (9.69%)         333 (15.75%)
Dist. 159                   3,313 (5.52%)     1,374 (5.91%)     1,803 (5.40%)          55 (2.60%)
Total and % Population                       23,231 (38.73%)   33,377 (55.65%)      2,114 (3.52%)


Plan: Illustrative_House, District 127 --                      60,294 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 125                   4,940 (8.19%)     3,121 (7.74%)     1,019 (9.88%)         336 (8.84%)
Dist. 127                  40,489 (67.15%)   26,895 (66.74%)    6,977 (67.62%)      2,507 (65.96%)
Dist. 131                  14,865 (24.65%)   10,281 (25.51%)    2,322 (22.50%)        958 (25.20%)
Total and % Population                       40,297 (66.83%)   10,318 (17.11%)      3,801 (6.30%)


Plan: Illustrative_House, District 128 --                      59,983 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 126                   2,035 (3.39%)      800 (3.20%)      1,124 (3.43%)          96 (6.57%)
Dist. 128                  19,988 (33.32%)    8,412 (33.70%)   10,969 (33.49%)        334 (22.86%)
Dist. 132                   8,622 (14.37%)    3,013 (12.07%)    5,278 (16.12%)        239 (16.36%)
Dist. 155                  29,338 (48.91%)   12,739 (51.03%)   15,380 (46.96%)        792 (54.21%)
Total and % Population                       24,964 (41.62%)   32,751 (54.60%)      1,461 (2.44%)


Plan: Illustrative_House, District 129 --                      59,891 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 127                   8,772 (14.65%)    5,495 (24.25%)    2,485 (7.61%)         354 (14.09%)
Dist. 129                  51,119 (85.35%)   17,168 (75.75%)   30,149 (92.39%)      2,158 (85.91%)
Total and % Population                       22,663 (37.84%)   32,634 (54.49%)      2,512 (4.19%)


Plan: Illustrative_House, District 130 --                      60,057 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 126                   4,365 (7.27%)     2,513 (11.98%)    1,578 (4.48%)         135 (5.42%)
Dist. 129                   2,522 (4.20%)     1,149 (5.48%)     1,215 (3.45%)          74 (2.97%)
Dist. 130                  53,170 (88.53%)   17,318 (82.55%)   32,421 (92.07%)      2,283 (91.61%)
Total and % Population                       20,980 (34.93%)   35,214 (58.63%)      2,492 (4.15%)


Plan: Illustrative_House, District 131 --                      59,096 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 125                  12,159 (20.57%)    6,766 (18.14%)    3,290 (26.58%)      1,126 (25.17%)
Dist. 127                   2,912 (4.93%)     2,195 (5.89%)      269 (2.17%)          144 (3.22%)
Dist. 131                  44,025 (74.50%)   28,336 (75.97%)    8,820 (71.25%)      3,203 (71.61%)
Total and % Population                       37,297 (63.11%)   12,379 (20.95%)      4,473 (7.57%)


Plan: Illustrative_House, District 132 --                      58,652 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]


                                                                                                        Page 20 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 150 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

Dist. 127                   6,505 (11.09%)    4,096 (22.75%)     1,809 (5.48%)          271 (5.25%)
Dist. 129                   5,188 (8.85%)     1,586 (8.81%)      2,881 (8.73%)          556 (10.78%)
Dist. 130                   4,931 (8.41%)      515 (2.86%)       4,140 (12.55%)         224 (4.34%)
Dist. 132                  42,028 (71.66%)   11,804 (65.57%)    24,169 (73.24%)       4,108 (79.63%)
Total and % Population                       18,001 (30.69%)    32,999 (56.26%)       5,159 (8.80%)


Plan: Illustrative_House, District 133 --                       58,720 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 123                   6,409 (10.91%)    2,823 (11.57%)     3,138 (9.89%)          304 (22.14%)
Dist. 124                   1,559 (2.65%)      591 (2.42%)        876 (2.76%)            69 (5.03%)
Dist. 128                  19,108 (32.54%)    7,376 (30.24%)    11,258 (35.50%)         169 (12.31%)
Dist. 133                  22,767 (38.77%)    8,492 (34.81%)    13,112 (41.34%)         592 (43.12%)
Dist. 149                   8,877 (15.12%)    5,110 (20.95%)     3,330 (10.50%)         239 (17.41%)
Total and % Population                       24,392 (41.54%)    31,714 (54.01%)       1,373 (2.34%)


Plan: Illustrative_House, District 134 --                       58,622 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 074                   5,385 (9.19%)     4,334 (9.28%)       629 (7.58%)           232 (13.90%)
Dist. 134                  20,005 (34.13%)   15,093 (32.32%)     3,439 (41.47%)         801 (47.99%)
Dist. 135                  33,232 (56.69%)   27,265 (58.39%)     4,225 (50.95%)         636 (38.11%)
Total and % Population                       46,692 (79.65%)     8,293 (14.15%)       1,669 (2.85%)


Plan: Illustrative_House, District 135 --                       59,567 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 118                  14,044 (23.58%)    9,887 (23.79%)     2,997 (20.81%)         752 (39.11%)
Dist. 134                  14,298 (24.00%)   11,673 (28.08%)     1,745 (12.11%)         415 (21.58%)
Dist. 135                  13,474 (22.62%)    8,135 (19.57%)     4,697 (32.61%)         348 (18.10%)
Dist. 144                  17,323 (29.08%)   11,520 (27.72%)     4,893 (33.97%)         405 (21.06%)
Dist. 145                    428 (0.72%)       349 (0.84%)         73 (0.51%)             3 (0.16%)
Total and % Population                       41,564 (69.78%)    14,405 (24.18%)       1,923 (3.23%)


Plan: Illustrative_House, District 136 --                       59,795 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 136                  59,298 (99.17%)   36,859 (99.13%)    17,530 (99.22%)       2,609 (99.24%)
Dist. 137                    497 (0.83%)       322 (0.87%)        137 (0.78%)            20 (0.76%)
Total and % Population                       37,181 (62.18%)    17,667 (29.55%)       2,629 (4.40%)


Plan: Illustrative_House, District 137 --                       59,054 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 137                  59,054 (100.00%   22,369 (100.00%)   32,115 (100.00%)      3,057 (100.00%)
                                  )
Total and % Population                       22,369 (37.88%)    32,115 (54.38%)       3,057 (5.18%)


Plan: Illustrative_House, District 138 --                       58,912 Total Population



                                                                                                           Page 21 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 151 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 138                  58,912 (100.00%   41,408 (100.00%)   12,072 (100.00%)      2,418 (100.00%)
                                  )
Total and % Population                       41,408 (70.29%)    12,072 (20.49%)       2,418 (4.10%)


Plan: Illustrative_House, District 139 --                       59,010 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 139                  59,010 (100.00%   37,498 (100.00%)   12,846 (100.00%)      4,273 (100.00%)
                                  )
Total and % Population                       37,498 (63.55%)    12,846 (21.77%)       4,273 (7.24%)


Plan: Illustrative_House, District 140 --                       59,294 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 140                  59,294 (100.00%   17,055 (100.00%)   35,460 (100.00%)      5,358 (100.00%)
                                  )
Total and % Population                       17,055 (28.76%)    35,460 (59.80%)       5,358 (9.04%)


Plan: Illustrative_House, District 141 --                       59,019 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 141                  59,019 (100.00%   17,357 (100.00%)   34,760 (100.00%)      4,681 (100.00%)
                                  )
Total and % Population                       17,357 (29.41%)    34,760 (58.90%)       4,681 (7.93%)


Plan: Illustrative_House, District 142 --                       58,637 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 142                  11,848 (20.21%)    1,167 (5.89%)     10,054 (30.52%)         540 (12.44%)
Dist. 143                  19,576 (33.39%)    8,443 (42.60%)     9,267 (28.13%)       1,277 (29.42%)
Dist. 145                  19,315 (32.94%)    5,607 (28.29%)    11,469 (34.82%)       1,760 (40.55%)
Dist. 146                   5,967 (10.18%)    3,991 (20.14%)     1,319 (4.00%)          323 (7.44%)
Dist. 147                   1,931 (3.29%)      613 (3.09%)        831 (2.52%)           440 (10.14%)
Total and % Population                       19,821 (33.80%)    32,940 (56.18%)       4,340 (7.40%)


Plan: Illustrative_House, District 143 --                       58,771 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 142                   8,486 (14.44%)    4,919 (25.62%)     2,924 (8.09%)          291 (13.64%)
Dist. 143                  39,893 (67.88%)    8,853 (46.10%)    28,778 (79.63%)       1,619 (75.90%)
Dist. 144                   2,370 (4.03%)      943 (4.91%)       1,211 (3.35%)           99 (4.64%)
Dist. 149                   8,022 (13.65%)    4,487 (23.37%)     3,226 (8.93%)          124 (5.81%)
Total and % Population                       19,202 (32.67%)    36,139 (61.49%)       2,133 (3.63%)


Plan: Illustrative_House, District 144 --                       60,114 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 133                  36,435 (60.61%)   24,870 (61.84%)     9,701 (61.42%)         842 (53.46%)
Dist. 144                  23,679 (39.39%)   15,344 (38.16%)     6,094 (38.58%)         733 (46.54%)
Total and % Population                       40,214 (66.90%)    15,795 (26.28%)       1,575 (2.62%)



                                                                                                           Page 22 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 152 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 145 --                       60,214 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 142                  39,274 (65.22%)   12,260 (51.31%)    24,637 (76.80%)       1,692 (72.81%)
Dist. 144                  15,860 (26.34%)    8,217 (34.39%)     6,121 (19.08%)         486 (20.91%)
Dist. 145                   5,080 (8.44%)     3,417 (14.30%)     1,322 (4.12%)          146 (6.28%)
Total and % Population                       23,894 (39.68%)    32,080 (53.28%)       2,324 (3.86%)


Plan: Illustrative_House, District 146 --                       58,683 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 146                  42,563 (72.53%)   25,739 (70.37%)    12,040 (75.09%)       2,341 (76.91%)
Dist. 148                  16,120 (27.47%)   10,838 (29.63%)     3,995 (24.91%)         703 (23.09%)
Total and % Population                       36,577 (62.33%)    16,035 (27.32%)       3,044 (5.19%)


Plan: Illustrative_House, District 147 --                       58,678 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 135                  13,357 (22.76%)    7,057 (19.91%)     5,712 (33.31%)         345 (12.22%)
Dist. 145                  26,223 (44.69%)   18,226 (51.43%)     5,767 (33.63%)       1,271 (45.01%)
Dist. 146                   6,414 (10.93%)    3,064 (8.65%)      2,552 (14.88%)         450 (15.93%)
Dist. 147                  12,684 (21.62%)    7,090 (20.01%)     3,116 (18.17%)         758 (26.84%)
Total and % Population                       35,437 (60.39%)    17,147 (29.22%)       2,824 (4.81%)


Plan: Illustrative_House, District 148 --                       58,934 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 148                  43,864 (74.43%)   24,244 (75.12%)    17,206 (74.60%)       1,495 (63.21%)
Dist. 156                  15,070 (25.57%)    8,029 (24.88%)     5,857 (25.40%)         870 (36.79%)
Total and % Population                       32,273 (54.76%)    23,063 (39.13%)       2,365 (4.01%)


Plan: Illustrative_House, District 149 --                       58,639 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 145                   8,817 (15.04%)    3,317 (11.33%)     4,280 (20.19%)       1,024 (20.35%)
Dist. 146                   5,259 (8.97%)     2,916 (9.96%)      1,779 (8.39%)          295 (5.86%)
Dist. 147                  44,563 (76.00%)   23,036 (78.70%)    15,139 (71.42%)       3,713 (73.79%)
Total and % Population                       29,269 (49.91%)    21,198 (36.15%)       5,032 (8.58%)


Plan: Illustrative_House, District 150 --                       59,276 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 150                  59,276 (100.00%   21,432 (100.00%)   32,464 (100.00%)      4,286 (100.00%)
                                  )
Total and % Population                       21,432 (36.16%)    32,464 (54.77%)       4,286 (7.23%)


Plan: Illustrative_House, District 151 --                       59,241 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]




                                                                                                           Page 23 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4         Filed 04/18/23            Page 153 of 162

Core Constituencies                                                                                  Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 151 --                      59,241 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 151                  36,944 (62.36%)   19,374 (56.20%)   13,290 (71.24%)      2,957 (82.51%)
Dist. 152                  22,297 (37.64%)   15,100 (43.80%)    5,365 (28.76%)        627 (17.49%)
Total and % Population                       34,474 (58.19%)   18,655 (31.49%)      3,584 (6.05%)


Plan: Illustrative_House, District 152 --                      60,076 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 152                  31,650 (52.68%)   22,085 (58.74%)    7,907 (50.53%)        707 (13.61%)
Dist. 169                   1,825 (3.04%)     1,245 (3.31%)      382 (2.44%)          153 (2.95%)
Dist. 170                   7,432 (12.37%)    4,787 (12.73%)    1,444 (9.23%)         892 (17.17%)
Dist. 172                  19,169 (31.91%)    9,484 (25.22%)    5,916 (37.80%)      3,443 (66.28%)
Total and % Population                       37,601 (62.59%)   15,649 (26.05%)      5,195 (8.65%)


Plan: Illustrative_House, District 153 --                      59,038 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 151                  23,115 (39.15%)    7,781 (40.15%)   13,237 (36.92%)      1,551 (62.54%)
Dist. 153                  35,923 (60.85%)   11,598 (59.85%)   22,614 (63.08%)        929 (37.46%)
Total and % Population                       19,379 (32.82%)   35,851 (60.73%)      2,480 (4.20%)


Plan: Illustrative_House, District 154 --                      59,504 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 152                   4,106 (6.90%)     1,742 (8.67%)     2,059 (5.50%)         204 (15.22%)
Dist. 153                   4,551 (7.65%)      242 (1.20%)      4,183 (11.18%)        103 (7.69%)
Dist. 154                  50,847 (85.45%)   18,106 (90.12%)   31,179 (83.32%)      1,033 (77.09%)
Total and % Population                       20,090 (33.76%)   37,421 (62.89%)      1,340 (2.25%)


Plan: Illustrative_House, District 155 --                      60,014 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 149                  32,508 (54.17%)   21,732 (53.06%)    9,099 (57.39%)      1,089 (60.43%)
Dist. 155                  27,506 (45.83%)   19,222 (46.94%)    6,757 (42.61%)        713 (39.57%)
Total and % Population                       40,954 (68.24%)   15,856 (26.42%)      1,802 (3.00%)


Plan: Illustrative_House, District 156 --                      59,003 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 149                   9,486 (16.08%)    4,015 (11.84%)    3,833 (20.69%)      1,850 (31.32%)
Dist. 156                  43,111 (73.07%)   25,829 (76.17%)   12,575 (67.89%)      3,887 (65.80%)
Dist. 158                   6,406 (10.86%)    4,065 (11.99%)    2,114 (11.41%)        170 (2.88%)
Total and % Population                       33,909 (57.47%)   18,522 (31.39%)      5,907 (10.01%)


Plan: Illustrative_House, District 157 --                      60,358 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]



                                                                                                        Page 24 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 154 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 157 --                       60,358 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 156                   1,263 (2.09%)      909 (2.36%)        168 (1.19%)           157 (2.32%)
Dist. 157                  53,476 (88.60%)   33,023 (85.88%)    13,447 (95.55%)       6,070 (89.59%)
Dist. 178                   5,619 (9.31%)     4,520 (11.75%)      458 (3.25%)           548 (8.09%)
Total and % Population                       38,452 (63.71%)    14,073 (23.32%)       6,775 (11.22%)


Plan: Illustrative_House, District 158 --                       59,859 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 126                   8,674 (14.49%)    4,611 (13.15%)     3,638 (18.01%)         303 (8.98%)
Dist. 155                   1,915 (3.20%)     1,720 (4.90%)       119 (0.59%)            36 (1.07%)
Dist. 158                  49,270 (82.31%)   28,742 (81.95%)    16,439 (81.40%)       3,035 (89.95%)
Total and % Population                       35,073 (58.59%)    20,196 (33.74%)       3,374 (5.64%)


Plan: Illustrative_House, District 159 --                       60,346 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 158                   3,764 (6.24%)     2,423 (5.84%)      1,103 (7.55%)          126 (5.59%)
Dist. 159                  56,582 (93.76%)   39,032 (94.16%)    13,504 (92.45%)       2,130 (94.41%)
Total and % Population                       41,455 (68.70%)    14,607 (24.21%)       2,256 (3.74%)


Plan: Illustrative_House, District 160 --                       59,935 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 160                  59,935 (100.00%   40,058 (100.00%)   14,170 (100.00%)      3,295 (100.00%)
                                  )
Total and % Population                       40,058 (66.84%)    14,170 (23.64%)       3,295 (5.50%)


Plan: Illustrative_House, District 161 --                       60,097 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 161                  60,097 (100.00%   34,573 (100.00%)   17,350 (100.00%)      4,742 (100.00%)
                                  )
Total and % Population                       34,573 (57.53%)    17,350 (28.87%)       4,742 (7.89%)


Plan: Illustrative_House, District 162 --                       60,308 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 162                  60,308 (100.00%   22,134 (100.00%)   28,142 (100.00%)      6,504 (100.00%)
                                  )
Total and % Population                       22,134 (36.70%)    28,142 (46.66%)       6,504 (10.78%)


Plan: Illustrative_House, District 163 --                       60,123 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 163                  60,123 (100.00%   23,136 (100.00%)   29,099 (100.00%)      5,081 (100.00%)
                                  )
Total and % Population                       23,136 (38.48%)    29,099 (48.40%)       5,081 (8.45%)




                                                                                                           Page 25 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 155 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

Plan: Illustrative_House, District 164 --                       60,245 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 164                  60,101 (99.76%)   34,676 (99.60%)    15,067 (99.99%)       5,978 (100.00%)
Dist. 166                    144 (0.24%)       140 (0.40%)           2 (0.01%)              (0.00%)
Total and % Population                       34,816 (57.79%)    15,069 (25.01%)       5,978 (9.92%)


Plan: Illustrative_House, District 165 --                       59,978 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 165                  59,978 (100.00%   21,050 (100.00%)   32,897 (100.00%)      3,318 (100.00%)
                                  )
Total and % Population                       21,050 (35.10%)    32,897 (54.85%)       3,318 (5.53%)


Plan: Illustrative_House, District 166 --                       60,098 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 166                  60,098 (100.00%   49,732 (100.00%)    3,645 (100.00%)      3,125 (100.00%)
                                  )
Total and % Population                       49,732 (82.75%)     3,645 (6.07%)        3,125 (5.20%)


Plan: Illustrative_House, District 167 --                       60,184 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 167                  47,024 (78.13%)   29,688 (79.43%)    11,482 (71.70%)       3,759 (87.42%)
Dist. 168                  11,457 (19.04%)    6,138 (16.42%)     4,459 (27.84%)         507 (11.79%)
Dist. 178                   1,703 (2.83%)     1,548 (4.14%)        74 (0.46%)            34 (0.79%)
Total and % Population                       37,374 (62.10%)    16,015 (26.61%)       4,300 (7.14%)


Plan: Illustrative_House, District 168 --                       60,280 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 157                   6,481 (10.75%)    4,035 (18.42%)     1,671 (5.89%)          637 (8.05%)
Dist. 167                   5,109 (8.48%)     2,204 (10.06%)     1,606 (5.66%)        1,040 (13.14%)
Dist. 168                  48,690 (80.77%)   15,662 (71.51%)    25,081 (88.44%)       6,239 (78.82%)
Total and % Population                       21,901 (36.33%)    28,358 (47.04%)       7,916 (13.13%)


Plan: Illustrative_House, District 169 --                       59,999 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 169                  57,313 (95.52%)   33,270 (93.97%)    17,582 (98.93%)       5,189 (94.57%)
Dist. 170                   2,686 (4.48%)     2,136 (6.03%)       191 (1.07%)           298 (5.43%)
Total and % Population                       35,406 (59.01%)    17,773 (29.62%)       5,487 (9.15%)


Plan: Illustrative_House, District 170 --                       59,885 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 170                  49,998 (83.49%)   29,535 (84.43%)    14,023 (79.93%)       5,081 (87.74%)
Dist. 172                   9,887 (16.51%)    5,446 (15.57%)     3,521 (20.07%)         710 (12.26%)
Total and % Population                       34,981 (58.41%)    17,544 (29.30%)       5,791 (9.67%)




                                                                                                           Page 26 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 156 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

Plan: Illustrative_House, District 171 --                       60,331 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 152                   2,081 (3.45%)      832 (3.98%)       1,023 (2.83%)          172 (7.24%)
Dist. 153                  18,825 (31.20%)    2,618 (12.52%)    15,386 (42.51%)         703 (29.59%)
Dist. 171                  21,755 (36.06%)   10,106 (48.34%)    10,394 (28.72%)         964 (40.57%)
Dist. 172                   1,476 (2.45%)     1,208 (5.78%)       192 (0.53%)            41 (1.73%)
Dist. 173                  16,194 (26.84%)    6,143 (29.38%)     9,196 (25.41%)         496 (20.88%)
Total and % Population                       20,907 (34.65%)    36,191 (59.99%)       2,376 (3.94%)


Plan: Illustrative_House, District 172 --                       59,572 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 172                  29,429 (49.40%)   18,181 (48.07%)     5,165 (38.76%)       5,400 (78.92%)
Dist. 173                  30,143 (50.60%)   19,644 (51.93%)     8,160 (61.24%)       1,442 (21.08%)
Total and % Population                       37,825 (63.49%)    13,325 (22.37%)       6,842 (11.49%)


Plan: Illustrative_House, District 173 --                       60,035 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 154                   9,147 (15.24%)    5,617 (17.81%)     3,093 (13.83%)         228 (4.68%)
Dist. 171                  37,482 (62.43%)   20,239 (64.18%)    14,017 (62.68%)       2,431 (49.86%)
Dist. 173                  13,406 (22.33%)    5,678 (18.01%)     5,253 (23.49%)       2,217 (45.47%)
Total and % Population                       31,534 (52.53%)    22,363 (37.25%)       4,876 (8.12%)


Plan: Illustrative_House, District 174 --                       59,852 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 174                  59,852 (100.00%   42,393 (100.00%)   11,260 (100.00%)      4,717 (100.00%)
                                  )
Total and % Population                       42,393 (70.83%)    11,260 (18.81%)       4,717 (7.88%)


Plan: Illustrative_House, District 175 --                       59,993 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 175                  59,993 (100.00%   38,441 (100.00%)   15,333 (100.00%)      3,657 (100.00%)
                                  )
Total and % Population                       38,441 (64.08%)    15,333 (25.56%)       3,657 (6.10%)


Plan: Illustrative_House, District 176 --                       59,470 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 176                  59,470 (100.00%   37,797 (100.00%)   14,031 (100.00%)      5,915 (100.00%)
                                  )
Total and % Population                       37,797 (63.56%)    14,031 (23.59%)       5,915 (9.95%)


Plan: Illustrative_House, District 177 --                       59,992 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 177                  59,992 (100.00%   19,929 (100.00%)   34,510 (100.00%)      4,016 (100.00%)
                                  )



                                                                                                           Page 27 of 28
    Case 1:21-cv-05337-SCJ                    Document 236-4          Filed 04/18/23             Page 157 of 162

Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 177 --                       59,992 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Total and % Population                       19,929 (33.22%)    34,510 (57.52%)       4,016 (6.69%)


Plan: Illustrative_House, District 178 --                       59,297 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 167                   6,742 (11.37%)    5,049 (11.41%)     1,094 (10.85%)         428 (11.99%)
Dist. 178                  52,555 (88.63%)   39,210 (88.59%)     8,993 (89.15%)       3,143 (88.01%)
Total and % Population                       44,259 (74.64%)    10,087 (17.01%)       3,571 (6.02%)


Plan: Illustrative_House, District 179 --                       59,974 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 167                    618 (1.03%)       477 (1.34%)         54 (0.30%)            16 (0.35%)
Dist. 179                  59,356 (98.97%)   35,038 (98.66%)    18,047 (99.70%)       4,586 (99.65%)
Total and % Population                       35,515 (59.22%)    18,101 (30.18%)       4,602 (7.67%)


Plan: Illustrative_House, District 180 --                       59,412 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 180                  59,412 (100.00%   40,821 (100.00%)   11,721 (100.00%)      3,843 (100.00%)
                                  )
Total and % Population                       40,821 (68.71%)    11,721 (19.73%)       3,843 (6.47%)




                                                                                                           Page 28 of 28
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 158 of 162




                    EXHIBIT AB-1
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 159 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 160 of 162




                   EXHIBIT AB-2
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 161 of 162
Case 1:21-cv-05337-SCJ   Document 236-4   Filed 04/18/23   Page 162 of 162




                    EXHIBIT AC-1
